  Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 1 of 140
Filing # 70593966 E-Filed 04/11/2018 10:10:16 PM



                                                            IN THE CIRCUIT COURT OF THE
                                                            FIFTEENTH JUDICIAL CIRCUIT IN AND
                                                            FOR PALM BEACH COUNTY, FLORIDA

                                                            GENERAL JURISDICTION DIVISION

                                                            CASE NO.:



        MARGARET SCHULTZ,

                 Plaintiff, on Behalf of a Putative Class,

        VS.                                                              CLASS REPRESENTATION

        AMERICAN AIRLINES, INC.
        a foreign for-profit corporation,

                 Defendant.


                                                        COMPLAINT

                 Plaintiff, Margaret Schultz, individually and on behalf of a putative class of similarly

        situated individuals, sues Defendant, American Airlines, Inc., for damages stemming from

        American's purposeful, systematic, and profit-driven breach of contracts with its airline

        customers, and states:


                                     I. PARTIES, JURISDICTION, AND VENUE

                 1.          Plaintiff is a citizen of Florida who resides in Palm Beach County.

                 2.          America Airlines, Inc. ("American") is a corporation organized and existing

        under the laws of Delaware.

                 3.          American's headquarters and principal place of business are in Fort Worth,

        Texas.

                 4.          The putative class (referred to herein collectively as the "putative Class" or the

                                                  MASON KERNS LAW, P.A.
        Miami, Florida   I   305.725.8300   I               I A.AClassActiongMasonKernsLaw.com
                                                www.MasonKerns.com
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 2 of 140




      "Class," and individually as a "Class Member" or the "Class Members") consists of citizens

      of the various United States, including residents of Florida and Palm Beach County. As to all

      utterances herein, the Class includes Plaintiff.

              5.         A Class aggregate of greater than $15,000, exclusive of costs, fees, and interest,

      is at issue, as:

                   a. The Class is likely to exceed 250 persons, as:

                             i. Tens of thousands of airline flights are booked on American's website,

                                aa.com, each day;

                            ii. The offending conduct is fueled by profit motive and is systematic and

                                not incidental;

                            iii. Plaintiff herself was victimized by the offending conduct no less than

                                three times in five months;

                            iv. Internet message boards and other consumer forums are rife with

                                complaints of the offending conduct; and

                   b. The known instances of the offending conduct projects that each Class Member

                         incurred approximately $30 in damages.

              6.         At all material times, American subjected itself to the jurisdiction of the Courts

      of Florida via the state's long-arm jurisdiction provision, Fla. Stat. § 48.193, by:

                   a. Maintaining regularly functioning business offices in Florida;

                   b. Operating, conducting, engaging in, and carrying on its business—including

                         the marketing and selling of commercial airline tickets and operation of

                         commercial flights—in Florida, both in various airports and other

                         establishments throughout the state, and by reaching into Florida via the


                                                          2
                         505.725.8300 I www.MasonKerns.com I AACIassAction@MasonKernsLaw.com
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 3 of 140




                       Internet;

                  C.   While reaching into Florida from other states via the Internet as part of its

                       regular business practices, committing the wrongful acts and omissions alleged

                       herein against various Class Members, who at the time of such acts and

                       omissions were, as American knew, in Florida;

                  d. Causing injury by breaching contracts while the breaching American agents

                       were physically outside of Florida but:

                           i. While American was engaged in solicitation and service activities in

                               Florida; and

                           ii. While American's services were sold, used, and consumed within

                               Florida in the ordinary course of trade and commerce;

                  e. Consummating and breaching contracts with Plaintiff and other Class

                       Members at times when American knew that such Class Members were in

                       Florida and would suffer harm from American's actions herein;

                  f. Through its continuous and systematic business practices, establishing

                       Florida's general jurisdiction over American such that it could at any time

                       reasonably be haled into court herein for acts and omissions occurring in

                       Florida and elsewhere; and

                  g. Operating so regularly and establishing contacts so pervasive in Florida that the

                       state courts' jurisdiction over American is consistent with due process and

                       traditional notions of fair play and substantial justice.

             7.        As Plaintiff accessed her computer in Palm Beach County, American

      intentionally reached into the county via the Internet and induced Plaintiff to enter into the


                                                        3
                       305.725.8300 I www.MasonKerns.com I AAClassAction@MasonKernsLaw.com
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 4 of 140




      contract at issue through direct marketing to a consumer it knew, on account of America's

      sophisticated information technology system, was located in the county.

             8.      Knowing Plaintiff was at the time located in Palm Beach County, American

      entered into (and breached) the contract at issue in the county knowingly causing harm to

      Plaintiff in Palm Beach County and effecting accrual of Plaintiff's action, as defined by Fla.

      Stat. § 47.011, in the county.

             9.      Palm Beach County is home to more than 1.3 million people, has the fifth-

      highest per-capita income of all Florida counties, is a center for tourism and seasonal living,

      and contains an international airport and numerous corporate headquarters. These factors

      correlate with disproportionately frequent air travel to and from the county, and thus the

      citizens of Palm Beach County are, relative to the average county in the United States,

      disproportionately likely to fall victim to the contractual breaches by American that are

      described herein. As such, Palm Beach County is an ideal forum.

             10.     Based on the foregoing, jurisdiction lies, and venue is proper and convenient,

      in this Circuit Court of the Fifteenth Judicial Circuit in and for Palm Beach County, Florida.




      I "[A] contract is made at the place where the last act necessary to complete the contract is
      done." Jemco, Inc. v. UPS, 400 So. 2d 499, 500 (Fla. 3d DCA 1981); See also Prime Ins. Syndicate,
      Inc. v. B.J. Handley Trucking, Inc., 363 F.3d 1089, 1092-93 (11th Cir. 2004) ("The determination
      of where a contract was executed is fact-intensive, and requires a determination of where the
      last act necessary to complete the contract was done.") (internal citation omitted).




                                                     4
                    305.725.8300 I www.MasonKerns.com I AAClassAction@MasonKernsLaw.com
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 5 of 140




                                      II. FACTUAL ALLEGATIONS

             11.      Plaintiff incorporates by reference Paragraphs 1 through 10 as though fully set

      forth herein.

             12.      By every meaningful measure—fleet size, flights offered, passengers flown—

      American is the largest airline in the world.

             13.      The majority of American flights are purchased through its website, aa.com.

             14.       To maximize profitability, American hires computer engineers to continually

      manipulate flight prices by, inter alia, tracking behavior through Internet "cookies" and other

      machinations and changing prices on consumers whom American learns will pay a higher

      price based on their browsing histories.

             15.      Among its most nefarious practices is the "bait-and-switch" that forms the basis

      of this lawsuit and that has substantially harmed thousands of United States airline

      consumers.

             16.      On May 25, 2017, American listed for purchase on its website a flight from

      Ronald Reagan Washington National Airport ("DCA") to Miami International Airport



             17.      In plain and unequivocal language, American offered a completely delineated

      and specific service—airfare and all accompanying taxes and fees, including baggage and seat

      fees, from DCA to MIA, on an identified aircraft, with an identified flight number, that was

      to leave DCA and land at MIA at a definite time on a definite date—for a clear and

      unmistakable price: $197.

             18.      In posting this offer, American announced to all potential customers searching

      for flights on aa.com from DCA to MIA, including Plaintiff, that they could accept


                                                      5
                      305.725.8300 I www.MasonKerns.com I AACIassAction@MasonKernsLaw.com
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 6 of 140




      American's offer and purchase this specific service—to be performed at on an allotted date,

      at an allotted time, from an allotted place, on an allotted aircraft, with an allotted flight

      number, in an allotted seat—and that they must manifest their acceptance, if at all, in this

      exclusive manner: Entering passenger biographical and valid payment information, then

      clicking the "Pay now" button on the aa.com purchase screen.

             19.    Because it was actively manipulating prices for this flight and because it

      purposefully utilizes the web cache system described in more detail herein, American at all

      material times knew that the payment screen would continue to display the offer and exact

      terms until the "Pay now" button was clicked by a customer who had entered his or her

      information and the customer paid $197 to American.

             20.    For the same reasons, American also knew that it was offering to Plaintiff a

      contract it intended to breach.

             21.    Plaintiff saw the aforementioned offer, entered all of the biographical

      information required by American for acceptance of the offer, and entered all of the payment

      information required by American—which information was valid and of a type explicitly

      accepted by American—for acceptance of the offer.

             22.    After completing all steps necessary to accept American's offer, under the terms

      of acceptance set out by American itself, except for clicking "Pay now," Plaintiff could see

      on the buying screen that the exact flight, on the exact date, exact flight time, exact flight

      number, exact departure location, exact arrival location, and exact seat number were indeed

      being offered for purchase for an exact price: $197.

             23.    As Plaintiff centered her computer cursor on the "Pay now" button—the

      clicking of which was, per American's own indication, the only task remaining to fully accept


                                                    6
                    305.725.8300 I www.MasonKerns.com I AACIassAction@MasonKernsLaw.com
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 7 of 140




      American's clearly delineated offer, American had created a reasonable expectation in

      Plaintiff, as an objectively reasonable consumer, that American had a willingness to enter into

      a contract with Plaintiff pursuant to the terms annunciated above.

                24.    Moreover, as it followed entry of information for a valid form of payment,

      explicitly authorized by American and backed by more than sufficient funds', Plaintiff's click

      of the "Pay now" button paid American and constituted completion of the only substantial

      performance obligation Plaintiff had under the established contract.

                25.     Instead of performing as agreed, American immediately breached the contract,

      refusing to perform as promised and putatively revoking its offer (which revocation was

      wholly ineffective because it came after acceptance).

                26.    The May 25, 2017 incident giving rise to this action was the third time, since

      October of 2016, that American had refused to provide promised airfare to Plaintiff after

      Plaintiff had purchased tickets in a manner substantially identical to the May 25th purchase.

                27.    On May 25th, after American refused to honor its contract with Plaintiff

      regarding the $197 DCA-MIA flight, it raised the price to $297.3

                28.    Though upset at American's contractual breach, Plaintiff, left with no choice

      and in a manner substantially identical to her purchase of the $197 ticket, decided to purchase


      2   See Note 11, infra.
      3American's tactic is a classic bait and switch, albeit refurbished for the Internet age. See Izadi
      v. Gus Machado Ford, 550 So. 2d 1135, 1139 n.8 (Fla. 3d DCA 1989) ("Bait and switch'
      describes an offer which is made not in order to sell the advertised product at the advertised
      price, but rather to draw the customer to the store to sell him another similar product which
      is more profitable to the advertiser.") (internal citations omitted). The Class would
      undoubtedly have a sound false-advertising claim, Fla. Stat. § 817.44, and Florida Deceptive
      and Unfair Trade Practices Act claim, Fla. Stat. § 501.201 et seq., but for preemption of these
      provisions by the Airline Deregulation Act of 1978, codified at 49 U.S.C. § 40101 et seq.


                                                       7
                       305.725.8300 I www.MasonKerns.com I AACIassAction@MasonKernsLaw.com
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 8 of 140




      the $297 ticket.

              29.     After she did so, American again failed to perform, breaching the contract

      regarding the $297 ticket in substantially the identical manner in which it breached the

      contract regarding the $197 ticket. When Plaintiff clicked "Pay now" and paid American $297

      via the same process and payment method as the $197 ticket, American refused to provide

      the promised services, returned the $297 payment, and claimed the ticket price was now $379.

              30.     Not wanting to pay $379 for a ticket she had previously purchased for $197,

      Plaintiff decided to use points from her account with American's frequent flyer program,

      AAdvantage, to purchase her ticket.

              31.     Plaintiff ultimately used AAdvantage points worth the equivalent of $320 to

      purchase a ticket on the same DCA-MIA flight, in the same or substantially the same seating

      class, as the ticket she had previously purchased for $197.

              32.     American's breach of its contract with Plaintiff for the $197 ticket' is part of a

      systematic and purposeful effort by American to dishonestly lure customers with contracts it

      knows it cannot honor, then fatten its coffers after the consumer—having already accepted

      the contract at a lower price—is forced to pay more for the same service.

              33.     American has ascertained, through millions of observations of millions of flight

      bookings on its website and other forms of data mining, that once consumers decide on an

      airline, departure airport, arrival airport, flight time, and price level for a specific seat, they

      will likely pay a higher price for the same seat to avoid the stress associated with changing

      their flight.


       Plaintiff is not suing for the second breach, wherein American refused to honor the parties'
      contract for the $297 ticket after it refused to honor the contract for the $197 ticket, or any
      other of many contracts American made and breached with Plaintiff.
                                                      8
                      305.725.8300 I www.MasonKerns.com I AAClassAction@MasonKernsLaw.com
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 9 of 140




             34.      Because of this, at the time of Plaintiffs and each Class Member's purchase,

      American used a web cache system that it knew does not update inventory in real time.

             35.      American knew at all material times that using this system would guarantee it

      would have to renege on multiple contract offers to customers on a daily basis.

             36.      During the five years preceding the filing of this action, the Class Members each

      viewed and purchased a flight offer on aa.com.

             37.      To purchase their airfare from aa.com, each Class Member—after entering a

      departure and arrival place, and date, in a screen substantially identical to Screen 1:

      "Destination," attached as Exhibit 1—clicked, in order, through a series of screens

      substantially identical to:

                   a. Screen 2: "Choose Departure Flight," attached as Exhibit 2;

                   b. Screen 3: "Choose Return Flight," attached as Exhibit 3;

                   c. Screen 4; "Trip Summary," attached as Exhibit 4;

                   d. Screen 5: "Passengers," attached as Exhibit 5;

                   e. Screen 6: "Choose Your Seat," attached as Exhibit 6; and

                   f. Screen 7: "Review and Pay," attached as Exhibit 7.

             38.      When each Class Member was on Screen 7, in plain and unequivocal language,

      American promised a completely delineated and specific service—airfare and all

      accompanying taxes and fees, including baggage and seat fees, on an identified aircraft, with

      an identified flight number, that was to leave one specific airport and land at another at a

      definite time on a definite date—for a clear and unmistakable price.

             39.      Because Plaintiff understandably did not screen-shot the payment screen before

      she clicked "Pay now" and American breached the contract, it is not possible to attach a copy


                                                      9
                     305.725.8300 I www.MasonKerns.com I AACIassAction@MasonKernsLaw.com
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 10 of 140




      of her pursuant to Fla. R. Civ. P. 1.130(a).

               40.    However, Plaintiff warrants that the below screen-shot of the pertinent portions

      of Screen 7, which screen-shot is also the pertinent portions of Exhibit 7 and is incorporated

      into Paragraph 43, is substantially identical—except for departure city, destination city, and

      price—to the contract offer made by American to Plaintiff, on May 25th, that forms the basis

      of Plaintiff's breach-of-contract claim. Neither departure city, nor destination city, nor price

      bear on the identical contract-formation issues encountered by Plaintiff and the putative Class.

               41.    The below screen-shot of the pertinent portions of Screen 7, which screen-shot

      is also the pertinent portions of Exhibit 7 and is incorporated into Paragraph 43, is

      substantially identical—except for departure city, destination city, and price, which vary with

      each Class Member—to the contract offers made by American to all Class Members,

      including Plaintiff, that form the bases for the Class' breach-of-contract claim.

               42.    The allegations in the preceding two paragraphs allow American to plead with

      specificity.'

               43.    As evidenced below, American's offer directly communicated to Plaintiff a

      promise and commitment to certain and definite terms by which the parties were to be bound:




      5   See Sachse v. Tampa Music Co., 262 So. 2d 17, 19 (Fla. 2nd DCA 1972).

                                                      10
                      305.725.8300 I www.MasonKerns.com I AAClassAction@MasonKernsLaw.com
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 11 of 140




                          AmericanAirlinesN,.                           Plan Travel Travel Information AAdvantage



                          Review and pay
                          ri New search




                          Depart Miami, FL to Denver, CO
                          Friday, October 6, 2017

                                                                                              travel
                           Flight                        Depart             Arrive                             Aircraft Class                Seats
                                                                                              time


                            ''k. 2424 All1P+SCOn         7:02               9:23              4,1'1            738           Etatkino,        fi,,,,,„• ,.1t,,
                           Aolines '41''                 AM                 AM                21m
                                                         MIA                DEN




                Return Denver, CO to Miami, FL
                Sunday, October 8,2017

                  Flight                                Depart            Arrive             Travel time         Aircraft       Class           Seats


                   1)„,                                                                                          319
                    11-    1912 American                2:15 8:11 3h                                                            Economy cnco5e seaE

                                                        PM PM 56m
                                                        DEN               MIA




                Cost summary

                Ilips:/Avww.aa.corniseats/cancelTboakingPathStateld=1502460603745-407&_button_caneet=coniinueWithoutSeats                                           115



                8/11/2017                                     Review and pay. check flights and pay for your trip - American Airlines

                                                                   Passenger)( I                                       $334.88 Bag and optional fees fl.)

                     Your total                                   Taxes                                                 $53.52          Reservation and tickets
                                                                                                                          $0.00 FAOsi$11
                                                                  Carrier-imposed fees

                     $388.40                                      Total (all passengers)                               4388.40
                                                                                                                                        Price and Tax Information



                     Includes all taxes and carrier -                                                                                   Conditions of Carriage
                     imposed t5e5




                                                                                         11
                   305.725.8300 I www.MasonKerns.com I AACIassAction@MasonKernsLaw.com
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 12 of 140




                 How do you want to pay for your trip
                 Select a payment option
                                                    rpoorrial .
                 * CredalDebit card
                                                    i
                                                                         vaAj                ,         1 tin       ,UATP.




                      Other I Ofnia Of
                 payment
                                                                         Liffigt         month financing




                     Hold
                                                    „AEI

                  • Required)




                      Curd type •                      Card number •                    Expirsean Pato.                   Sacoray :oda (CW) •
                                                                                                     ra
                        AMERICAN EXPREU..              [ 112435722.328SO             1 [ 12        li 2018            I i 2231
                                                                                                        P                L

                      rim rant     •                   Middle await                     Last name

                        Jae                                                                 Traveler
                                                                                        L



                      Country •

                        United States

                      .m..naes.zaci
                      Billing address 1 •              Biting address 2

                      I 7800 Flyer Street
                                                 1r
                      ony•                                                              Postal code •

                        Miami                            Fronds                             33133




                  Email for receipt
                   • Raelweej

                  Rang swan •                        Cordam pimp.
                   JOSTautvELESteGalAN.Crad          LJOETRAVELEItatiltuul

                      Simla:MOO1.17 ArhOlint




                  Para Ruh,.
                  • Vas; nirta M • 11%.1 avr. ine lama' PlOia purcPaim tacessatai paluml you Pooked al Wald 2 days balm armature Relay: peatl
                  • We ooy ire me government yap hatmaitiOn lo comply win !Mail /coati reguipailnp
                  • opaoma stavka• fans InOode mu,, nara Bra upgraOES. Opaoni MVO' tale iS
                  OtiOtleltwe AM.


                                               nittm)U re.pn)anyu    TO I...84°0.10066 a • meo,04penr.e,S
                                                                                                            tand toobtgots 41 Caf rialt0 4   2

                                                                                                                                         Pay now




                                                                                     12
                 305.725.8300             I www.MasonKerns.com I AAClassAction@MasonKernsLaw.com
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 13 of 140




             44.    Accordingly, when each Class Member checked the box corresponding to "I

      agree to the privacy policy, terms and conditions and refund policy," then clicked "Pay now,"

      as all Class Members did, they officially accepted American's valid offer under the terms

      specified by American and agreed to by American and each Class Member.

             45.    Through its website, American had announced to the individual Class

      Members that they could accept American's offer and purchase a specific service—to be

      performed at on an allotted date, at an allotted time, from an allotted place, on an allotted

      aircraft, with an allotted flight number, in an allotted seat—and that they must manifest their

      acceptance, if at all, in this exclusive manner: Entering passenger biographical and payment

      information, then clicking the "Pay now" button on Screen 7.

             46.    Because it was actively manipulating prices for these flights, American knew

      that the screens being viewed by the Class Members continued to display the offers and exact

      terms until the "Pay now" button was clicked by each Class Member who had entered his or

      her valid payment information, i.e., until each Class Member had already completely

      accepted the contract and had already paid American.

             47.    Each Class Member saw the specific offer, entered all of the biographical

      information required by American for acceptance of the offer, and entered all of the payment

      information required by American—which information was valid and of a type explicitly

      accepted by American—for acceptance of the offer.

             48.    After completing all steps necessary to accept American's offer, under the terms

      of acceptance set out by American itself, except for clicking "Pay now," the Class Members

      could see on the buying screen that the exact flight, on the exact date and bearing the exact

      flight time, exact flight number, exact departure location, exact arrival location, and exact


                                                     13
                   305.725.8300   I www.MasonKerns.com I AACIassAction@MasonKernsLaw.com
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 14 of 140




      seat number, were indeed being offered for purchase for a specified price.

             49.      As the individual Class Members were poised to hit their respective "Pay now"

      buttons—clicking on which was explicitly the last and only task remaining to fully accept

      American's clearly delineated offer—American had created a reasonable expectation in an

      objectively reasonable consumer that American had a willingness to enter into a contract with

      each Class Member pursuant to the terms that American itself had spelled out.

             50.      Moreover, as it followed entry of information for a valid form of payment

      explicitly authorized by American, each Class Member's click of the "Pay now" button

      effectively paid American and constituted completion of the only substantial performance

      obligation the Class Members had under the then-established contract.

             51.      As visible in Exhibit 7 and the excerpt incorporated into Paragraph 43, Screen

      7 contains multiple hyperlinks that, when clicked from the screen, open a page containing

      additional information, which information was substantially the same for each Class

      Member, varying only as to some hyperlinks and when varying doing so only in departure

      city, destination city, and price, which individual terms control only the damages of each

      Plaintiff and in no material way alter a reasonable person's expectations as to whether he or

      she was entering into a contract. In order from top to bottom in Screen 7, attached as Exhibit

      7, and submitted here as exemplars substantially identical, subject to the above clarification,

      to those viewed by the Class Members, these pages are titled:

                   a. "Optional service fees" (Screen 7 hyperlink text: "Bag and optional fees),

                      attached as Exhibit 8;

                   b. "Reservation & tickets FAQs" (Screen 7 hyperlink text: same as linked page

                      title), attached as Exhibit 9;


                                                       14
                     305.725.8300 I www.MasonKerns.com I AAClassAction@MasonKernsLaw.com
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 15 of 140




                    c. "Fare, taxes and fees" (Screen 7 hyperlink text: "Price and Tax Information"),

                       attached as Exhibit 10;

                    d. "Conditions of Carriage" (Screen 7 hyperlink text: same as linked page title),

                       attached as Exhibit 11;

                    e. "Customer service plan"' (Screen 7 hyperlink text: "Refund policy"), attached

                         as Exhibit 12;

                    f. "Optional service fees" (Screen 7 hyperlink text: same as linked page title)

                         attached as Exhibit 13;

                    g. "Detailed Fare Rules" (Screen 7 hyperlink text: "terms and conditions")

                         attached as Exhibit 14; and

                    h. "Privacy policy" (Screen 7 hyperlink text: same as linked page title), attached

                         as Exhibit 15;7

              52.        None of these pages contained any language that purported to revoke or in any

      way dilute the firm contract offer that the Class Members accepted pursuant to American's

      explicit offers.

              53.        As to each Class Member, instead of performing as agreed, American

      immediately breached the contract.

              54.        At all material times and as to its contract with each Class Member, American



      ' To access the "Refunds" portion of the linked "Customer service plan" page that is attached
      as Exhibit 12, one needs to expand the "Refund" tab, which has been done in the exhibit.

       The "Refund policy" link appears twice on Screen 7. The page it links to, "Customer service
      plan," is attached once as Exhibit 12. It is not attached twice. Similarly, the link to "Detailed
      Fare Rules," appears twice on Screen 7. The second time it appears, the link is named "terms
      and conditions" rather than "Detailed fare rules." The page linked to by these links is attached
      as Exhibit 14. It is not attached twice.

                                                       15
                       305.725.8300 I www.MasonKerns.com I AACIassAction@MasonKernsLaw.com
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 16 of 140




      possessed the expertise to avoid falsely offering ticket prices (the bait), then changing the terms

      after it knowingly strings along the unsuspecting consumer (the switch), but willfully chose

      not to change the system, for two reasons: (1) It would cost money to purchase the technology,

      hardware, and software to change the system; and (2) It would cost American hundreds of

      thousands of dollars in revenue to change the system because it would no longer receive the

      occasional $20, and even $40, increases in fares from people who, having had their first

      contract already breached and not wishing to start the process over on another web site, will

      relent and pay extra money for substantially identical airfare.

             55.     Due solely to American's breach, each Class Member ultimately paid more

      money—ranging, for most Class Members, between $20 and $40—for a ticket on the same or

      substantially the same flight, in the same or substantially the same seating class, as their

      original purchased ticket.


                                               1[1. CLAIMS

                                     COUNT 1: BREACH OF CONTRACT

             56.     Plaintiffs and the putative Class incorporate by reference Paragraphs 11

      through 55 as though fully set forth herein.

             57.     The Airline Deregulation Act of 1978 does not preempt state breach-of-contract

      actions between consumers and an airline.'

             58.     American created a reasonable expectation in the Class that American was

      willing to enter into a contract, by directly expressing to the Class a promise, undertaking,

      and/or commitment to enter into an agreement under certain and definite terms that



      'American Airlines v. Wolens, 513 U.S. 219, 232-33 (1995).
                                                      16
                    305.725.8300 I www.MasonKerns.com I AACIassAction@MasonKernsLaw.com
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 17 of 140




      constituted all terms essential for travel with a common carrier: Date, time, distance,

      departure site, arrival site, seat number and location, baggage policies, and price.'

             59.       The Class Members believed, as would any reasonable person in their position,

      that they could exercise the power given to them by American's offer to consummate the

      contract by providing all information required by American, including payment information,

      and clicking the "Pay now" button.

             60.       Each Class Member manifested his or her assent to be bound by the terms of

      American's contract offer by checking a box indicating agreement to terms proposed by

      American, entering biographical information in the manner specffied by American, and

      paying American in a manner American had deemed acceptable: Entering credit-card

      information and clicking the "Pay now" button, thereby transferring money to American.

             61.       At the point at which the individual Class Members clicked "Pay now," they

      had accepted American's offer for a specific service at a specific price, and had performed

      under the contract by paying American.

             62.       The money each Class Member paid American constituted valuable

      consideration.

             63.       Likewise, American's promised provision of air carriage to each Class Member

      constituted valuable consideration.

             64.    The moment each Class Member clicked "Pay now," thereby accepting




      9 It is beyond argument that American's offers to the Class were sufficiently specific to be
      binding. See Izadi v. Gus Machado Ford, 550 So. 2d 1135, 1139 (Fla. 3d DCA 1989) (citing
      Annot., Advertisement Addressed to Public Relating to Sale or Purchase of Goods at the
      Specified Price As an Offer the Acceptance of Which Will Consummate a Contract, 43
      A.L.R.3d 1102 (1972)).
                                                     17
                    305.725.8300 I www.MasonKerns.com I AACIassAction@MasonKernsLaw.com
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 18 of 140




      American's offer and performing via payment, American became obligated to uphold its

      end of the bargain by rendering the services (chiefly, an airline flight) it had promised to

      provide in exchange for the Class Members' consideration.

             65.     After extending an unambiguous offer for a specified service at a specified price

      and delineating the exact manner by which the Class was to enter into the agreement, and

      after each Class Member entered into the agreement in that precise manner and performed

      under the contract by paying American via the Internet, American reneged.

             66.     American refused to accept the payment each Class Member had made and

      refused to provide the services it had promised, and in so doing breached its contract with

      each Class Member.

             67.     American did not attempt to revoke its contract offer, if at all, until after each

      Class Member accepted the offer by clicking the "Pay now" button" and simultaneously paid


      1 ° That this action by the Class constituted acceptance is black-letter law that has been applied
      recently and uniformly by the courts in the e-commerce context. See, e.g., Ewers v. Genuine
      Motor Cars, Inc., No. 1:07 CV 2799, 2008 U.S. Dist. LEXIS 21466, at *14 (N.D. Ohio Mar.
      18, 2008) ("An enforceable contract existed for the purchase of the van at the time plaintiffs
      hit the 'buy it now' button on EBay.") (emphasis added); Devries v. Experian Info. Sols., Inc.,
      No. 16-cv-02953-WHO, 2017 U.S. Dist. LEXIS 26471, at *1445 (N.D. Cal. Feb. 24, 2017)
      ("The text containing the Terms and Conditions hyperlink was located directly above that
      button and indicated that clicking 'Submit Secure [*151 Purchase' constituted acceptance of
      those terms.").
      11 "If an offer is accepted without conditions, and without varying its terms, and the
      acceptance is communicated to the other party without unreasonable delay, a contract
      arises, from which neither party can withdraw at its pleasure." Am. Appraisal Assocs. v. Am.
      Appraisals, Inc., 531 F. Supp. 2d 1353, 1358 (S.D. Fla. 2008) (emphasis added) (citing
      RESTATEMENT OF CONTRACTS, § 64 and Kendel v. Pontious, 261 So. 2d 167, 169 (Fla. 1972)
      ("The trial judge and the District Court of Appeal in the case sub judice correctly held that
      the acceptance must be communicated to the offeror and that the offeror could revoke the
      offer provided the communication of such revocation is received [**8] prior to the
      acceptance.")); see also id. at 170 ("the pivotal issue is whether the contract was revoked
      before acceptance.") (emphasis added). Here, American attempted to revoke its offer and
      return the Class Members' payments after acceptance—i.e., too late.
                                                     18
                    305.725.8300 I www.MasonKerns.com I AAClassAction@MasonKernsLaw.com
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 19 of 140




      American. Once each Class Member clicked the button, American was in receipt of their

      payments and unilaterally chose to give them back, thereby breaching the contract after each

      Class Member had already manifested his or her assent to American's definitive offer, and

      after performance under the contract by each Class Member. To the extent American wished

      to revoke its offer, it was too late. 12

              68.     No valid justification, at law or in equity, existed for American's breaches of its

      contract with any Class Member.

             69.      As a direct and proximate result of American's breach, each Class Member was

      forced to find another airline ticket to replace the ticket he or she had bought and which

      American refused to honor.

              70.     Each Class Member, in good faith and without unreasonable delay, found

      cover in the form of a higher-priced ticket on the same or a substantially similar flight.

              71.     Each Class Member is entitled to recover from American the benefit of the

      bargain of the original contract offer, and/or the difference between the cost of their cover

      and their original contract price with American, plus incidental and consequential damages.


                                       COUNT 2: UNJUST ENRICHMENT

             72.     Plaintiffs and the putative Class incorporate by reference Paragraphs 11


      12The flagship case on the issue, taught in most every law school in America, is Lefkowitz v.
      Great Minneapolis Store, Inc., 86 NW 2d 689 (Minn. 1957). In Lefleowitz, a Minneapolis store
      published an advertisement stating, "Saturday 9 A.M. Sharp 3 Brand New Fur Coats Worth
      to $100.00. First Come First Served $1 Each." Id. at 690. Lefkowitz arrived with $1.00,
      wishing to buy a fur coat. Id. The store refused. Id. Lefkowitz sued. Id. The court held that the
      advertisement was sufficiently definitive as to constitute a contract offer, and the Lefkowitz,
      having successfully managed to comply with the terms of the advertisement, and having
      offered the state purchase price of the article, was entitled to performance on the part of the
      defendant. Id. at 691. See also Izadi v. Gus Machado Ford, 550 So. 2d 1135, 1139 (Fla. 3d DCA
      1989) (citing Lefleowitz holding).
                                                      19
                     305.725.8300 I www.MasonKerns.com I AACIassAction@MasonKernsLaw.com
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 20 of 140




      through 55 as though fully set forth herein.

             73.      As it took from each Class Member the benefit of their bargain with American,

      and/or the difference in money between their original contract price and their cost of cover,

      American was conferred a benefit by each Class Member that enriched American to the

      detriment of each Class Member.

             74.      American accepted and retained this benefit from Plaintiff and each Class

      Member, accumulating substantial ill-gotten profit that, on information and belief, it has

      utilized in its business pursuits and/or to enrich its employees.

             75.      Under the circumstances described herein, it would be unjust and inequitable

      to allow American to retain these benefits, as they were obtained through practices that

      intentionally and effectively misled the Class even though each Class Member acted as

      reasonable consumers at all material times.


                               IV. CLASS REPRESENTATION ALLEGATIONS

             76.      Plaintiff incorporates the foregoing paragraphs by reference as though fully set

      forth herein.

             77.      The Class is defined as follows:

                             All United States residents who: (1) accepted an American Airlines,
                             Inc. offer to buy airfare on the airline's website by (a) navigating
                             substantially the same airline website screens and content
                             as Margaret Schultz and (b) clicking "Pay now" after entering
                             valid payment information; then (2) were informed by the
                             airline that it was refusing to honor the offer, after which the
                             airline returned the payment; then (3) booked more costly,
                             alternative airfare.

                PREREQUISITES FOR CLASS REPRESENTATION (FLA. R. Civ. P. 1.220(a))

             78.      Certifying and maintaining this cause as a class action is both appropriate and


                                                      20
                      305.725.8300 I www.MasonKerns.com I AACIassAction@MasonKernsLaw.com
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 21 of 140




      necessary given the nature of the claims and in light of the following factors:

             79.    The members of the class are so numerous that separate joinder of each

      member is impracticable (Fla. R. Civ. P. 1.220(a)(1): Numerosity). Plaintiff conservatively

      alleges in Paragraph 5, supra, that there are more than 1,000 Class Members. Maintenance of

      1,000 separate and nearly identical claims is untenable, would unnecessarily overwhelm the

      court system, and is best remedied by use of class litigation, which the Supreme Court of the

      Florida and the Florida Legislature, by adoption of Fla. R. Civ. P. 1.220, have expressed

      preference for in like circumstances.

             80.     The claim or defense of the representative party raises questions of law or

      fact common to the questions of law or fact raised by the claim or defense of each member

      of the class (Fla. R. Civ. P. 1.220(a)(2): Commonality); and the claim or defense of the

      representative party is typical of the claim or defense of each member of the class (Fla. R.

      Civ. P. 1.220(a)(3)): Typicality). A chronology of events common to Plaintiff and to each

      Class Member demonstrates that American breached contracts with each Class Member in

      nearly identical fashion. Each Class Member, including Plaintiff, encountered Screen 7,

      which for each Class Member, including Plaintiff, was identical but for the (1) flight locations

      and (2) prices—the former of which is irrelevant to any analysis, and the latter of which affects

      only damages and not liability. '3 Having been falsely led to believe they were entering into a


      13 See, e.g., Butler v. Sears, Roebuck & Co., 727 F.3d 796, 801 (7th Cir. 2013) ("It would drive a
      stake through the heart of the class action device...to require that every member of the class
      have identical damages. If the issues of liability are genuinely common issues, and the
      damages of individual class members can be readily determined in individual hearings, in
      settlement negotiations, or by creation of subclasses, the fact that damages are not
      identical across all class members should not preclude class certification. Otherwise
      defendants would be able to escape liability for tortious harms of enormous aggregate
      magnitude but so widely distributed as not to be remediable in individual suits. As we noted
      in Carnegie v. Household Int?, Inc., 376 F.3d 656, 661 (7th Cir. 2004), 'the more claimants there
                                                        21
                    305.725.8300 I www.MasonKerns.com I AACIassAction@MasonKernsLaw.com
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 22 of 140




      contract with American by the exact same presentation and language by American, each

      Class Member had their contract with American immediately breached by American in a

      uniform and summary manner and without justification. Each Class Member, including

      Plaintiff, then incurred damages—losing the benefit of their bargain and being forced to book

      substantially identical airfare at a higher price—that can be calculated using the exact same

      formula. Thus, the only material difference among the Class Members, including Plaintiff, is

      as to the amount of total damages of each Class Member. An individual determination as to

      damages among a Class harmed by a defendant's uniform and systematic wrongs is

      insufficient to defeat class certification, and indeed such a scenario demands class action as

      the only option conducive to judicial economy.

             Among the numerous questions of law and fact common to Plaintiff and to each Class

      Member are:

                 a. Whether American's display on Screen 7—which as indicated above was

                     viewed identically by Plaintiff and every Class Member—constitutes an offer

                     or, rather, is an invitation to bargain;

                 b. Whether, under the circumstances encountered on a uniform basis on the

                     payment screen by Plaintiff and all Class Members, a reasonable person in a

                     Class Member's position would believe that American was willing to enter into

                     an agreement under the terms proposed on the screen;



      are, the more likely a class action is to yield substantial economies in litigation. It would
      hardly be an improvement to have in lieu of this single class 17 million suits each seeking
      damages of $15 to $30.. .The realistic alternative to a class action is not 17 million individual
      suits, but zero individual suits, as only a lunatic or a fanatic sues for $30.'") (emphasis
      added); see also In re Checking Account Overdraft Litig, 307 F.R.D. 656, 666 n.5 (S.D. Fla. 2015)
      and Philip Morris USA, Inc. v. Douglas, 110 So. 3d 419, 429 (Fla. 2013).
                                                      22
                    305.725.8300 I www.MasonKerns.com I AACIassAction@MasonKernsLaw.com
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 23 of 140




                  c. Whether American's uniform offers as appear on the screen manifest an assent

                     to be bound by the terms therein;

                  d. Whether the Class Members manifested assent to the terms through the

                     uniform actions they took as they moved through the various aa.com screens;

                  e. Whether a valid contract was formed at the moment each Class Member

                     clicked "Pay now";

                  f. Whether entering valid payment information and clicking "Pay now"

                     constituted performance under the contract by each Class Member;

                  g. Whether the Class' breach-of-contract actions are preempted by the Airline

                     Deregulation Act of 1978, 49 U.S.C. § 40101 et seq.;

                  h. Application of contract-formation principles regarding when advertisements

                     constitute offers—which principles have been deeply embedded in the common

                     law and do not vary in any significant manner among the laws of each state—

                     to the contract-formation issue that is uniform among all Class Members;

                  i. Whether the putative choice-of-law clause contained on the bottom of

                     American's website—a pure "browse-wrap" agreement—was sufficiently

                     conspicuous as to put the Class on notice that Texas law applies;

                  j. Whether the choice-of-law clause is unenforceable as violative of the public

                     policy embodied in the Airline Deregulation Act of 1978, 49 U.S.C. § 40101 et

                     seq.; and

                  k. Whether the aforementioned choice-of-law clause is unenforceable as

                     unconscionable.

            81.      The representative party can fairly and adequately protect and represent the


                                                    23
                    305.725.8300 I www.MasonKerns.com I AAClassAction@MasonKernsLaw.com
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 24 of 140




      interests of each member of the class (Fla. R. Civ. P. 1.220(a)(4): Adequacy). Plaintiff is

      sui juris, intelligent, honest, and fair. She is a responsible, law-abiding citizen who believes

      that if a person (or entity) promises to do something, she or he (or it) should follow through

      with that guarantee, including honoring bargained-for agreements. Plaintiff raises this claim

      to pursue justice on behalf of all consumers who have been wronged by American, which,

      buoyed by sheer size and in the interest of profit, has taken advantage of customers via

      deceptive practices. Plaintiff is an ideal class representative.


                                TYPE OF CLASS ACTION (FLA. R. Civ. P. 1.220(b))

             82.     Satisfaction of either subsection (b)(1), (b)(2), or (b)(3) of Fla. R. Civ. P. 1.220

      would allow this action to proceed in class form; this action is especially conducive to class

      action and disposition in that it meets all three criteria:

             83.     The prosecution of separate claims or defenses by or against individual

      members of the class would create a risk of either inconsistent or varying adjudications

      concerning individual members of the class which would establish incompatible standards

      of conduct for the party opposing the class, and adjudications concerning individual

      members of the class which would, as a practical matter, be dispositive of the interests of

      other members of the class who are not parties to the adjudications, or substantially impair

      or impede the ability of other members of the class who are not parties to the adjudications

      to protect their interests (Fla. R. Civ. P. 1.220(b)(1). If actions are pursued individually,

      and one court or jury rules that American's uniform actions toward its customers constituted

      a breach of contract and another adjudicates that it did not, the result would be untenable.

      The upshot would be American being told by one court that its actions constitute a breach of

      contract, and told by another court that its actions are legitimate and as such American can
                                                      24
                    305.725.8300 I www.MasonKerns.com I AACIassAction@MasonKernsLaw.com
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 25 of 140




      continue to operate in such a manner. Moreover, given the nearly identical nature of the

      claims, under collateral estoppel and res judicata, if thousands of claims are brought

      individually, the adjudications of individual members would likely be dispositive as to future

      claimants' rights, and thus these very important rights would essentially be decided in the

      subsequent plaintiffs' absence. Additionally, in lieu of class representation, early settlements

      of some cases could lessen the pool of money available to subsequent claimants, leading to

      an unjust result whereby an identically aggrieved plaintiff recovers nothing merely because he

      or she filed suit after many other plaintiffs.

             84.     The party opposing the class has acted or refused to act on grounds generally

      applicable to all the members of the class, thereby making fmal injunctive relief or

      declaratory relief concerning the class as a whole appropriate (Fla. R. Civ. P. 1.220(b)(2)).

      As shown supra, American has harmed every Class Member in substantially identical fashion.

      Declaratory and/or injunctive relief would signal to all Class Members whether they have a

      valid claim, furthering the interests of efficiency and finality.

             85.     The questions of law or fact common to class members predominate over

      any questions affecting only individual members and class action is superior to other

      available methods for fairly adjudicating the controversy (Fla. R. Civ. P. 1.220(b)(3)). As

      Paragraph 80, supra, demonstrates, dozens of questions of law or fact, which will control

      whether the Class is entitled to relief, are common to all Class Members. There is only one

      issue that varies with each individual Class Member: Dollar amount of damages, which will

      be determined pursuant to the same rubric as to all Class Members. Because meting out

      damages will be formulaic and because every other issue is the same for every Class Member,

      class action without question is the manner in which to resolve this dispute that most furthers


                                                       25
                    305.725.8300 I www.MasonKerns.com I AACIassAction@MasonKernsLaw.com
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 26 of 140




      the interest of judicial economy. Among all methods of adjudication, class action will be

      fairest for all parties and will reduce the burden on the courts, and will reduce attorney's fees

      and costs for all parties.


                                     VII. REQUEST FOR RELIEF

             WHEREFORE, based on the foregoing, Plaintiff individually, and Plaintiff on behalf

      of the putative Class, respectfully prays that the Court: Enter an order deeming Plaintiff the

      representative of the Class and the law firms below counsel for the Class; enter judgment for

      Plaintiff and the Class; and award money damages, costs, and pre- and post-judgment interest

      as allowed by law to the Class, and a reasonable attorney's fee to Class counsel.


                                     VIII. JURY TRIAL DEMAND

             Plaintiff and the Class hereby demand a trial by jury as to all issues so triable.


                                           Respectfully Submitted By:


                                           /s/
                                           MASON KERNS (FBN 91754)
                                           mason@masonkernslaw.corn
                                           pleadings@masonkernslaw.com
                                           MASON KERNS LAW, P.A.
                                           350 South Miami Avenue, Suite 2404
                                           Miami, Florida 33130
                                           P. 305.725.8300 I F. 305.725.8305

                                          ROBERT E. BURKETT, JR. (FBN 545074)
                                          bobburkettlaw@gmail.corn
                                          BURKETT LAW OFFICE
                                          5237 Summerlin Commons Blvd. Suite 217
                                          Fort Myers, Florida 33907
                                          239.275.2145

                                          Attorneys for Plaintiff

                                                    26
                    305.725.8300 www.MasonKerns.com I AACIassAction@MasonKernsLaw.com
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 27 of 140




                            Exhibit 1
 Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 28 of 140
8/11/2017                                               American Airlines - Airline tickets and cheap flights at AA.com

                                                                                                                  English        Search aa.com


    American Airlinescs,..                                   Plan Travel                 Travel Information                 AAdvantage




                                                        Book flights                      My trips / Check-in
      AArlyantagO or ?Sfsrnaire..

                                                               !ip) One way         Save on flights + hotel         Redeem Miles

       wit t:zra,..
                                                    ( • Required)


      Passworci                                     From •                               To •                               Number of passengers
                                                     MIA                          p DEN                            p         1

            Remenihrn ire          Log in           Depart •                             Return •

                                                    I 10/06/2017                  El 10/08/2017


                                                                                                                                       Search

                                                    Baggage & optional service fees )>                                                   Advanced search »

                                                    Changed bag fees for Colombia and Venezuela »
      Ned your Advantage humblr or pa*e.•wore.?


                                                                                                                                      & Travel alerts >>




    News and offers                                      Buy miles and get a bonus                            Limited-time offer:
    Join Sam's Club and earn up to 5,000 miles EP                                 Get up to 85,000 bonus                               Earn 75,000 bonus miles
                                                                                  miles when you                                       after qualifying
   Track your bags from check-in to carousel »
                                                                                  purchase by August 31                                purchases
   Introducing our new Flagship® Lounge *
                                                                                  Buy or gift miles                                    Learn more 0
   al More specials

   Cars (0) I Hotels ffi




   Today's specials



https://www.aa.com/homePage.do                                                                                                                                   1/2
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 29 of 140
8/11/2017                                                          American Airlines - Airline tickets and cheap flights at AA.com




    Premium Economy                                                  Earn up to 2,000 bonus miles                              Caribbean vacation sale
    Experience our newest class of service onboard                   Turn back-to-school shopping into miles through           Get $125 in savings when you book a vacation
    select international flights                                     AAdvantage eShopping"                                     package to the Caribbean

    Book your seat »                                                 Shop for school and more g                                Book by August 23 g




    Help                                            About American                              Extras                                                  BuyMiles
                                                                                                                                                 Get up to 83,000 bonus miles
                                                                                                                                                       through August:31
    Contact American                                About us                                    Business programs

    Receipts and refunds                            Careers                                     Gift cards C                                         AVIS' FS Budget*
                                                                                                                                                      Up to 35% savings
    FAQs                                            Investor relations 61                      American Airlines credit card                         plus AM-vantage miles

    Agency reference                                Newsroom                                    Trip Insurance

    Cargo 03                                        Legal, privacy, copyright                  CoBrowse

    Baggage and optional service fees               Browser compatibility

    Customer service and contingency plans          Web accessibility

    Conditions of carriage and tariffs




   tgil Link Opens in new window. Site may not meet accessibility guidelines.




https://www.aa.com/homePage.do                                                                                                                                                  2/2
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 30 of 140




                            Exhibit 2
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 31 of 140
8/11/2017                                                         Choose flights - Flight results — American Airlines

                                                                                                                    WE   English    [ Search   aa.corn


American Airlines\                                             Plan Travel                Travel Information                       AAdvantage




Choose flights
« New search


Depart Miami, FL to Denver, CO
Friday, October 6,2017

tD American Airlines flights may be listed first.

                                                                                                                                                     Product comparison


            Wed, Oct 04                  Thu. Oct 05       Fri, Oct 06     I      Sat. Oct 07             Sun. Oct 08
                                                                                                            s 273                    LOWe5I Fa IP          Refundable
              $ 271                        S   276             $ 276                $ 279


 Sort by: [ Relevance                                                                              Main Cabin


 MIA                            DEN
                                                                                                      Round trip                                Round trip
 7:02 AM                        9:23 AM                4h 21m Nonstop
 A42424 • 738-Boeing 737
                                                                                                      $279                                      $729
 Details I Seats


 MIA                            DEN
                                                                                                                                                Round trip
                                                                                                      Round trip
 10:55       AM -4              1:21 PM                4h 26m Nonstop
                                                                                                      $279                                     $1,029
 AA 1912 • 319-Airbus A319                                                                                                                      2 seats left

 Details I 5.ga_ts


 MIA                            DEN
                                                                                                      Round trip                                Round trip
 8:24 PM              -4        10:43 PM               4h 19m Nonstop
 AA 2421 • 32B-Airbus A321 (5harklets)
                                                                                                      5   279                                   $729
 Details I    seat

 MIA                            DEN
                                                                                                      Round trip                                Round trip
 5:45 AM                        9:53 AM                6h 8m 1 stop
 AA 175 • 3213-Airbus A321 (Sharklets)
                                                                                                      $276                                       $737
 AA 2356 a 329-Airbus A32I (Sharklets)

 Details I 5sAts


 MIA                            DEN
                                                                                                      Round trip                                Round trip
 5:45 AM              -4        11:52          AM      8h 7m     1 stop
 AA 175 • 326-Airbus A321 (Sharklets)
                                                                                                      $319                                       $737
 AA 2215 • 32B-Airbus A321 (5harklets)

 2ga       A3
   i s I Sel_



https://www.aa.com/shopping/chooseFlights?bookingPathStateld=1502460603745-407                                                                                          1/3
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 32 of 140
8/11/2017                                                                Choose flights - Flight results — American Airlines

 MIA                               DEN
                                                                                                                               Round trip
                                                                                                               Round trip
 6:45           AM                 11:40   AM          6h 55m 1 stop
                                                                                                               5   485         $935
 AA 1287 a 738-Boeing 737 V
                                                                                                                               3 seats left
 AA 2300 • W180-MD-80

 Details        I   Seats


 MIA                               DEN
                                                                                                                               Round trip
                                                                                                               Round trip
 6:45           AM          -4     1:35   PM           8h 50m 1 stop
                                                                                                               5   485         $885
 AA 1287 • 738-Boeing 737 V
                                                                                                                               3 seats left
 AA 1272 • M80-MD-80


 Details        I   Seats


 MIA                               DEN
                                                                                                               Round trip      Round trip
 7:10       AM                     11:52   AM          6h 42m 1 stop

 AA 261 • Siti-AirbuS A3%1 (Sharklets)                                                                         $319            $737
 AA 2215 a 32B-Airbus A321 (Sharklets)

 Details.           Seal

            _

 MIA                               DEN
                                                                                                               Round trip      Round trip
 7:10       AM              -->    1:39    PM          8h 29m 1 stop

 AA 2.63 • 328-Airbus A321 (Sharklets)                                                                         $319            $737
 AA 2178 • 328-Airbus A321 (Sharklets)

 Details        I   Seats


 MIA                               DEN
                                                                                                                               Round trip
                                                                                                               Round trip
 8:35           AM          --->   1:35   PM           7h Om             1 stop
                                                                                                               $497            $1;136
 AA 334 a 738-Boeing 737 V.
                                                                                                                               3 seats left
 AA 1272 • M80440-80 V.

 Details        I   Seats



                                                                                    Show more                                          Showing 10 of 33




                                     Receive up to $100 in statement credit
                                     Plus, earn 30,000 bonus miles after qualifying purchases with this credit card offer.

                                     Apply now LP




 Help                                           About American                                Extras

 Contact American                               About us                                      Business programs

 Receipts and refunds                           Careers (g)                                   Gift cards 0

 FAQs                                           Investor relations   g                        American Airlines credit card

 Agency reference                               Newsroom r§                                   Trip insurance

 Cargo LP                                       Legal, privacy, copyright                     CoBrowse

 Baggage and optional service fees              Browser compatibility



https://www.aa.com/shopping/chooseFlights?bookingPathStateld=1502460603745-407                                                                      2/3
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 33 of 140
8/11/2017                                                               Choose flights - Flight results — American Airlines
 Customer service and contingency plans          Web accessibility

 Conditions of carriage and tariffs




 LP Link opens in new window. Site may not meet accessibility guidelines.




https://www.aa.com/shopping/chooseFlights?bookingPathStateld=1502460603745-407                                                3/3
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 34 of 140




                          Exhibit
                            3
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 35 of 140
8/11/2017                                                       Choose flights - Flight results — American Airlines

                                                                                                                    EEO English    I Search aa.conn
                                                                                                                                                                    PI
American Airlines                                            Plan Travel                 Travel Information                       AAdvantage
                                                                                                                                                                 41;
 Choose flights
« New search


You chose

   Depart Miami, FL to Denver, CO
   Friday, October 6, 2017

   7:02     AM            —>       9:23 AM             4h 21m           Nonstop         Main Cabin                                Details I Change

   AA 2424 u 738-Boeing 737




 Return Denver, CO to Miami, FL
Sunday, October 8, 2017

® American Airlines flights may be listed first.

                                                                                                                                                  Product cornoarison


            Fri. Oct 06                 Sat, Oct 07       Sun. Oct 08             Mon. Oct 09         Tue, Oct 10
                                                                                    $ 276               $276                        Lowet Fare             Refundable
              $279                       $279               $ 279


Sort by: i Relevance                                                                             Main Cabin                                      First



 DEN                              MIA
                                                                                                                                             Round trip
                                                                                                    Round trip
10:20        AM -3                4:17    PM          3h 57m Nonstop
                                                                                                   $389                                     $504
 AA 1511 • 738-Boeing 737
                                                                                                                                             1 seat left

 petal's I agat5


 DEN                              MIA
                                                                                                    Round trip                               Round trip
 2:15    PM           --)         8:11   PM           3h 56m Nonstop
 AA 1912 s 319-Airbus A319 "-?.                                                                    $389                                     5 804
 Details I Sags


 DEN                              MIA
                                                                                                    Round trip                               Round trip
11:59       PM        -->         5:50     AM         3h 51m Nonstop
 AA 2342 • 328-Airbus A321 (Sharklets)                                                             $279                                     $504
 L, Overnight flight or connection

 Details I seats


 DEN                              MIA



https://www.aa.com/shopping/chooseFlights?bookingPathStateld=1502460603745-407                                                                                          1/3
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 36 of 140
8/11/2017                                                Choose flights - Flight results — American   Airlines
                                              5h 54m 1 stop
 6:20     AM                   2:14     PM
                                                                                            Round trip           Round trip

 AA 1169 • 738-Boeing 737 V'
 AA 176 • 763-Boeing 767                                                                    $ 370                 5   512
 Details I Leats


 DEN                           MIA
                                                                                            Round trip           Round trip
 6:20       AM       —>        4:42     PM    sh 2.2n1   1 stop

 AA 1169 • 738-Boeing 737
                                                                                            $ 370                $ 812
 A41462 • 32B-Airbus A321 (Sharklets)

 Details I Saa.0


 DEN                           MIA
                                                                                             Round trip          Round trip
 6:20       AM       -4        4:21     PM    8h 1 m     1 stop

 AA 1169 a 738-Boeing 737
                                                                                             $ 418                $ 812
 AA N6 No 328-Airbus A321 (Sharklets)

 Details I Seats


 DEN                           MIA
                                                                                             Round trip           Round trip
 7:00       AM       --->      4:38     PM    7h 38m 1 stop

 AA 1699 a 321-Airbus A321
                                                                                            $ 505                $ 962
 AA 1478 • 738-Boeing 737

     Change terminals

 Details I Seats


 DEN                           MIA
                                                                                             Round trip           Round trip
 7:00       AM                 4:28     PM    7h 28m 1 stop

 AA 1719 • 321-Airbus A321
                                                                                             $ 551                $ 511
 AA 2059 • 321-Airbus A321

 Details I Seats


 DEN                           MIA
                                                                                                                  Round trip
                                                                                             Round trip
 7:20     AM                   4:00      PM   6h 40m 1 stop
                                                                                            $ 497                $ 1,980
 AA 2312 • 738-Boeing 737                                                                                         1 seat left
 AA 334 a 738-Boeing 737

 Details I 5sits


 DEN                           MIA
                                                                                                                  Round trip
                                                                                             Round trip
 7:20     AM                   6:07 PM        8h 47m 1 stop
                                                                                             $ 497               $ 692
 AA 2312 U 7313-Boeing 737                                                                                        2 seats left
 AA 2439 • 738-Boeing 737

 Details I 5fati



                                                                    Show more                                            Showing 10 of 33




https://www.aa.com/shopping/chooseFlights?bookingPathStateld=1502460603745-407                                                        2/3
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 37 of 140
8/11/2017                                                               Choose flights - Flight results — American Airlines

                                      Receive up to $100 in statement credit
                                      Plus, earn 30,000 bonus miles after qualifying purchases with this credit card offer.

                                      Apply now Egl




 Help                                           About American                               Extras

 Contact American                               About us                                     Business programs

 Receipts and refunds                           Careers 0                                    Gift cards 0

 FAQs                                           Investor relations 0                         American Airlines credit card

 Agency reference                               Newsroom 0                                   Trip insurance

 Cargo 0                                        Legal, privacy, copyright                    CoBrowse

 Baggage and optional service fees              Browser compatibility

 Customer service and contingency plans         Web accessibility

 Conditions of carriage and tariffs




 g Link opens in new window. Site may not meet accessibility guidelines.
                                                                                                                              tir




https://www.aa.com/shopping/chooseFlights?bookingPathStateld=1502460603745-407                                                 3/3
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 38 of 140




                          Exhibit
                            4
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 39 of 140
8/11/2017                                                       Choose flights - Flight results — American Airlines

                                                                                                                        English w I Search aa.com


American Airlines‘. Plan Travel                                                              Travel Information                AAdvantage



 Choose flights
« New search


Your trip summary

    Main Cabin
                                                           Depart Miami, FL to Denver, CO
    Round trip (Non-refundable)                            Friday, October 6, 2017
                          per
    $ 389                 person                          7:02 AM             -3         9:23 AM                4h 21m Nonstop          Main Cabin
    Total $388.40 (all passengers)                        AA 2424 fai 738-Boeing 737
    Price and tax information 0)
                                                           Deta4 I Change
    Good value with benefits
    • Carry-on & personal item
      (access to overhead bin)

    • Choose your seat (fee may apply)
                                                           Return Denver, CO to Miami, FL
    • Eligible for upgrades on American flights           Sunday, October 8, 2017
    • Flight changes allowed (fee applies)

    • General boarding
                                                          2:15     PM          -3        8:11    PM            3h 56m Nonstop           Main Cabin
                                                          AA 1912 • 319-Airbus A319

                                                           Details I Change
    Includes taxes and carrier imposed fees.
    Baggage and optional service fees 0




 Upgrade to First
 Round trip (Non-refundable)                             Best way to travel

$1,O29 per          person
                                                         • Our largest, most comfortable seat
                                                         • 2 free checked bags'
Total $1,028.40 (all passengers)
                                                         • Priority security & boarding
                                                         • Same-day flight change & standby when available
L      Upgrade
                                                           on American flights

                                                         'If you're AAdvantage Executive Platinum, or on a plane with
                                                        3 cabins, you get 1 extra checked bag.




                                     Receive up to $100 in statement credit
                                     Plus, earn 30,000 bonus miles after qualifying purchases with this credit card offer.

                                     Apply now 0




https://www.aa.com/shopping/chooseFlights?bookingPathStateld=1502460603745-407                                                                       1/2
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 40 of 140
8/11/2017                                                                Choose flights - Flight results — American Airlines


                                                                                                     Log in and continue       Continue as guest




Help                                            About American                                Extras

Contact American                                About us                                      Business programs

Receipts and refunds                            Careers f§                                    Gift cards CP

FAQs                                            Investor relations ell                        American Airlines credit card

Agency reference                                Newsroom (§                                   Trip insurance

Cargo§                                          Legal, privacy, copyright                     CoBrowse

Baggage and optional service fees               Browser compatibility

Customer service and contingency plans          Web accessibility

.Conditions of carriage and tariffs



0) Link opens in new window. Site may not meet accessibility guidelines.




https://www.aa.com/shopping/chooseFlights?bookingPathStateld=1502460603745-407                                                                     2/2
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 41 of 140




                          Exhibit
                            5
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 42 of 140
8/11/2017                                      Passengers — Passenger details for your trip — American Airlines

                                                                                                           Search aa.com
                 Ns&                                Plan Travel Travel Information AAdvantage
American Airlines -‘.


Passengers
« New search


Round trip Miami, FL to Denver, CO
Friday, October 6, 2017 to Sunday, October 8, 2017


    Your trip total                               Receive up to $100 in
                                                  statement credit
     $388.40 -                                    Plus, earn 30,000 bonus miles after
    Price for all passengers
                                                  qualifying purchases with this credit card
    Price and tax information                     offer.
                                                                                                                        Apply now 0
    Includes taxes and carrier imposed                Your Trip Price:                          $388.40

    fees                                              Card Statement Credit:                  - $100.00
    Baggage and optional service fees
                                                      Total after statement credit:             $288.40




 Passenger details
Please enter all passenger names as they appear on the passenger's government-issued photo identification. TSA
privacy notice

( • Required)

 Passenger 1
 First name •                       Middle name                            Last name •

   JOE                                                                       TRAVELER


 Date of birth •                    Gender •                               Frequent flyer program                 Frequent flyer number

   Jul       1          198,            Male                                 AAdvantage
                                    I




https://www.aa.com/booking/passengers?bookingPathStateld=1502460603745-407                                                                1/3
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 43 of 140
8/11/2017                                      Passengers — Passenger details for your trip — American Airlines

 Redress number                C) Known Traveler number (I




 0 Add special assistance




 Trip contact
 Primary email •                    Confirm primary email •

   kerns@leesfield.com                kerns@leesfield.com


 Primary phone type                 Primary phone •

  Business                          - +1             305854490C           Ext




 Promo codes and accounts
 Promotion code                0    Business Extras"' / On
                                    Business




 Use caution when packing
Some everyday products, like electronic cigarettes and aerosol spray starch, can be dangerous when transported on
the aircraft in carry-on and/or checked baggage. Changes in temperature or pressure can cause some items to leak,
generate toxic fumes or start a fire. Carriage of prohibited items may result in fines or in certain cases imprisonment.
Please ensure there are no forbidden hazardous materials in your baggage like:




https://www.aa.com/booking/passengers?bookingPathStateld=1502460603745-407                                                 2/3
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 44 of 140
8/11/2017                                        Passengers — Passenger details for your trip — American Airlines

        .11•••••••••




     Lithium            Explosives        Aerosol          Flammables           Oxidizers            Toxins         Radioactive
    batteries
        d•        IMF




                        144.




   Corrosives E - cigarettes




                                                              By clicking Continue, I agree to the above Hazardous materials policy
                                                                                       and the liquids, aerosols and gels regulations.



                                                                                                                      Continue




 Help                                 About American                         Extras

Contact American                      About us                               Business programs

Receipts and refunds                  Careers                                Gift cards

FAQs                                  Investor relations                     American Airlines credit card

Agency reference                      Newsroom                               Trip insurance

Cargo                                 Legal, privacy, copyright              CoBrowse

 Baggage and optional service         Browser compatibility
 fees
                                      Web accessibility
 Customer service and
 contingency plans

 Conditions of carriage and tariffs




    Link opens in new window. Site may not meet accessibility guidelines.                                                             Vali vor
                                                                                                                                  ITittle




https://www.aa.com/booking/passengers?bookingPathStateld=1502460603745-407                                                                  3/3
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 45 of 140




                          Exhibit
                            6
 Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 46 of 140
8/11/2017                                                     Choose your seat — Seats on your flight — American Airlines

                                                                                                                  Englishv         Search aa.com
                                                                                                                               I
             .    vItk                                                                                                             AAdvantage
American Airlines                                               Plan Travel              Travel Information



Choose your seat
                   MIA to DEN                                   DEN to MIA
                     Flight 1 of 2                                   Flight 2 of 2



Miami, FL to Denver, CO
AA 2424 • Boeing 737-800 Passenger • Travel time: 4h 21m



   IN Main Cabin Extra                        In    Preferred
                                                    536 - 543
                                                                                     111 Available                           Ei Unavailable
       572- $79
       • More legroom to relax or                    • Standard legroom
            work                                     • Favorable location
         • Board earlier and exit sooner                                                                                                       E
                                                                                                                                                RECOMMENDED I
                                                                                                                                                SEAT
     •                                                                                                                                          Seat: 8D
   1) Joe T.                                                                                                                                       • $
                                                                                                                   Main Cabin                      75Main
                                                                                                                                                Cabin Extra
                                                                                                          A B C                      D     E    • Sit up front and
                                                                                                                                                     be on your way
                                     Total seats (all passengers)                                                                                    faster

                                                                                                                     , $79
                                                                                                                                                • Easy access to
                                                                                                                              7    1'71
                                                                $                                                                                    your seat

                                                                                                                                    47S         • Get settled.
                                                    Next flight                                                                                      then relax with

                                                                                                                                    .575             preferred
                                                                                                                                                     boarding
                                           Skip seats for all flights »
                                                                                                                             10 1               • Moveable
                                                                                                                                                     armrest



                                                                                                                             12




                                                                                                         $40         $40     16     $40        $40


                                                                                                               11:1 Cl 17




https://www.aa.com/booking/passengers                                                                                                                                  1/2
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 47 of 140
8/11/2017                                                  Choose your seat— Seats on your flight — American Airlines




Seats terms and conditions 0




 Help                                       About American                          Extras

Contact American                           About us                                Business programs

Receipts and refunds                       Careers 13                               Gift cards EA

FAQs                                       Investor relations t                     American Airlines credit card

Agency reference                           Newsroom t                              Trip insurance

Cargo tl                                   Legal, privacy, copyright               CoBrowse

Baggage and optional service fees          Browser compatibility

Customer service and contingency           Web accessibility
plans

Conditions of carriage and tariffs




Lr) Link opens in new window. Site may not meet accessibility guidelines.
                                                                                                                        Mat,




https://www.aa.com/booking/passengers                                                                                      2/2
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 48 of 140




                          Exhibit
                                        "7
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 49 of 140
8/11/2017                                    Review and pay - Check flights and pay for your trip - American Airlines

                                                                                                              Search aa.com

AmericanAiriines\k,                                  Plan Travel Travel Information AAdvanta e



 Review and pay
« New search




 Depart Miami, FL to Denver, CO
 Friday, October 6, 2017

                                                                               Travel
   Flight                             Depart              Arrive                                  Aircraft Class          Seats
                                                                               time


   N.- 2424 American                  7:02 9:23 4h                                               738             Economy Choose seats

   Airlines                           AM AM 21m
                                       MIA                DEN




 Return Denver, CO to Miami, FL
 Sunday, October 8, 2017

   Flight                              Depart             Arrive              Travel time         Aircraft Class          Seats



     4-1912 American                   2:15               8:11                3h                  319            Economy Choose seats

   Airlines '''i
               ---
                '                      PM                 PM                  56m
                                       DEN                MIA




 Cost summary

https://www.aa.com/seats/cancel?booki ng Path Stateld=1502460603745-407&_button_cancel=contin ueWithoutSeats                            1/5
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 50 of 140
8/11/2017                                   Review and pay - Check flights and pay for your trip - American Airlines

                                                 Passenger x 1                                        $334.88          Bag and optional fees
    Your total                                   Taxes                                                 $53.52          Reservation and tickets
                                                                                                                       FAQs
                                                 Carrier-imposed fees                                    $0.00

     $388.40                                     Total (all passengers)                               $388.40
                                                                                                                       Price and Tax Information


    Includes all taxes and carrier-                                                                                    Conditions of Carriage
    imposed fees




                                                 Receive up to $100 in
    Your Trip Price:             $388.40
    Card Statement
                              - $100.00
                                                 statement credit
    Credit:
                                                 Plus, earn 30,000 bonus miles after
    Total after statement
                             $288.40             qualifying purchases with this credit
    credit:
                                                 card offer. Apply now 0,




 How do you want to pay for your trip
Select a payment option
 ® Credit/Debit card                  DSCVEJ
                                                           VISA                                C3:


0 Other forms of                      PayPal
                                                            Fly Now
                                                            Payment Plan
                                                                             6 month financing
payment




0 Hold




( • Required)


https://www.aa.com/seats/cancel?bookingPathStateld=1502460603745-407&_button_cancel=continueWithoutSeats                                           2/5
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 51 of 140
8/11/2017                                   Review and pay - Check flights and pay for your trip - American Airlines

Card type •                         Card number •                          Expiration date*                            Security code (CVV) •

  AMERICAN EXPRESS                    11243572282880                          12                2018                    2231


First name •                        Middle name                             Last name •

  Joe                                                                         Traveler




Country •

  United States

Change country

Billing address 1 •                 Billing address 2

  7800 Flyer Street


City •                              State •                                 Postal code •

  Miami                               Florida                                 33133




Trip Insurance

 Denver trip protection                                                                                                           Allianz Global
                                                                                                                                  Assistance
The ticket to peace of mind
( • Required)

  Add Trip Insurance? ••

  0 Yes, protect my trip for a total of $23.30 (Recommended)
         Triple Protection:
         • Up to 100% reimbursement for covered trip cancellation and interruption
         • Benefits for travel delay and baggage
         • 24/7 hotline assistance in the event of a travel or medical emergency


         "It's wise to always consider a travel protection plan to cover your trip costs from the unexpected. " —
         Frommer's, May 2016

  0 No, I choose not to protect my $388.40 purchase and I understand by declining coverage I am
         responsible for all cancellation fees and delay expenses.


https://www.aa.com/seats/cancel?bookingPathStateld=1502460603745-407&_button_cancel=continueWithoutSeats                                       3/5
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 52 of 140
8/11/2017                                  Review and pay - Check flights and pay for your trip - American Airlines



Terms, conditions and exclusions apply. See coverage details J.

Recommended by AGA Service Company, the licensed producer and administrator of this plan. This insurance is
offered by a third party, Allianz Global Assistance, not American Airlines. Plans underwritten by Jefferson Insurance
Company or BCS Insurance Company.




 Email for receipt
( • Required)

Email •

   JOETRAVELER@GMAIL.COM




 Fare Rules

 • You have up to 24 hours from the time of ticket purchase to receive a full refund if you booked at least 2 days
   before departure. Refund policy [§
 • We may give the government your information to comply with federal security regulations
 • Optional service fees include bags, seats and upgrades. Optional service fees 0,
                                                                                 1

 Detailed fare rules


                        I agree to the privacy policy , terms and conditions                 and refund policy        J. -->




                                                                                                                      Pay now




 Help                               About American                         Extras

 Contact American                   About us                               Business programs

 Receipts and refunds               Careers l                              Gift cards

 FAQs                               Investor relations                     American Airlines credit card

https://www.aa.com/seats/cancel?bookingPathStateld=1502460603745-407&_button_cancel=continueWithoutSeats                        4/5
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 53 of 140
8/11/2017                                   Review and pay - Check flights and pay for your trip - American Airlines

Agency reference                                 .
                                     Newsroom tr_Z'                        Trip insurance

Cargo 0                              Legal, privacy, copyright             CoBrowse

Baggage and optional service         Browser compatibility
fees
                                     Web accessibility
Customer service and
contingency plans

Conditions of carriage and tariffs




0 Link opens in new window. Site may not meet accessibility guidelines.
                                                                                                                       Tube




https://www.aa.com/seats/cancel?bookingPathStateld=1502460603745-407&_button_cancel=continueWithoutSeats                      5/5
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 54 of 140




                          Exhibit
                            8
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 55 of 140
8/11/2017                                              Optional service fees — Support — American Airlines


                                                                                      tigE
                                                                                      '                      1Search aa.com

American Airlines1)                                   Plan Travel Travel Information AAdvantage

to;   Home > Optional service fees




 Optional service fees
AAdvantage »                                       Food and drink >)                                  Region definitions >>

AV and sports equipment >>                         lnflight products and services >>                   Ticketing and other fees))

Baggage )>                                         Other airlines >>                                   Wi-Fi and entertainment >>

 Children and animals >>




 Baggage fees
 Carry-on baggage
 You're allowed 1 carry-on bag and 1 personal item in all cabins. If you bought a Basic Economy ticket you're only
 allowed 1 personal item.

 Carry-on baggage >>

 Basic Economy >>


 Checked baggage
 See which countries are included in each region »

 Are my bags free?))


 First bag

                                                           Premium               Business
   Regions                           Main Cabin                                                     First Class      Notes
                                                           Economy                Class


   Within and between
   U.S., Puerto Rico and                 $25*                   —                    $0                   $0
   U.S. Virgin Islands


   Between Canada and
   U.S., Puerto Rico and                 $25*                   —                    $0                   $0
   U.S. Virgin Islands


https://www.aa.com/i18n/customer-service/support/optional-service-fees.jsOanchorEvent=false&from=footer                             1/19
 Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 56 of 140
8/11/2017                                               Optional service fees - Support - American Airlines


                                                            Premium              Business
   Regions                           Main Cabin                                                     First Class   Notes
                                                            Economy               Class


   Between Mexico,
   Caribbean (excluding                                                                                           $25 seasonal fee for
   Cuba and Haiti), Central                                                                                       SAL, SAP and TGU
   America and U.S.,                                                                                              flights June 20 — August
   Puerto Rico, U.S. Virgin               $25*                                       $0                    $0     9, 2017 and December
   Islands, Canada                                                                                                8 —24, 2017 (trips
   Or between Mexico,                                                                                             booked on or after July
   Caribbean and Central                                                                                          26. 2016).
   America

                                                                                                                  One-way into Cuba $25
                                                                                                                  fee. Round-trips
  From U.S. (including                                                                                            originating in the U.S.
  Puerto Rico, U.S. Virgin                                                                                        (including Puerto Rico,
  Islands, Canada,                         $25                                       $0                    $0     U.S. Virgin Islands,
  Mexico and the                                                                                                  Canada, Mexico and
  Caribbean) to Cuba                                                                                              the Caribbean) pay $0
                                                                                                                  for 1st bag on the
                                                                                                                  return.


  From Cuba to U.S.
  (including Puerto Rico,
  U.S. Virgin Islands,                     $0                                        $0                    $0
  Canada, Mexico and
  the Caribbean)


  To or from Haiti                         $0                   $0                   $0                    $0

                                                                                                                  $25 1st bag fee applies
                                                                                                                  for CLO flights June 20
  To or from South
                                                                                                                  — August 9,2017 and
  America (excluding                       $0*                  $0                   $0                    $0
                                                                                                                  December 8— 24, 2017
  Brazil)
                                                                                                                  (trips booked on or after
                                                                                                                  July 26. 2016).


  To or from Brazil                        $0                   $0                   $0                    $0




https://www.aa.com/i18n/customer-service/support/optional-service-fees.jsp?anchorEvent=false&from=footer                                 2/19
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 57 of 140
8/11/2017                                              Optional service fees - Support American Airlines


                                                           Premium              Business
  Regions                            Main Cabin                                                   First Class    Notes
                                                           Economy               Class


  Between Europe and
  U.S., Puerto Rico, U.S.
  Virgin Islands, Canada,
  Mexico, Caribbean,
  Central America and
                                           $0                  $0                   $0                    $0
  South America
  (excluding Brazil)
  Or connecting via
  Europe to another
  destination


  To or from China,
  Japan, South Korea,                      $0                  $0                   $0                    $0
  Hong Kong, Australia


*Charge applies unless you qualify for other exceptions.

View exceptions and checked baggage limitations))


Second bag

                                                           Premium              Business
  Regions                            Main Cabin                                                    First Class   Notes
                                                           Economy               Class


  Within and between
  U.S., Puerto Rico and                  $35*                                       $0                    $0
  U.S. Virgin Islands


  Between Canada and
  U.S., Puerto Rico and                  $35*                                       $0                    $0
  U.S. Virgin Islands

                                                                                                                 $55 2nd bag fee applies
  Between Mexico,                                                                                                for SAP, TGU• and PAP
  Caribbean (excluding
                                                                                                                 flights June 20 — August
  Cuba) or Central
                                          $40*                                      $0                    $0     9, 2017 and December
  America and U.S.,
                                                                                                                 8 — 24, 2017 (trips
  Puerto Rico, U.S. Virgin
                                                                                                                 booked on or after July
  Islands or Canada
                                                                                                                 26. 2016).




https://www.aa.com/i18n/customer-service/support/optional-service-fees.jsOanchorEvent=false&from=footer                                3/19
 Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 58 of 140
8/11/2017                                               Optional service fees — Support — American Airlines


                                                            Premium              Business
   Regions                            Main Cabin                                                    First Class   Notes
                                                            Economy               Class

                                                                                                                  Round-trips originating
   From U.S. (including                                                                                           in the U.S. (including
   Puerto Rico, U.S. Virgin                                                                                       Puerto Rico, U.S. Virgin
   Islands, Canada,                        $40                                       $0                    $0     Islands, Canada,
   Mexico and the                                                                                                 Mexico and the
   Caribbean) to Cuba                                                                                             Caribbean) pay $0 for
                                                                                                                  2nd bag on the return.

   From Cuba to U.S.
   (including Puerto Rico,                                                                                        Round-trips originating
   U.S. Virgin Islands,                    $0                                        $0                    $0     in Cuba pay $40 for 2nd
   Canada, Mexico and                                                                                             bag on the return.
   the Caribbean)

  Between South America
  (excluding Brazil) and
  the U.S., Puerto Rico,                   $0                   $0                   $0                    $0
  U.S. Virgin Islands,
  Canada and Europe

                                                                                                                  $40 2nd bag fee applies
                                                                                                                  year round for GYE and
                                                                                                                  U10.
                                                                                                                  $55 2nd bag fee applies
                                                                                                                  year round for BAQ,
  To or from South                                                                                                BOG, MDE and CLO
  America (excluding                       $0*                  $0                   $0                    $0     (for trips booked on or
  Brazil)                                                                                                         after April 12, 2017).
                                                                                                                  $55 2nd bag fee applies
                                                                                                                  year round for CCS and
                                                                                                                  MAR (for trips booked
                                                                                                                  on or after April 12,
                                                                                                                  2017).

  To or from Brazil                        $0                   $0                   $0                    $0

  Between Europe and
  U.S., Puerto Rico, U.S.
  Virgin Islands, Canada,
  Mexico, Caribbean,                     $100*                $100*                  $0                    $0
  Central America and
  South America
  (excluding Brazil)



https://www.aa.com/i18n/customer-service/support/optional-service-fees.jsp?anchorEvent=false&from=footer                                4/19
 Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 59 of 140
8/11/2017                                               Optional service fees - Support - American Airlines

                                                            Premium              Business
   Regions                            Main Cabin                                                    First Class   Notes
                                                            Economy               Class


   To or from China,
   Japan, South Korea,                      $0                  $0                   $0                    $0
   Hong Kong, Australia


 *Charge applies unless you qualify for other exceptions.

 View exceptions and checked baggage limitations >>

Third bag

                                                            Premium              Business
   Regions                            Main Cabin                                                    First Class   Notes
                                                            Economy               Class

                                                                                                                  *3rd checked bag will
                                                                                                                  be $150 for First Class
   Within and between                                                                                             on two-cabin aircraft.
   U.S., Puerto Rico and                  $150                                      $150               $150*      No charge for 3rd
   U.S. Virgin Islands                                                                                            checked bag in First
                                                                                                                  Class cabin on three-
                                                                                                                  cabin aircraft.

                                                                                                                  *3rd checked bag will
                                                                                                                  be $150 for First Class
  Between Canada and                                                                                              on two-cabin aircraft.
  U.S., Puerto Rico and                   $150                                      $150               $150*      No charge for 3rd
  U.S. Virgin Islands                                                                                             checked bag in First
                                                                                                                  Class cabin on three-
                                                                                                                  cabin aircraft.

  Between Mexico,
  Caribbean or Central                                                                                            Year-round limitations
  America, South America                                                                                          apply on baggage and
  (excluding Brazil) and                                                                                          the number of boxes
  U.S., Puerto Rico, U.S.                                                                                         allowed for travel to
                                          $150                 $150                 $150                   $0*
  Virgin Islands or                                                                                               Bolivia. *3rd checked
  Canada                                                                                                          bag will be $150 for
  Or between the                                                                                                  First Class on two-cabin
  Caribbean and Central                                                                                           aircraft.
  America




https://www.aa.com/i18n/customer-service/support/optional-service-fees.jsp?anchorEvent=false&from=footer                                    5/19
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 60 of 140
8/11/2017                                               Optional service fees - Support - American Airlines


                                                            Premium              Business
  Regions                            Main Cabin                                                     First Class    Notes
                                                            Economy               Class

                                                                                                                   Year-round limitations
                                                                                                                   apply on baggage and
                                                                                                                   the number of boxes
                                                                                                                   allowed for travel to
  To or from Brazil                       $85                  $85                   $85                   $0*
                                                                                                                   select cities in Brazil.
                                                                                                                   *3rd checked bag will
                                                                                                                   be $85 for First Class
                                                                                                                   on two-cabin aircraft.

  Between Europe and
  U.S., Puerto Rico, U.S.
  Virgin Islands, Canada,                                                                                          *3rd checked bag will
  Mexico, Caribbean,                      $200                 $200                 $200                   $0*     be $200 for First Class
  Central America and                                                                                              on two-cabin aircraft.
  South America
  (excluding Brazil)

                                                                                                                   *3rd checked bag will
  To or from China,                                                                                                be $200 for First Class
  Japan, South Korea,                     $200                 $200                 $200                   $0*     on two-cabin aircraft.
  Hong Kong, Australia                                                                                             20,000JPY for travel
                                                                                                                   originating in Japan.


Fourth bag +

                                                            Premium              Business
  Regions                            Main Cabin                                                      First Class   Notes
                                                            Economy               Class

  Within and between
  U.S., Puerto Rico and                   $200                   —                  $200                $200
  U.S. Virgin Islands

  Between Canada and
  U.S., Puerto Rico and                   $200                   —                  $200                $200
  U.S. Virgin Islands




https://www.aa.com/i18n/customer-service/support/optional-service-fees.jsp?anchorEvent=false&from=footer                                      6/19
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 61 of 140
8/11/2017                                               Optional service fees - Support - American Airlines


                                                           Premium               Business
   Regions                           Main Cabin                                                     First Class   Notes
                                                           Economy                Class


  Between Mexico,
  Caribbean or Central
  America, South America
                                                                                                                  Year-round limitations
  (excluding Brazil) and
                                                                                                                  apply on baggage and
  U.S., Puerto Rico, U.S.
                                         $200                 $200                  $200                $200      the number of boxes
  Virgin Islands or
                                                                                                                  allowed for travel to
  Canada
                                                                                                                  Bolivia
  Or between the
  Caribbean and Central
  America


                                                                                                                  Year-round limitations
                                                                                                                  apply on baggage and
   To or from Brazil                      $85                  $85                  $85                   $85     the number of boxes
                                                                                                                  allowed for travel to
                                                                                                                  select cities in Brazil


  Between Europe and
  U.S., Puerto Rico, U.S.
  Virgin Islands, Canada,
  Mexico, Caribbean,                     $200                 $200                  $200                $200
  Central America and
  South America
  (excluding Brazil)


  To or from China,
                                                                                                                  20,000JPY for travel
  Japan, South Korea,                    $200                 $200                  $200                $200
                                                                                                                  originating in Japan
  Hong Kong, Australia


If you have additional questions, we can help:

Reservations and ticket changes )>

Learn more about checked baggage))


 Overweight baggage

 Over 51 lbs/23 kgs to 70 lbs/32 kgs*

                                                           Premium               Business
  Regions                            Main Cabin                                                     First Class   Notes
                                                           Economy                Class




https://www.aa.com/i18n/customer-service/support/optional-service-feesjsp?anchorEvent=false&from=footer                                     7/19
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 62 of 140
8/11/2017                                                Optional service fees - Support - American Airlines


   Within and between
   U.S., Puerto Rico and                  $100                    —                   $0                   $0
   U.S. Virgin Islands

   Between Canada and
   U.S., Puerto Rico and                  $100                                        $0                   $0
   U.S. Virgin Islands

   Between Mexico,
   Caribbean or Central
   America, South America
   (excluding Brazil) and
   U.S., Puerto Rico, U.S.
                                          $100                 $100                   $0                   $0
   Virgin Islands or
   Canada
   Or between the
   Caribbean and Central
   America

                                                                                                                   Year-round limitations
                                                                                                                   apply on baggage and
   To or from Brazil                       $0                    $0                   $0                   $0      the number of boxes
                                                                                                                   allowed for travel to
                                                                                                                   select cities in Brazil

  Between Europe and
  U.S., Puerto Rico, U.S.
  Virgin Islands, Canada,
  Mexico, Caribbean,                      $100                 $100                   $0                   $0
  Central America and
  South America
  (excluding Brazil)

  To or from China,
                                                                                                                   10,000JPY for travel
  Japan, South Korea,                     $100                 $100                   $0                   $0
                                                                                                                   originating in Japan
  Hong Kong, Australia


Over 71 lbs/32kgs to 100 lbs/45 kgs*

                                                            Premium               Business
  Regions                            Main Cabin                                                      First Class   Notes
                                                            Economy                Class

  Within and between
  U.S., Puerto Rico and                   $200                   —                  $200                $200
  U.S. Virgin Islands



https://www.aa.com/i18n/customer-service/support/optional-service-fees.jsp?anchorEvent=false&from=footer                                     8/19
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 63 of 140
8/11/2017                                                Optional service fees — Support — American Airlines


                                                            Premium               Business
   Regions                            Main Cabin                                                     First Class   Notes
                                                            Economy                Class


   Between Canada and
   U.S., Puerto Rico and                  $200                                       $200                $200
   U.S. Virgin Islands


   Between Mexico,
   Caribbean or Central
   America, South America
   (excluding Brazil) and
   U.S., Puerto Rico, U.S.
                                          $200                 $200                  $200                $200
   Virgin Islands or
   Canada
   Or between the
   Caribbean and Central
   America

                                                                                                                   Year-round limitations
                                                                                                                   apply on baggage and
   To or from Brazil                      $200                 $200                  $200                $200      the number of boxes
                                                                                                                   allowed for travel to
                                                                                                                   select cities in Brazil


  Between Europe and
  U.S., Puerto Rico, U.S.
  Virgin Islands, Canada,
                                         Not                                        Not                 Not
  Mexico, Caribbean,                                      Not accepted
                                       accepted                                   accepted            accepted
  Central America and
  South America
  (excluding Brazil)


                                         Not                                        Not                 Not
  To or from Australia                                    Not accepted
                                       accepted                                   accepted            accepted


  To or from China,
  Japan, South Korea and                  $450                 $450                 $450                 $450
  Hong Kong


*More than one fee may apply per bag, for example the checked bag fee + oversize fee + overweight fee.

Learn more about overweight baggage >>

Learn more about baggage limitations >>


 Oversize baggage

Larger than 62 in/157 cm*
https://www.aa.com/i18n/customer-service/support/optional-service-fees.jsp?anchorEvent=false&from=footer                                     9/19
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 64 of 140
8/11/2017                                               Optional service fees - Support - American Airlines


                                                            Premium              Business
   Regions                           Main Cabin                                                     First Class   Notes
                                                            Economy               Class


   Within and between
   U.S., Puerto Rico and                  $200                                      $200                $200
   U.S. Virgin Islands


   Between Canada and
   U.S., Puerto Rico and                  $200                                      $200                $200
   U.S. Virgin Islands


   Between Mexico,
   Caribbean or Central
   America, South America
                                                                                                                  Year-round limitations
   (excluding Brazil) and
                                                                                                                  apply on baggage and
   U.S., Puerto Rico, U.S.
                                          $200                $200                  $200                $200      the number of boxes
   Virgin Islands or
                                                                                                                  allowed for travel to
   Canada
                                                                                                                  Bolivia
   Or between the
   Caribbean and Central
   America

                                                                                                                  Year-round limitations
                                                                                                                  apply on baggage and
   To or from Brazil                      $150                $150                  $150                $150      the number of boxes
                                                                                                                  allowed for travel to
                                                                                                                  select cities in Brazil


  Between Europe and
  U.S., Puerto Rico, U.S.
                                                                                                                  Baggage more than
  Virgin Islands, Canada,
                                                                                                                  126 in/320 cm will not
  Mexico, Caribbean,                     $150                 $150                  $150                $150
                                                                                                                  be accepted for the
  Central America and
                                                                                                                  U.K.
  South America
  (excluding Brazil)


  To or from China,
                                                                                                                  20,000JPY for travel
  Japan, South Korea,                    $200                 $200                  $200                $200
                                                                                                                  originating in Japan
  Hong Kong, Australia


*More than one fee may apply per bag, for example the checked bag fee + oversize fee + overweight fee.

Learn more about baggage limitations))

If you have questions about baggage fees, please contact Reservations.

Reservations and ticket changes »



https://www.aa.com/i18n/customer-service/support/optional-service-feesjsp?anchorEvent=false&from=footer                                    10/19
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 65 of 140
8 /11/2017                                               Optional service fees — Support — American Airlines




 AV and sports equipment
 Audiovisual equipment
 If you are checking audiovisual equipment, standard baggage fees apply unless you're an eligible member of a media
 or entertainment company for which special rates apply.

 Learn more about traveling with audiovisual equipment >>


 Sports equipment

 For all classes of service, standard first, second, additional, overweight or oversize bag fees
 apply for:

 • Archery equipment                   • Fishing gear                         • Scuba gear (without            • Snowboards4
                                                                                tanks)                         • Tennis rackets
 • Backpack or knapsack                • Golf clubsi
                                                                              • Shooting equipment3
 • Boogie, skim or speed               • Hockey or lacrosse2                                                   • Tent or sleeping bag
   boards                                                                     • Skateboard                     • Water skis4
                                       • Oars
 • Bowling balls                                                              • Snow skis4

 • Camping equipment



 1 Golf equipment for Brazil only - $42.50

2 One hockey stick and one hockey bag count as one piece

3To, through or from London Heathrow (LHR) - $80 per case

40ne ski bag and one ski boot bag count as one piece
 Ski equipment for Brazil only - $28.05




 For all classes of service, $150 charge applies for:

• Antlers                              • Kiteboards6                          • Surfboards8                    • Wave ski6

• Bicycles5                            • Kitesurf                             • Wakeboards6                    • Windsurf

• Hang Gliders                         • Scuba Gear (with tanks)



5If bicycle and container are less than 62 dimensional inches and under 50 lbs, you'll pay the applicable charge for the first checked bag.

6If kiteboard/wakeboard/wave skis are less than 62 dimensional inches and 50 lbss, you'll pay the applicable charge for the first checked
bag.
For Brazil only: Maximum surfboard length of 108 in., not included in checked bag allowances. First surfboard charge is $42.50; additional


https://www.aa.com/i18n/customer-service/support/optional-service-fees.jsp?anchorEvent=false&from=footer                                 11/19
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 66 of 140
8/11/2017                                                Optional service fees — Support — American Airlines

surfboards are $85.00.
Lightweight surfboards packaged in a single bag that weighs less than 70 lbs will be accepted/charged as a single surfboard.


Learn more about traveling with specialty and sports equipment »




 Inflight products and services
                                                 Main          Premium
  Product or service*                                                          Business           First                     Notes
                                                 Cabin         Economy


  Preferred seats                              $4-$139                                                         Per flight; price varies by flight


  Main Cabin Extra                            $20-$280                                                         Per flight; price varies by flight

                                                                                                                  Each way; price varies by
  Priority                                      $9-$74
                                                                                                                         itinerary


                                                                                                               Per passenger, per booking on
                                                                                                               eligible itineraries. Price varies
  Extended hold                                $10-$16                          $20-$30        $20-$30         on number of days held (3, 5 or
                                                                                                               7 days). Extended hold options
                                                                                                                  not available on all flights.


                                                                                                                  Per passenger on eligible
                                                               $40-$90          $40-$90        $40-$90            itineraries. Price on some
                                                                 per              per            per           international itineraries may be
  Paid upgrade
                                                               500 mile         500 mile       500 mile           outside the adjacent price
                                                               segment          segment        segment               range due to currency
                                                                                                                     fluctuations and taxes


  Five Star ServicesM                                                                                           $250-$300 at select airports


*/Advantage elite members receive complimentary access to some options.

AAdvantage elite benefits))




Children and animals
                                                Main          Premium
  Service                                                                      Business          First                      Notes
                                                Cabin         Economy

https://www.aa.com/i18n/customer-service/support/optional-service-fees.jsp?anchorEvent=false&from=footer                                       12/19
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 67 of 140
8/11/2017                                               Optional service fees — Support — American Airlines


                                                $150+          $150+           $150+           $150+
   Unaccompanied minor                                                                                           Pricing applies each way
                                                 tax            tax             tax             tax


                                                                                                              Certain restrictions apply based
   Service animals providing                                                                                   on your itinerary; not allowed
                                                   $0             $0              $0              $0
   assistance for traveler                                                                                     for transporting an animal for
                                                                                                                           training


   Carry-on pet
   Within/between U.S. and
   Canada, Mexico, Central
                                                 $125            $125           $125            $125                    Per kennel
   America, Colombia and
   Caribbean (if the country allows
   entry); not allowed to Hawaii


   Checked pet
   Within/between U.S. and
                                                 $200            $200           $200            $200                    Per kennel
   Canada, Mexico, Central and
   South America, Caribbean


   Checked pet
                                                 $150            $150           $150            $150                    Per kennel
   Between the U.S. and Brazil


Learn more about unaccompanied minor fees )>

Learn about traveling with service animals >>

Can my pet travel? »




AAdvantage
AAdvantage 500 mile upgrades
 $40 (including taxes) per upgrade

Learn more about 500 mile upgrades >>


AAdvantage mileage award upgrades
Depending on your purchased fare and geographic region, a non-refundable cash co-payment from $75 to $550 for
each one-way trip (inclusive of federal excise taxes) for your AAdvantage upgrade awards may be needed. Additional
taxes and fees may also apply.

Learn more about mileage upgrades >>


AAdvantage Mileage Multiplier

https://www.aa.com/i18n/customer-service/support/optional-service-fees.jsp?anchorEvent=false&from=footer                                    13/19
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 68 of 140
8/11/2017                                               Optional service fees - Support - American Airlines

 Approximately $0.03/mile (plus 7.5% federal excise tax)

 Learn more about Mileage Multiplier))


 Buy miles
 • $0.0295 per mile (plus 7.5% federal excise tax)
 • $20 - $40 transaction processing charge


 Gift miles
 • $0.0295 per mile (plus 7.5% federal excise tax)
 • $20 - $40 transaction processing charge


 Share miles
 • $0.0125 mileage transfer cost per mile
• $15 -$40 transaction processing charge

 Buy, Gift or Share AAdvantage miles »


 Reactivate miles
• $200 for 1 - 50,000 expired miles
• $400 for 50,001 - 75,000 expired miles
• $600 for more than 75,000 expired miles

Reactivate AAdvantage miles »


AAdvantage award processing
• $75 for award tickets booked or mileage upgrades requested less than 21 days prior to departure

• AAdvantage Executive Platinum, Platinum Pro, Platinum or Gold members using miles from your account are exempt
  from the fee


 Changing flight award tickets
• $150 per ticket

• A charge may apply if you make changes to award tickets

• AAdvantage Executive Platinum members using miles from your account are exempt from the fee


Reinstating award tickets
• $150 per account for the first award ticket. Additional award tickets reinstated to the same account at the same time
  will be $25 per ticket
• Miles may be reinstated to your account for an unused AAdvantage flight award if your ticket has not expired

• AAdvantage Executive Platinum members using miles from your account are exempt from the fee


https://www.aa.com/i18n/customer-service/supporUoptional-service-fees.jsp?anchorEvent=false&from=footer              14/19
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 69 of 140
8/11/2017                                                 Optional service fees - Support - American Airlines

 Learn more about award travel »




 Food and drink
                                                                        Business
   Service                                     Main Cabin*                                  First Class         Notes
                                                                         Class


   Food for sale                                  $2-$10                    $0                   $0             Food selections vary by month


                                                                                                                Complimentary beer varies by
                                                                                                                flight and is available in the
   Beer                                              $7                     $0                   $0
                                                                                                                Main Cabin of select
                                                                                                                international flights


                                                                                                                Complimentary spirits and
                                                                                                                wine vary by flight and are
   Spirits and wine                                  $8                     $0                   $0
                                                                                                                available in the Main Cabin of
                                                                                                                select international flights


                                                                                                                Offered on transcontinental
   Sparkling wine                                    $9                     $0                   $0             and Hawaii flights and $0 on
                                                                                                                select international flights


                                                                                                                Offered on transcontinental,
  Premium wine                                    $15.99                    $0                   $0             Hawaii and select international
                                                                                                                flights


*ConciergeKeySM and Executive Platinum members traveling in the Main Cabin get a complimentary drink and snack.




Wi-Fi and entertainment
   Service                            Main Cabin                    Business Class                    First Class         Notes


                                                                                                                          Monthly and annual
  Domestic inflight Wi-                                                                                                   subscriptions also
                                      $2.50 - $50                     $2.50 - $50                     $2.50 - $50
  Fi                                                                                                                      available at a flat
                                                                                                                          rate




https://www.aa.com/i18n/customer-service/support/optional-service-fees.jsp?anchorEvent=false&from=footer                                       15/19
 Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 70 of 140
8/11/2017                                               Optional service fees - Support - American Airlines


  Service                             Main Cabin                  Business Class                    First Class       Notes


  International inflight
                                       $12 - $19                     $12 - $19                      $12-$19
  Wi-Fi


  In-seat
                                           $0                             $0                              $0
  entertainment


  Wireless
                                           $0                             $0                              $0
  entertainment

                                                                                                                      *Complimentary in
  Earbuds                                  $5*                            $0                              $0          the Main Cabin on
                                                                                                                      international flights


Learn about inflight Wi-Fi and connectivity »

Learn about inflight entertainment >>




Ticketing and other fees
                                                           Premium
  Service*                            Main Cabin                                Business               First               Notes
                                                           Economy


                                        $75-$150
                                                                                                                      $75 for domestic,
                                       unless you
                                                                                                                  Canada and Caribbean;
  Same-day flight change               qualify for                                  $0                  $0
                                                                                                                    $150 for transatlantic
                                          other
                                                                                                                  travel between JFK-LHR
                                       exceptions


                                       2 tickets at       2 tickets at         2 tickets at       2 tickets at
                                        the same           the same             the same           the same
                                          rate if            rate if              rate if            rate if       Higher rate may apply
  Customers requiring                   arranged           arranged             arranged           arranged        for additional space if
  extra space                          when you           when you             when you           when you        advanced arrangements
                                         buy the            buy the              buy the            buy the             are not made
                                         original           original             original           original
                                          ticket             ticket                ticket            ticket




https://www.aa.com/i18n/customer-service/supporVoptional-service-fees.jsp?anchorEvent=false&from=footer                                   16/19
 Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 71 of 140
8/11/2017                                               Optional service fees — Support — American Airlines


                                                           Premium
  Service*                            Main Cabin                                Business               First               Notes
                                                           Economy


                                          $25 -              $25 -               $25 -                $25 -
                                        domestic           domestic            domestic             domestic
  Tickets issued by                       travel             travel              travel               travel
                                                                                                                   Fees vary by country
  Reservations                            $35 -              $35 -               $35 -                $35 -
                                      international      international       international        international
                                          travel             travel              travel               travel


                                          $30 -                                  $30 -                $30 -
                                        domestic                               domestic             domestic
  Award tickets issued by                 travel                                 travel               travel
                                                                                                                   Fees vary by country
  Reservations                            $40 -                                  $40 -                $40 -
                                      international                          international        international
                                          travel                                 travel               travel

                                                                                                                  Applies for voluntary trip
                                                                                                                    changes not initially
  Assistance by
                                           $50                 $50                 $50                 $50         created by American
  Reservations
                                                                                                                  Airlines Reservations or
                                                                                                                         on aa.com


                                                                                                                     Due to government
  Tickets issued by                                                                                                requirements, a higher
  American Airlines travel                 $35                 $35                 $35                 $35
                                                                                                                    charge may apply in
  centers                                                                                                            Colombia and Chile


                                         $200 -                                 $200 -               $200 -
                                        domestic                               domestic             domestic
                                                          Up to $750
  Voluntary change to                    travel                                 travel               travel       Charge varies depending
  ticket before day of                 Up to $750                             Up to $750           Up to $750         on type of ticket
                                                          international
  travel                                                                                                                purchased
                                                              travel
                                      international                           international       international
                                          travel                                  travel              travel


                                        $25 / bag
                                       checked at
                                       the gate on
   Gate service fee
                                          Basic
                                        Economy
                                           fare


 *AAdvantage elite status members are exempt from some fees.

 AAdvantage elite benefits

 Customers eligible for complimentary standby >>

https://www.aa.com/i18n/customer-service/supporl/optional-service-fees.jsp?anchorEvent=false&from=footer                                  17/19
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 72 of 140
8/11/2017                                                Optional service fees - Support - American Airlines

Same-day flight changes )>

 Customers requiring extra space »

Reservations & tickets FAQs »




 Region definitions
See which countries are included in each region »




 Other airlines
Optional service fees may be different and products may vary on fights operated by our airline partners. For details,
please visit the operating carrier's website.


oneworld airline partners
Airberlin                              Iberia                                 Qantas                           SriLankan Airlines

British Airways                        Japan Airlines                         Qatar Airways 0.
                                                                                             1                 LATAM Airlines dJ

 Cathay Pacific 0                      Malaysia Airlines                      Royal Jordanian

Finnair                                                                       S7 Airlines



 Other airline partners

Aer Lingus                             EL AL r.P                              JAL Express ti                   Philippine Airlines

AeroMexico                             Emirates Airlines 0,                   Japan Transocean Air 01          Singapore Airlines

Air France (§                          Etihad Airways O.                      Jet AirwaysEA'                   SWISS

Air Tahiti Nui                         EVA Air                                Jetstar                          Vueling Airlines

Alaska Airlines 0.                     Fiji Airways                           KLM Royal Dutch Airlines         WestJet

Cape Air LP                            Great Lakes Airlines tr-
                                                             11
                                                                              Lufthansa
Copa Airlines EP                       Gulf Air dJ
                                                                              Meridiana
Czech Airlines                         Hainan Airlines
                                                                              NIKI dI
Dragonair                              Hawaiian Airlines
                                                                              OpenSkies
EgyptAir                               Icelandair    g

https://www.aa.com/i18n/customer-service/support/optional-service-fees.jsp?anchorEvent=false&from=footer                             18/19
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 73 of 140
8/11/2017                                               Optional service fees - Support - American Airlines

                                                                             Pakistan International
                                                                             Airlines




e Back to top


 Help                                 About American                         Extras

Contact American                      About us                               Business programs
                                                                                                              LiMited-time offer Earn 75,000 bonus miles
Receipts and refunds                  Careers                                Gift cards                                 after qualifying purchases
FAQs                                  Investor relations                     American Airlines credit card
                                                                                                                           BuyMiles
Agency reference                      Newsroom                               Trip insurance                         Get up to 85,000 bonus miles
                                                                                                                         through August 31
Cargo                                 Legal, privacy, copyright -            CoBrowse
                                                                                                                      AVIS' InBudget'
Baggage and optional service          Browser compatibility
                                                                                                                         Up to 35% savings
fees
                                      Web accessibility                                                                plus AAdvantages miles
Customer service and
contingency plans

Conditions of carriage and tariffs




    Link opens in new window. Site may not meet accessibility guidelines.                                                                  You   bag
                                                                                                                                  ITote „MI




https://www.aa.com/i18n/customer-service/support/optional-service-feesjsp?anchorEvent=false&from=footer                                            19/19
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 74 of 140




                          Exhibit
                            9
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 75 of 140
8/11/2017                                               Reservations & tickets FAQ - FAQs - American Airlines


                                                                                                           ISearch aa.com
            •
AmericanAirlines‘,                                       Plan Travel             Travel Information AAdvantige

       Home > FAQs > Reservations & tickets FAQs




 Reservations 84 tickets FAQs
Make / modify

0 How do I make changes to my reservation?


0 How close to departure can I book a flight on aa.com?


0 How far in advance can I book a flight?


G How many passengers can I book in one reservation?

0 Will I be charged to change a reservation made by a travel agency or another website?


0 Why are revenue tickets on other airlines on a request basis only?




 Same-day flight change and standby
Learn about same-day flight changes and standby >>



0      What is same-day flight change?


0 What happens if a same-day flight change isn't available?


0 What is same-day standby?


      What is American's standby policy?
https://www.aa.com/i18n/customer-service/faqs/reservations-tickets-faqs.jsp                                                 1/7
 Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 76 of 140
8/11/2017                                              Reservations & tickets FAQ - FAQs - American Airlines


0     How do I buy same-day flight change or same-day standby?




Ticket number

0 Where can I find my ticket number?




 Free holds
Learn about holding your reservations



0     How long can I hold a reservation?


0 How do I hold a reservation?


0 How do I retrieve and pay for a reservation that's on hold?


0. Can I hold multiple reservations?

0 Can I put a reservation on hold with an aa.com promotion code?


O What is express ticket service?




 Extended hold (more than 24 hours)

0, How does extended hold work?

 O Is an extended hold option offered on all flights?


 O Can I make changes to my itinerary during the extended hold period?
https://www.aa.com/i18n/customer-service/faqs/reservations-tickets-faqs.jsp                                    2/7
 Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 77 of 140
8/11/2017                                               Reservations & tickets FAQ - FAQs - American Airlines


0 Can I use different cards for my ticket and the extended hold fee?




Payment
See all payment options available »

Products and programs FAQs »



0     Which forms of payment can I use?


0 What country should I select when I book a reservation on aa.com? •


,Which countries might recalculate fares in local currency?
0




eVoucher
Check your eVoucher balance 0

American Airlines eVouchers terms and conditions



0 How do I use my eVoucher?


0 What can I use my eVoucher for?


0 Does my eVoucher expire?


0 Can I get a refund on travel purchased with an eVoucher?




 Fly Now Payment Plan

0 How do I use the Fly Now Payment Plan to buy a ticket?

https://www.aa.com/i18n/customer-aerviceflaqs/reservations-tickets-faqs.jsp                                     3/7
 Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 78 of 140
8/11/2017                                               Reservations & tickets FAQ — FAQs — American Airlines




 PayPal
 Learn more about paying with PayPal »



 0     When can I use PayPal as a payment option?


 0 Can I use PayPal with other forms of payment?

 0 How can I get a refund on a ticket bought with PayPal?




 Flight discount
 Check your American Airlines flight discount balance

 AAdvantage® flight discount terms & conditions >>

 Business Extra® flight discount terms & conditions



0 How do I use my American Airlines flight discount?




 Fares

0 Do you offer emergency or bereavement discounts?


0 Do you offer government or military fares?


0 What is an unrestricted fare?


0 How do I guarantee my fare on aa.com?




https://www.aa.com/i18n/customer-service/faqs/reservations-tickets-faqs.jsp                                     4/7
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 79 of 140
8/11/2017                                               'Reservations & tickets FAQ - FAQs - American Airlines




 Trip insurance
 Learn about trip insurance



 0 When is the latest I can buy trip insurance?


0 Will I get a confirmation email?


0 What if I didn't receive a confirmation email?


0 Why isn't my trip insurance purchase displayed in my itinerary?


G Can I change or cancel my insurance policy?


 ®     Can I cancel my trip for any reason and receive a full refund?


0 Is my trip insurance cancelled automatically if I cancel my travel?


0 Doesn't my credit card or other insurance provide coverage for me while traveling?




 Seats
Learn about different seat options in the Main Cabin »



O Where can I see seat maps for flights?


•      How do I change my seats?


O Why couldn't I choose seats when I booked my flights?


O My flights are confirmed, why can't I reserve my seats?
https://www.aa.com/i18n/customer-service/faqs/reservations-tickets-faqs.jsp                                      5/7
 Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 80 of 140
8/11/2017                                               Reservations & tickets FAQ - FAQs - American Airlines

       What happens to my seat if there is a schedule or equipment change?


0 What are Preferred seats?


0 What is the refund policy for Preferred seats?




 Need more help? Contact us.
Contact Reservations >>




You may also like...
See all FAQs »

Customer service FAQs »

Travel information FAQs >>



0 Back to top




 Help                                   About American                        Extras                                               Oaf:1A
                                                                                                                               fin 04.

Contact American                        About us                              Business programs
                                                                                                                Limitecf,time offer Earn 75.000 bonus miles
 Receipts and refunds                   Careers                               Gift cards                                  after qualifying purchases

 FAQs                                   Investor relations                    American Airlines credit card
                                                                                                                             BuyMiles
Agency reference                        Newsroom                              Trip insurance                          Get up to 85,000 bonus miles
                                                                                                                            through August 31
Cargo 0,
      1                                 Legal, privacy, copyright             CoBrowse
                                                                                                                        AVIS PrA Budget'
 Baggage and optional service           Browser compatibility
                                                                                                                           Up to 35% savings
fees
                                        Web accessibility                                                                plus AAdvaniage° miles
Customer service and
contingency plans

Conditions of carriage and tariffs



https://www.aa.com/i18n/customer-service/faqs/reservations-tickets-faqs.jsp                                                                             6/7
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 81 of 140
8/11/2017                                               Reservations & tickets FAQ — FAQs — American Airlines


   Link opens in new window. Site may not meet accessibility guidelines.




https://www.aa.com/i18n/customer-service/faqs/reservations-tickets-faqs.jsp                                     7/7
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 82 of 140




                           1-4,xhibit
                                          0
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 83 of 140
8/11/2017                                                           Fare, taxes and fees




         Fare, taxes and fees

            Adult base fare (per passenger)                                                $334.88 USD


             PASSENGER FACILITY CHARGE (UNITED STATES)                                      $9.00 USD


             SEGMENT TAX (UNITED STATES)                                                     $8. ../) SD
                                                                                                 1/43
             TRANSPORTATION TAX (UNITED STATES)


             US SECURITY FEE (UNITED STATES)                                                $11.     SD


            Total                                                                          $388.40 USD




https://www.aa.com/tax/tax-breakout?bookingPathStateld=1502467400071-579                                   1/1
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 84 of 140




                           Exhibit
                             11
 Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 85 of 140
8/11/2017                                              Conditions of Carriage - Support - American Airlines

                                                                                                              Search aa.com                      0

 American Airlines                                     Plan Travel Travel Information AAdvantage

       Home > Legal, privacy & copyright > Conditions of Carriage




 Conditions of Carriage
 Your ticket and the following Conditions of Carriage constitute the contract between you, the passenger, and American
 Airlines, Inc. ("American") and apply to all transportation provided by American (including transportation on codeshare
 partners*) between points in the United States (including Puerto Rico and the U.S. Virgin Islands).

 Foreign air transportation is governed by applicable tariffs on file with the Department of Transportation.

International General Rules Tariff

 On some international itineraries, taxes and fees are added to the price of the ticket. Every price offered by American is
 the full price, which consists of the base fare, applicable carrier-imposed fees (such as surcharges), and government-
 imposed taxes and fees.

 American will act as an agent to issue tickets, check baggage and book reservations for transportation via other carriers
 which have interline agreements with American. Other carriers may have different terms and conditions applicable to
 their flights. These may be obtained directly from the other carriers.*

Please read your contract carefully.

American Airlines
P.O. Box 619616, MD 5435
DFW Airport, TX 75261-9616

 *American offers codeshare service on domestic flights operated by the following carriers: Air Wisconsin Airlines Corporation, Compass
Airlines LLC, Envoy Air Inc., ExpressJet Airlines Inc., Mesa Airlines Inc., Piedmont Airlines Inc., PSA Airlines Inc., Republic Airlines Inc.,
 SkyWest Airlines Inc., Trans States Airlines, Inc., (all doing business as American Eagle); Hawaiian Airlines, Inc.; Alaska Airlines, Inc.;
Hyannis Air Service, Inc. (doing business as Cape Air); Horizon Air Industries, Inc. (doing business as Alaska Airlines).




American Airlines Conditions of Carriage
Definitions »                                      Fare changes and Erroneous fares »                 Optional products and services »

Fare changes >>                                    Acceptance of passengers >>                         Aircraft information »

Responsibility for schedules and                   TSA Secure Flight Program >>                       Customer Relations >>
operations »
                                                   Acceptance of children, accompanied,               Delays, cancellations and diversions >)
Force majeure                                      unaccompanied »
                                                                                                      Essential needs during extraordinary
Oversales »                                        Refunds: General refunds, involuntary              delays >>
                                                   refunds >>
Baggage: General acceptance,                                                                          Authority to change contract >>
checking your baggage                              Ticket validity »
https://www.aa.com/i18n/customer-service/support/conditions-of-carriagejsp?anchorEvent=false&from=footer?#farechanges                            1/21
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 86 of 140
8/11/2017                                              Conditions of Carriage - Support - American Airlines

 Baggage: Hazardous items, firearms,               Ticket validity: Compliance with terms              Frequent flyer award disclosure »
 live animals >>                                   and conditions of sale »
                                                                                                       Choice of law >>
 Baggage: Liability, legal action,                 Lowest fare availability / 24 hour
                                                                                                       Service with domestic codeshare
 missing items, loss/delay, damaged,               refund >>
                                                                                                       partners >>
 claims >>

 Check-in and arrival times))

 Customers with disabilities »



 Find travel information for our on eworld® partner airlines »




 Definitions
 • American Ticket Office — a ticket sales location of American Airlines, Inc/American Eagle or the office of one of Its
   appointed travel agents.
 • Baggage — Articles, effects and other personal property as are necessary or appropriate for wear, use, comfort or
   convenience in connection with air travel, whether checked in the cargo compartment or carried in the passenger
   compartment.
• Prepaid ticket Advice — the notification between offices of a carrier or between carriers that a person in one location
  has purchased and requested issuance of prepaid transportation to another person in another location.

• Stopover - a deliberate interruption of travel for more than 4 hours constitutes a domestic stopover unless specified
  otherwise.

• Ticket — passenger ticket and baggage check which incorporates these Conditions of Carriage
• U.S. — the 50 federated states and the District of Columbia, Puerto Rico and the U.S. Virgin Islands




 Fare changes
If, after a ticket has been issued and before any portion has been used, a decrease in the applicable fares or charges
becomes effective, or a new fare between the points shown on the ticket is added, the full amount of the difference in
fares less any change fees applicable to the original fare rule and date of purchase, will be refunded to the purchaser,
upon request, provided there is no change in origin/destination/stopover points/flights/dates shown on the original ticket
and, subsequent to the decrease in fares/charges or the addition of a new fare, all conditions of the lower fares/charges
are met, including booking code and any advance reservations/ticketing requirements.* When reduced fares are for sale
for a limited period of time, American reserves the right to decline to issue refunds. For non-refundable fares, the
passenger will receive the difference in the fares in the form of a non-refundable American travel voucher valid only for
purchase of air transportation on American, and must be used within one (1) year of issuance.

If American increases the price for the transportation, an additional collection may be made for any segments where you
change your flight to a different time, date or routing from that shown on your ticket, and any segment shown as "open"

https://www.aa.com/i18n/customer-service/support/conditions-of-carriage.jsp?anchorEvent=false&from=footer?#farechanges                     2/21
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 87 of 140
8/11/2017                                              Conditions of Carriage — Support — American Airlines

 on your ticket.

 *Note: The purchase of a Prepaid Ticket will constitute purchase of a ticket.




 Fare changes and Erroneous fares
AA reserves the right to cancel tickets issued with an erroneously quoted fare due to a technical failure or mistake,
including but not limited to a fare filing error, computer error or third party error (either human or mechanical), prior to the
erroneous fare being detected and corrected. AA, as a policy, does not intend to file fares that are erroneous or are
reasonably apparent as erroneous. Where an erroneous fare has been published and a ticket issued at the erroneous
fare, AA will void such ticket and notify the passenger that the ticket has been cancelled (i) within 72 hours of becoming
aware of the publishing of an erroneous fare, or (ii) at least 24 hours prior to the passenger's scheduled departure time
in cases where the ticket is purchased less than 72 hours before the scheduled departure from the point of origin. AA
will provide a refund of the total cost of a ticket purchased at the erroneous fare price to passengers so notified.




 Responsibility for schedules and operations
American will endeavor to carry you and your baggage with reasonable dispatch, but times shown in timetables or
elsewhere are not guaranteed and form no part of this contract. American may, without notice, substitute alternate
carriers or aircraft and, if necessary, may alter or omit stopping places shown on the ticket. Schedules are subject to
change without notice. American is not responsible for or liable for failure to make connections, or to operate any flight
according to schedule, or for a change to the schedule of any flight. Under no circumstances shall American be liable for
any special, incidental or consequential damages arising from the foregoing. Liability limits for delay on international
itineraries is governed by the Montreal Convention.




 Force majeure events
American may, in the event of a force majeure event, without notice, cancel, terminate, divert, postpone or delay any
flight or the right of carriage or reservation of traffic accommodations without liability except to issue an involuntary
refund. The involuntary refund will be made in the original form of payment in accordance with involuntary refund rules
for any unused portion of the ticket. American will also reserve the right to determine if any departure or landing should
be made without any liability except the afore mentioned involuntary refund.

Force majeure event means:

• Any condition beyond American's control including, but without limitation, meteorological conditions, acts of God, riots,
   civil commotion, embargoes, wars, hostilities, disturbances or unsettled international conditions - actual threatened or
  •reported. Also, because of any delay, demand, circumstances or requirement due, directly or indirectly to such
   conditions; or



https://www.aa.com/i18n/customer-service/support/conditions-of-carriage.jsp?anchorEvent=false&from=footer?#farechanges       3/21
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 88 of 140
8/11/2017                                              Conditions of Carriage - Support - American Airlines

 • Any strike, work stoppage, slowdown, lockout or any other labor related dispute involving or affecting American's
   service; or
 • Any government regulation, demand or requirement; or
 • Any shortage of labor, fuel or facilities of American or others; or

 • Any fact not reasonably foreseen, anticipated or predicted by American




 Oversales
If a flight is oversold (more passengers hold confirmed reservations than there are seats available), no one may be
denied boarding against his or her will until airline personnel first ask for volunteers who will give up their reservation
willingly, in exchange for compensation of the airline's choosing. If there are not enough volunteers, other passengers
may be denied boarding involuntarily in accordance with the following boarding priority of American. In such events,
American will usually deny boarding based upon check-in time, but we may also consider factors such as severe
hardships, fare paid, and status within the AAdvantage® program. American will not involuntarily remove a revenue
passenger who has already boarded in order to give a seat to another passenger.

If you are denied boarding involuntarily, you are entitled to a payment of "denied boarding compensation" from the
airline unless:

 1. You have not fully complied with the airline's ticketing, check-in and reconfirmation requirements, or you are not
    acceptable for transportation under the airline's usual rules and practices; or
 2. You are denied boarding because the flight is canceled; or
 3. You are denied boarding because a smaller capacity aircraft was substituted for safety or operational reasons; or
4. On a flight operated with an aircraft having 60 or fewer seats, you are denied boarding due to safety-related
   weight/balance restrictions that limit payload; or
5. You are offered accommodations in a section of the aircraft other than specified in your ticket, at no extra charge (a
   passenger seated in a section for which a lower fare is charged must be given an appropriate refund); or
6. The airline is able to place you on another flight or flights that are planned to reach your next stopover or final
   destination within one hour of the planned arrival time of your original flight


 Domestic transportation
Passengers traveling between points within the United States (including the territories and possessions) who are denied
boarding involuntarily from an oversold flight are entitled to:

1. No compensation if the carrier offers alternate transportation that is planned to arrive at the passenger's destination
   or first stopover not later than one hour after the planned arrival time of the passenger's original flight;
2. 200% of the fare to the passenger's destination or first stopover, with a maximum of $675, if the carrier offers
   alternate transportation that is planned to arrive at the passenger's destination or first stopover more than one hour
   but less than two hours after the planned arrival time of the passenger's original flight; and
3. 400% of the fare to the passenger's destination or first stopover, with a maximum of $1,350, if the carrier does not
   offer alternate transportation that is planned to arrive at the airport of the passenger's destination or first stopover less
   than two hours after the planned arrival time of the passenger's original flight

https://www.aa.com/i18n/customer-service/support/conditions-of-carriage.jsp?anchorEvent=false&from=footer?#farechanges        4/21
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 89 of 140
8/11/2017                                              Conditions of Carriage - Support - American Airlines

• 0 to 1 hour arrival delay - no compensation
• 1 to 2 hour arrival delay - 200% of one-way fare (but no more than $675)

• Over 2 hours arrival delay - 400% of one-way fare (but no more than $1,350)


International transportation
Passengers traveling from the United States to a foreign point who are denied boarding involuntarily from an oversold
flight originating at a U.S. airport are entitled to:

1. No compensation if the carrier offers alternate transportation that is planned to arrive at the passenger's destination
   or first stopover not later than one hour after the planned arrival time of the passenger's original flight;
2. 200% of the fare to the passenger's destination or first stopover, with a maximum of $675, if the carrier offers
   alternate transportation that is planned to arrive at the passenger's destination or first stopover more than one hour
   but less than four hours after the planned arrival time of the passenger's original flight; and
3. 400% of the fare to the passenger's destination or first stopover, with a maximum of $1,350, if the carrier does not
   offer alternate transportation that is planned to arrive at the airport of the passenger's destination or first stopover less
   than four hours after the planned arrival time of the passenger's original flight

• 0 to 1 hour arrival delay - no compensation
• 1 to 4 hour arrival delay - 200% of one-way fare (but no more than $675)

• Over 4 hours arrival delay - 400% of one-way fare (but no more than $1,350)




 Check-in and arrival times
Know when to arrive and what to expect at the airport and on flights operated by American Airlines or American Eagle.

You can also check the latest travel alerts and get flight status information for gates and times:

Travel alerts >>

Get flight status information »


Check-in times
All airports have a minimum time by which you must be checked in for your flight, regardless of whether you're checking
bags. Times will differ based on your itinerary.


Travel entirely within the United States
For itineraries that include only airports within the United States, you must be checked in 45 minutes before scheduled
departure time.

Some airports require a longer minimum check-in time:

• From San Juan, Puerto Rico (SJU) - 60 minutes before scheduled departure.
• From St. Thomas, U.S. Virgin Islands (STT) - 90 minutes before scheduled departure.

https://www.aa.com/i18n/customer-service/support/conditions-of-carriage.jsp?anchorEvent=false&from=footer?#farechanges       5/21
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 90 of 140
8/11/2017                                              Conditions of Carriage — Support — American Airlines

 International Travel
 For itineraries that include airports outside of the United States, you must be checked in at your originating airport 60
 minutes before scheduled departure time.

 Please note the 60 minute check-in time applies at U.S. airports when the itinerary includes any airport outside of the
 U.S.

 Some airports require a longer minimum check-in time:

 • From Caracas, Venezuela (CCS) - 90 minutes before scheduled departure.
 • From Dublin, Ireland (DUB) - 75 minutes before scheduled departure.
 • From Buenos Aires, Argentina (EZE) - 75 minutes before scheduled departure.
 • From Maracaibo, Venezuela (MAR) - 90 minutes before scheduled departure.
 • From Beijing, China (PEK) - 75 minutes before scheduled departure.
• From Milan, Italy (MXP) - 90 minutes before scheduled departure.


Travel on American Airlines Shuttle
For flights between Boston (BOS), New York LaGuardia (LGA), and Washington D.C. Reagan (DCA):

• Checking a bag? You must be checked in 30 minutes before scheduled departure time.
 • Not checking a bag? You must be checked in 20 minutes before scheduled departure time.


Arrival at Gate
You must be at the gate and ready to board the aircraft:

• 15 minutes prior to scheduled departure for flights departing from points -within- the U.S., Puerto Rico, and Virgin
  Islands
• 30 minutes prior to scheduled departure for flights departing from points -outside- the U.S., Puerto Rico, and Virgin
  Islands, i.e., Canada, Mexico, Europe, Asia, Central/South America, Caribbean, Bahamas, Bermuda




 Baggage
 General acceptance of baggage
Only baggage as defined in the definition section will be accepted for transportation. All baggage is subject to inspection.
Checked baggage will be accepted for transportation only on flights on which you are traveling. American will not accept
baggage whose size, weight, or character makes it unsuitable for transportation on the aircraft as determined by
American.

No article will be accepted as baggage if it weighs more than 100 pounds or has a total outside dimension (length plus
width plus height) of more than 126 inches. Additional restrictions apply to some American flights operated on smaller
aircraft. For further information, contact American Airlines.



https://www.aa.com/i18n/customer-service/support/conditions-of-carriage.jsp?anchorEvent=false&from=footer?#farechanges       6/21
 Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 91 of 140
8/11/2017                                              Conditions of Carriage — Support — American Airlines

 Checking your bag
 Your name must appear on all baggage. Baggage will not be checked:

 • To a city not on your routing

 • Beyond your next stopover city

 • Beyond your final destination city
 • Beyond a connecting city if the connecting flight departs from an airport different from the arrival airport

Checked baggage may be claimed only by the holder of the baggage claim check. Baggage will not be released unless
all sums due American are paid. Baggage claim checks must be returned to American on request. American is not
responsible to determine that the holder of the claim check is entitled to the baggage. If baggage claim checks are lost,
proof of ownership may be required prior to release of the baggage.

In the event your checked bags do not arrive on your flight, reasonable efforts will be made to ensure that the bag is
returned to you within 24 hours for flights within the U.S., Puerto Rico and the U.S. Virgin Islands. Our goal to return
bags within 24 hours applies only when we are the carrier taking you to your final destination.

Some circumstances that may inhibit our ability to return your bags within 24 hours:

• No local name, address, phone numbers are provided

• You are located at a remote location or an unreachable address, such as a cruise ship or a camping site
• You changed your delivery address, but did not notify us
• We have limited flight schedules to your destination
• Operational circumstances that prevent American Airlines or American Eagle from being able to locate or deliver your
  bags within this time frame

Flights from these airports may only accept baggage up to four hours prior to confirmed departure:

• Denver (DEN)

• Fort Lauderdale (FLL)
• Las Vegas (LAS)

• Orlando (MCO)
• Salt Lake City (SLC)
• Seattle (SEA)


Arriving into the U.S.
When arriving into the U.S. from an international location, claim your checked bags at the first stop within the U.S. and
proceed through Immigrations/Customs.


International connections to another airline
If you're flying internationally and connecting to another airline, check the applicable country's Customs procedures to
determine whether checked baggage needs to be re-checked with the other airline upon arrival into that country.



Carry-on baggage
https://www.aa.com/i18n/customer-service/support/conditions-of-carriage.jsp?anchorEvent=false&from=footer?#farechanges     7/21
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 92 of 140
8/11/2017                                              Conditions of Carriage - Support - American Airlines

 The suitability of carry-on baggage will be determined by American. Each customer will be limited to 1 carry-on bag and
 1 personal item. Basic Economy customers are only allowed 1 personal item that fits under the seat. All carry-on bags
 must be checked.

 A personal item includes a purse, briefcase, laptop, or small book bag style backpack. A personal item must fit under the
 seat in front of you (18 x 14 x 8 inches). Fragile or valuable items, such as keys, medication or computers should be
 carried in your personal item.

 Learn more about carry-on baggage            >>


 At times, additional limits may be placed on carry-on baggage based on the main cabin stowage capacity of specific
 aircraft, which can result in carry-on bags being checked in the boarding area. In the. event it is necessary to check
 carry-on bags, ensure that fragile or valuable items, such as keys, medication or computers are carried in your personal
 item. If government regulations are more restrictive, such restrictions shall apply.

 A carry-on bag must fit in the bag sizer and not exceed overall dimensions of 45 inches (length + width + height). The
 maximum combined linear measurement of the carry-on bag cannot exceed any of the following measurements: 22"
 long x 14" wide x 9" tall or 114cm (56 x 35 x 23 cm). All carry-on items must fit under the seat or in an overhead bin.

 Note: Customers can bring a soft-sided garment bag of up to 51 in /130 cm (length + width + height) in lieu of a carry-on
 item.

 On American Eagle flights each customer is limited to a personal item in the cabin, but their carry-on item (not
 exceeding 45 dimensional inches) will be valet checked at the gate or planeside.

 Carry-on items which appear too large or irregularly shaped to fit under a seat, in an overhead compartment, or in a
 closet or luggage rack will not be accepted for passenger cabin stowage.

 Any mobility aid or assistive device that is approved for in-cabin transport on American, and is carried by a qualified
 disabled passenger, is accepted free of charge and is in addition to normal baggage allowances, provided such aid or
 device fits in an approved stowage space.

All baggage must be completely stowed before the airplane may depart the gate.


 Checked baggage
Checked baggage charges apply to the first and second checked bag, some exceptions may apply. Excess bag charges
apply for more than two checked bags. Oversize and overweight charges apply to baggage over the free size and
weight allowance. Specialty items may have additional charges or exceptions to baggage charges.

Checked bag policies »

Checked bag limitations >>

Specialty and sport items >>




 Hazardous items
Hazardous materials will not be accepted as baggage except for limited amounts of dry ice subject to American's rules.

See list of restricted items »


https://www.aa.com/i18n/customer-service/support/conditions-of-carriage.jsp?anchorEvent=false&from=footer?#farechanges     8/21
 Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 93 of 140
8/11/2017                                              Conditions of Carriage — Support — American Airlines

 Firearms
 Firearms and ammunition will be accepted only as checked baggage, subject to American's rules.

 Learn about transporting firearms and ammunition »


 Live animals
 Pets (cats and dogs only) will be accepted as baggage when confined in a container, subject to American's rules and
 charges. A properly harnessed dog trained to detect explosives and drugs, and dogs for search and rescue will be
 accepted in the passenger cabin subject to American's rules and at no charge. Such official duty must be documented in
 writing to the satisfaction of AA. Live animals will not be accepted for interline transfer to other airline flights. Certain
 restrictions apply for some American Eagle flights. For more information, contact American Airlines reservations.

 Traveling with pets))




 Liability
American's liability for loss, damage or delayed delivery of checked baggage, including transfer baggage, is limited to
the actual value of the baggage or $3,500, whichever is less, unless the passenger declares a higher value for loss of
baggage, not to exceed $5,000.00 including the $3,500 standard liability per passenger and pays American a sum of
$5.00 per $100.00 (or any portion thereof) of excess value. Excess valuation coverage is not available for and does not
apply to items excluded in our liability below.

 Liability limitations »

American does not assume liability for any of the following items in or as checked baggage: antiques, artifacts, artwork,
books and documents, china, computers and other electronic equipment, computer software, fragile items, furs,
heirlooms, keys, liquids, money, orthotics, surgical supports, perishable items, photographic, video and optical
equipment, precious metals, stones or jewelry (time pieces), securities and negotiable papers, silverware, samples,
unique or irreplaceable items or any other similar valuable items.

American does not accept these items in or as checked baggage and assumes no responsibility or liability for such
items, regardless of whether American knew or should have known of the presence of such items in checked or
transferred baggage. If any such items are lost, damaged or delayed, you will not be entitled to any reimbursement
under American's standard baggage liability, or under any declared excess valuation. Do not attempt to check these
items. Carry them with you in the passenger cabin (subject to carry-on baggage limitations). Fully collapsible strollers
may be carried on board with the passenger as long as they fit in an overhead bin. Strollers exceeding a maximum
weight of 20Ibs or that are not capable of being transported inside the cabin due to size must be checked at a ticket
counter. American will not assume liability when ordinary standard of care is taken.

American assumes no responsibility for loss, damage or delayed delivery of baggage not acceptable for transportation
by American as checked baggage and items damaged as a result of items contained in checked or transferred baggage.

Customers with disabilities traveling with wheelchairs or other assistive devices are exempt from liability restrictions for
loss, damage or delays to these items.

American assumes no liability for articles carried in the passenger cabin.



https://www.aa.com/i18n/customer-service/support/conditions-of-carriagejsp?anchorEvent=false&from=footerWtfarechanges      9/21
 Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 94 of 140
8/11/2017                                              Conditions of Carriage — Support — American Airlines

 American assumes no liability for minor damage such as scratches, scuffs, stains, dents, cuts and dirt resulting from
 normal wear and tear.

 American assumes no liability for musical instruments/recreational/sports items not presented in a hard-sided case.

American is not responsible for damage to contents if the outside of the hard-sided case is not damaged.

American will assume responsibility for damage to checked luggage when Ordinary Standard of Care is not provided.
American assumes no responsibility for damage to or loss of protruding baggage parts such as wheels, straps, pockets,
pull handles, hanger hooks or other items attached to the baggage that result from normal wear and tear.

American assumes no liability for any indirect, consequential, incidental, punitive or special damages resulting from loss,
damage or delayed delivery of checked or transferred baggage, including, without limitation, damages for lost revenue
or profits, loss of use or business interruption.

We may disallow any claim for loss or damage which contains misrepresentations, including false statements
concerning whether or not the passenger has made previous claims with American or other carriers and/or where the
passenger fails to have the carrier's baggage claim declaration form notarized. AA may also disallow claims when the
passenger fails to provide proof of loss in the form of receipts of purchase.


 Legal action
Legal action premised on or related to damage, delay or loss must be commenced within two years of the date of the
incident.


Missing items
Items missing from checked baggage must be reported to American before leaving the airport or within 24 hours of the
receipt of the bag.


 Loss / delay
In the case of delay or loss, an initial complaint must be presented to American prior to leaving the arrival airport for
which the baggage was checked or should have been checked. At the latest, such initial report must be made within four
hours of the arrival of the flight on which the passenger traveled. For passengers purchasing the American Airlines
baggage delivery service provided through Bags VIP Luggage Delivery in advance of travel, the initial report must be
made within 12 hours of the arrival of the flight on which the passenger traveled.

If compensation is sought for a delay or loss, a written claim, in the form provided by American, must be received by
American no later than 45 days after the initial report was presented and recorded by American.


 Damaged baggage
No action shall lie in the case of damage to baggage unless the person entitled to delivery files an initial report with
American prior to leaving the arrival airport, or at the latest, within 24 hours from the date of receipt of the baggage.

After the initial report of damage to American, the damaged property must be presented to American for repair within
thirty days from the date of the initial report of damage to American.


 Claims


https://www.aa.com/i18n/customer-service/support/conditions-of-carriagejsp?anchorEvent=false&from=footer?#farechanges       10/21
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 95 of 140
8/11/2017                                              Conditions of Carriage — Support — American Airlines

Failure to report delayed or damaged baggage or missing contents within the prescribed time limit releases American
from liability.




Acceptance of passengers
American may refuse to transport you, or may remove you from your flight at any point, for one or several reasons,
including but not limited to:

1. Compliance with government requisition of space.
2. Action necessary or advisable due to weather, or other conditions beyond American's control.
3. Refusal to permit a search of person or property for explosives or for deadly, controlled, or dangerous weapons,
   articles or substances.
4. Refusal to produce positive identification upon request.
5. Your physical or mental condition is such that in American's sole opinion, you are rendered or likely to be rendered
   incapable of comprehending or complying with safety instructions without the assistance of an attendant.
6. Your conduct is disorderly, abusive or violent.
7. Appear to be intoxicated or under the influence of drugs.
8. Attempt to interfere with any member of the flight crew.
9. Have a communicable disease that has been determined by a federal public health authority to be transmissible to
   other persons in the normal course of flight.
10. Refuse to obey instructions from any flight crew member.
11. Have an offensive odor not caused by a disability or illness.
12. Are clothed in a manner that would cause discomfort or offense to other passengers or are barefoot.
13. Engage in any action, voluntary or involuntary, that might jeopardize the safety of the aircraft or any of its occupants.




TSA Secure Flight Program
The Transportation Security Agency's (TSA) Secure Flight Program requires that American collect additional information
from passengers when making a reservation to fly within, into or out of the United States and for point-to-point
international flights operated by U.S. based airlines:

• Full name, as it appears on government-issued I.D. approved for use when traveling

• Date of birth
• Gender
• Redress Number (optional)

American may cancel your reservation if the reservation does not include the required Secure Flight Passenger Data
(full name, date of birth and gender) at least 72 hours prior to your scheduled departure. This cancellation policy applies

https://www.aa.com/i18n/customer-service/support/conditions-of-carriagejsp?anchorEvent=false&from=footer?#farechanges    11/21
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 96 of 140
8/11/2017                                              Conditions of Carriage - Support - American Airlines

 to all American Airlines tickets, including tickets for our flights operated by our codeshare partners.




 Acceptance of children
 Accompanied
 Children 2 through 14 years of age will be accepted for transportation when accompanied by a passenger at least 16
 years of age or parent regardless of age.

 Infants at least 2 days of age, but less than 2 years of age, will be accepted when accompanied by a passenger at least
 16 years of age, or parent regardless of age subject to:

 • For infants 2 through 6 days of age, a medical statement may be required stating the infant is stable for travel
 • One infant under 2 years of age accompanied by a fare paying passenger, may be carried at no charge, on his or her
   lap
 • The age of the infant is based on the age at commencement of travel


 Unaccompanied
 A service charge will be assessed for unaccompanied children on all flights.

• Unaccompanied children, a child/minor under 15 years of age, not accompanied on the same flight and in the same
  compartment by a passenger at least 16 years of age or parent regardless of age.
• Unaccompanied children under 5 years of age will not be accepted under any circumstances.

 • Unaccompanied children 5, 6 or 7 years of age will be accepted on a non-stop or through flights only, and must be
   accompanied by a parent or responsible adult until the child is boarded on the flight and the aircraft has departed the
   gate. The child must be met at the destination by another parent or responsible adult.
• Unaccompanied children ages 5-7 are restricted on flights scheduled with a change from one aircraft to another type
  of aircraft before termination, but designated by a single flight number.

• Unaccompanied children 5, 6, or 7 years of age will not be accepted on certain American flights operated in
  equipment not requiring a flight attendant. Contact American for specific information.

• Unaccompanied children 8 through 14 years of age will be accepted for transportation on non-stop, through or
  connecting flights. Connecting flights must be through the following airports: CLT, DCA, DFW, JFK, LAX, LGA, MIA,
  ORD, PHL, PHX. Reservations must be confirmed to the destination. The child must be accompanied by a parent or
  responsible adult until the child has boarded the flight and the aircraft has departed the gate. The child must be met at
  the destination by another parent or responsible adult.
• American does not accept unaccompanied children when their itinerary includes a connection to/from another airline,
  including codeshare and oneworld partners.
• American will not accept reservations or provide transportation for unaccompanied children for any itinerary that
  includes the last online connecting flight of the day.

American may refuse to provide connection air transportation services at any origination city to an unaccompanied child
holding reservations when there is a reasonable likelihood that the child will not make a flight connection, and therefore
require overnight accommodations.

https://www.aa.com/i18n/customer-service/support/conditions-of-carriagejsp?anchorEvent=false&from=footer?fflarechanges   12/21
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 97 of 140
8/11/2017                                               Conditions of Carriage - Support - American Airlines

 Please note our flight attendants are unable to continuously monitor an unaccompanied child during their flight.




 Refunds
 General refunds
 Some tickets are non-refundable. If you have a refundable ticket, American will issue a refund as follows:

• If the ticket is totally unused, the full amount paid will be refunded.
 • If the ticket is partially used, the refund will be the difference between the fare paid and the fare for the transportation
   actually used as determined by the applicable rules.

In addition, if the ticket to be refunded is no longer valid for transportation, an administrative service charge will be
assessed upon refund of the ticket. This service charge will be collected by deducting the applicable service charge from
the amount which otherwise would be refunded. Tickets will be refunded only to the person named on the ticket as
passenger, except that:

1. Tickets purchased with a credit card will be refunded only as a credit to the credit card account,
 2. Tickets issued against a prepaid ticket advice will be refunded only to the purchaser, and
 3. Tickets issued against a government transportation request will be refunded only to the government agency which
    issued the transportation request

 Once travel has commenced, refund requests for lower fares will not be honored.

American will strive to process eligible refunds in the time frames set out below, upon receipt of all required information.

For all eligible paper and electronic tickets purchased within the U.S. with a credit card or cash, refunds will be provided
within 7 business days of receipt of the required refund information. The credit card refund may take up to two billing
cycles before appearing on a credit card statement, so you should contact your credit card company directly to verify
receipt of the credit. Tickets purchased with a check will be refunded within 20 days of receipt of the required
information.

Refunds for electronic tickets may be obtained through the refund section on our website at aa.com or by contacting
American Airlines reservations.

Refunds on tickets, paper or electronic, less than $3,000 can be obtained at any of our U.S. airport ticket offices or City
Ticket Offices. All other refund requests should be sent to:

American Airlines
Attention: Passenger Refunds
4000 E. Sky Harbor Blvd. Phoenix, AZ 85034

Fax: 800-892-3447
International fax: 480-693-2759

Certain refund requests cannot be accommodated in the time frames discussed above. For example, refunds for lost
tickets must be held for 90 days to ensure that they are not found and used. Tickets with adjustments (for example, a
customer buys a first class ticket but actually travels in the main or coach cabin) require that we verify the itinerary and
class of service flown, and this can take up to 45 days. Tickets that were purchased outside the U.S. require special
handling because we must ensure that currency conversion rates are calculated correctly.
https://www.aa.com/i18n/customer-service/support/conditions-of-carriage.jsp?anchorEvent=false&from=footer?fffarechanges     13/21
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 98 of 140
8/11/2017                                              Conditions of Carriage — Support — American Airlines

Refund for credit card purchases will be made only to the credit card account.

 Service charges are collected for some refunds. No service charges apply for the refund of claims pursuant to Section
 649 Sentence 2 BGB.

 American assumes no liability for any special, incidental, or consequential damages for instances in which we do not
 meet our goals for processing refunds.


 Helpful suggestions
To ensure a prompt refund, you must submit all required documentation and information, including:

• Valid ticket submitted to us before expiration date - tickets expire one year from the date of issue
 • Original unused flight coupons for paper tickets
• Ticket number for electronic tickets

 • Brief written explanation
• Your name, address, and telephone number(s), email address, form of payment used to purchase the ticket


Involuntary refunds
In the event the refund is required because of American's failure to operate on schedule or refusal to transport, the
following refund will be made directly to you.

1. If the ticket is totally unused, the full amount paid (with no service charge or refund penalty), or
2. If the ticket is partially used, the applicable fare for the unused segment(s)

American shall not be obligated to refund any portion(s) of a ticket which does not reflect a confirmed reservation on an
American flight involved in a schedule irregularity, unless such ticket was issued by American.

Whether the refund is voluntary or involuntary, American reserves the right to refuse to make any refund in a currency
other than the currency of purchase or in a country other than country of purchase.


 Optional products and services
The following optional products and services will be eligible for a refund if you are unable to use the product or receive
the service due to denied boarding (either voluntary or involuntary) caused by an oversold flight. If the product and/or
service was provided on an alternate flight, no refund will be provided.

Optional products and services potentially impacted by flight oversales include but are not limited to:

• Main Cabin and Preferred Seats
• Priority boarding

• Checked bag charge
• Same-day flight change
• Baggage fees and charges (including excess baggage, pets, sports or hunting equipment, etc.)

If your optional product or service purchase meets the above eligibility and you wish to submit a refund request, you will
be required to mail in your original documents to American Airlines before your request can be processed.



https://www.aa.com/i18n/customer-service/support/conditions-of-carriage.jsp?anchorEvent=false&from=footer?#farechanges   14/21
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 99 of 140
8/11/2017                                              Conditions of Carriage — Support — American Airlines

For regular mail: American Airlines
Attention: Passenger Refunds 4000 E. Sky Harbor Blvd.
Phoenix, AZ 85034

Fax: 800-892-3447
International fax: 480-693-2759

When submitting a refund request please include:

▪ The passenger's name
• Address
• The form of payment used (including the last four digits of the credit card number, if applicable)
• The ticket number(s)
• The date of travel
• The departure city and destination city
• Original receipt for optional product purchase/fee payment




Ticket validity
A valid ticket must be presented for transportation. Tickets for itineraries with more than one flight segment must be
used in accordance with the sequence of flights as they appear in the ticketed itinerary and receipt. If a paper ticket, the
unused flight coupons must be presented attached to the passenger receipt coupon. American has the right, in its sole
discretion, to confiscate any ticket that has been altered, mutilated, or improperly issued or which has been improperly
 presented or presented by someone other than the passenger named on the ticket.

Tickets are valid for use, reissue or refund only by the passenger named on the ticket. Unless otherwise indicated,
tickets are not transferable. American is not liable to the owner of a ticket for honoring or refunding a ticket presented by
 another person.


 Period of validity
 Unless your ticket indicates otherwise, tickets are valid for transportation for one year from date of initial use, or if
 unused, for one year from date of purchase.


 Refundable ticket validity - voluntary changes
 The ticket will be valid as follows:

 • Wholly unused tickets: Travel must commence within one year from the original ticket issue date. For example; if a
   ticket is issued on June 1, 2016, the new ticket travel must commence no later than June 1, 2017.

 • Partially used tickets: Unless otherwise specified in the fare rule, travel must be completed within one year from the
   outbound travel date.

 Any fare difference must be paid and tickets must be reissued when the itinerary is rebooked.




https://www.aa.com/i18n/customer-service/support/conditions-of-carriage.jsP?anchorEvent=false&from=footer?#farechanges       15/21
   Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 100 of
8/11/2017
                                               140
                               Conditions of Carriage - Support - American Airlines

 Non-refundable ticket validity
 If the ticketed reservations are canceled prior to the ticketed departure time, the ticket will be valid as follows:

 • Wholly unused tickets: Travel must commence with one year from the original ticket issue date. For example; if a ticket
   is issued on June 1, 2016, the new ticket travel must commence no later than June 1, 2017.
• Partially used tickets: Unless otherwise specified in the fare rule, travel must be completed within one year from the
  outbound travel date.

Any fare difference and applicable change fees must be paid and tickets must be reissued when the itinerary is
rebooked.




Ticket validity: Compliance with terms and conditions of
sale
Tickets are valid for travel only when used in accordance with all terms and conditions of sale. Terms and conditions of
sale include, but are not limited to:

1. The passenger's itinerary, as stated on the ticket or in the passenger's reservation record
2. Any requirement that the passenger stay over a specified date or length of time (for example, Saturday night or
   weekend) at the destination specified on the ticket
3. Any special purpose or status (for example, age in the case of senior citizen or children's discounts, military status in
   the case of a military fare, official government business in the case of a government fare, or attendance at a qualified
   event in the case of a meeting or convention fare) that entitles the passenger to a special or reduced rate
4. Any other requirement associated with the passenger's fare level

Unless a ticket is reissued by American or its authorized agent upon payment of applicable charges, or an authorized
representative of American waives applicable restrictions in writing, a ticket is invalid:

1. If used for travel to a destination other than that specified on the ticket
2. If the passenger fails to comply with applicable stay-over requirements
3. If the passenger does not meet the purpose or status requirement associated with the fare category on the ticket
4. If American determines that the ticket has been purchased or used in a manner designed to circumvent applicable
   fare rules


American specifically prohibits practices commonly known as:
• Back-to-back ticketing: The combination of two or more roundtrip excursion fares end to end for the purpose of
  circumventing minimum stay requirements.
• Throwaway ticketing: The usage of roundtrip excursion fare for one-way travel.

• Hidden city / point beyond ticketing: Purchase of a fare from a point before the passenger's actual origin or to a point
  beyond the passenger's actual destination.


https://www.aa.com/i18n/customer-service/support/conditions-of-carriagejsp?anchorEvent=false&from=footer?#farechanges   16/21
   Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 101 of
8/11/2017
                                                140
                               Conditions of Carriage — Support — American Airlines

 • Duplicate and impossible/illogical bookings: Duplicate or impossible/illogical American Airlines bookings are prohibited
   without prior .authorization from American Airlines. A duplicate or impossible/illogical booking includes, but is not
   limited to, bookings for the same passenger on flights traveling on or about the same date between one or more of the
   same or nearby origin and/or destination (such as JFK to DFW and LGA to DFW or DFW to LAX and DFW to ONT),
   or bookings with connections that depart before the arrival of the inbound flight.
 • Fraudulent, fictitious and abusive bookings: Fraudulent, fictitious and/or abusive bookings are prohibited. These types
   of bookings are defined as any bookings made without having been requested by or on behalf of the named
   passenger. Additionally, creating bookings to hold or block seats for the purpose of obtaining lower fares, AAdvantage
   award inventory, or upgrades that may not otherwise be available, or to gain access to airport facilities, or to
   circumvent any of American Airlines' fare rules or policies, is prohibited without prior authorization from American
   Airlines.

Where a ticket is invalidated as the result of the passenger's non-compliance with any term or condition of sale,
American has the right in its sole discretion to:

 1. Cancel any remaining portion of the passenger's itinerary
2. Confiscate unused flight coupons
3. Refuse to board the passenger or check the passenger's luggage
4. Refuse to refund an otherwise refundable ticket
5. Assess the passenger for the reasonable remaining value of the ticket, which shall be no less than the difference
   between the fare actually paid and the lowest fare applicable to the passenger's actual itinerary




 Lowest fare availability / 24 hour refund
Customers calling our reservations office or visiting our airline ticket offices or ticket counters will be offered the lowest
available fare (exclusive of internet-only fares) when specific dates and times are provided. In the event the lowest
available fare is not quoted, American's liability is limited to the difference between the fare quoted and the lowest
available fare for which the customer was eligible at that time.

When you purchase a ticket 2 or more days prior to departure by telephone with American Airlines Reservations or via
aa.com for American Airlines flights (including American Airlines flights operated by codeshare partners), you have up to
24 hours from the time of ticket purchase to receive a full refund for your ticket. After 24 hours have elapsed, normal
refund policies apply to the ticket. If you elect to make changes to the itinerary after the 24 hour time period, a change
fee may apply and the ticket price may also change depending on the fare purchased.




 Customers with disabilities
American endeavors to provide passengers with disabilities dignified, professional, and courteous service at all times.
We have a team of employees who regularly consult with disability advisory groups on the quality of our service.


Reservations Special Assistance Coordinators
https://www.aa.com/i18n/customer-service/supporUconditions-of-carriage.jsp?anchorEvent=false&from=footer?#farechanges       17/21
   Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 102 of
8/11/2017
                                               140
                               Conditions of Carriage - Support - American Airlines

 American reservations offices maintain a staff of Special Assistance Coordinators (SAC) who work with customers who
 have identified themselves as having disabilities. The reservations representative who responds to the customer's initial
 call passes pertinent information to a SAC who calls the customer back. A toll-free number exists for customers with
 disabilities to follow-up on travel arrangements with the SAC office. Airport and in-flight personnel are notified of special
 service requests.


 Pre-reserved seats
 American blocks a limited number of seats on each aircraft to accommodate customers who identify themselves as
 having a qualified disability. Adjacent seats are provided, under certain circumstances, for customers with disabilities
 who must travel with a companion for assistance.


 Assistive devices
American accepts motorized and non-motorized assistive devices for transport. When necessary, we will disassemble
and reassemble wheelchairs or assistive devices for customers when they travel. American provides storage for one
passenger's collapsible, manual wheelchair in the cabin of each jet aircraft. This service is available on a first-come, first
served basis, and has priority over carry-on baggage belonging to other customers who board at the same city, provided
the customer follows the pre-boarding procedure. In-cabin stowage space for assistive devices cannot be pre-reserved,
but American accepts carry-on wheelchairs, provided they collapse to fit in an overhead bin or under a seat. Non-
collapsible wheelchairs/scooters are accepted as checked baggage. These items can be checked at the main ticket
counter or the departure gate. American offers a special wheelchair service that allows you to check your wheelchair at
the departure gate and claim it at your arrival gate free of charge. Although you can arrange to claim your chair at the
connecting city we recommend that the chair be checked through to the final destination. The additional time required to
claim and re-check your chair at the connecting city may compromise your ability to make your connection. American
has wheelchairs and our representatives provide wheelchair service at connecting airports. Please let us know you will
need this assistance when making your reservation. Assistive devices approved for cabin transport do not count towards
the combined number of checked and carry-on baggage a passenger is allowed, nor do they count towards the limit of
carry-on items you may bring on board.


 Boarding assistance
If you have special needs, upon request, pre-boarding assistance will be provided to you, allowing you the opportunity to
be seated prior to general boarding. A special aisle chair is available to assist you if you are unable to walk, and all of
our jet aircraft are equipped with specially designed seats that feature moveable aisle armrests to help make seating
easier.


Medical oxygen
Only portable oxygen concentrators (POCs) approved by the FAA are accepted for inflight medical oxygen. A 48-hour
notice is required. Contact American Airlines at 1-800-433-7300 to obtain information regarding the required medical
paperwork.


Complaint resolution officials for customers with special needs
We have employees at airports who are trained as local complaint resolution officials (LCRO) and are available during
operating hours. A corporate complaint resolution official is available to assist LCROs 24 hours per day, seven days per
week.


https://www.aa.com/i18n/customer-service/support/conditions-of-carriage.jsp?anchorEvent=false&from=footer?#farechanges      18/21
   Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 103 of
8/11/2017                                      140 - Support - American Airlines
                               Conditions of Carriage




 Optional products and services
Optional products and services may be purchased a la carte or in a bundle at the discretion of the traveler. Optional
products and or services may be purchased to be used in conjunction with an American Airlines flight. Specific terms
and conditions are incorporated herein by reference and can be found on each optional product or service page:

Five Star Service >>                               Main Cabin Extra >>                                Preferred Seats

In-flight internet »                               Mileage Multiplier >>                              Same-day flight change

                                                   Paid LFB Upgrade »




Aircraft information
American Airlines reservations representatives will advise you when it will be necessary for you to move from one
aircraft to another during your travel, including when the flight number remains the same.

American Airlines reservations representatives are able to provide you with a wide variety of information related to the
American Airlines fleets. Aircraft configuration, seat size, and seat pitch are just a few examples of information that can
be obtained from our reservations representatives. This information is also available at the AA.com website.




 Customer Relations
Our Customer Relations department is dedicated to addressing customer comments and unresolved concerns. The
Customer Relations department will respond to our customer's written complaints within 60 days. Customer Relations
can be reached at:

U.S. Mail/Overnight Mail:
American Airlines Customer Relations
4000 E. Sky Harbor Blvd.
Phoenix, AZ 85034 Phone: 817-786-3778
Fax: 480-693-2300

Email AA Customer Relations 0




 Delays, cancellations and diversions

https://www.aa.com/i18n/customer-service/support/conditions-of-carriagejsp?anchorEvent=false&from=footer?Iffarechanges         19/21
   Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 104 of
8/11/2017                                       140
                               Conditions of Carriage — Support — American Airlines

 American Airlines will provide customers at the airport and onboard an affected aircraft with timely and frequent updates
 regarding known delays, cancellations and diversions and will strive to provide the best available information concerning
 the duration of delays and to the extent available, the flight's anticipated departure time.

 We are not responsible for any special, incidental or consequential damages if we do not meet this commitment.

 When cancellations and major delays are experienced, you will be rerouted on our next flight with available seats. If the
 delay or cancellation was caused by events within our control and we do not get you to your final destination on the
 expected arrival day, we will provide reasonable overnight accommodations, subject to availability.

 In extreme circumstances, it is possible that a flight will cancel while on the ground in the city to which it was diverted.
 When this happens you will be rerouted on the next American flight with available seats, or in some circumstances on
 another airline or some other alternative means of transportation. If we are unable to reroute you, reasonable overnight
 accommodations will be provided by American, subject to availability.

 American will provide amenities for delayed passengers, necessary to maintain the safety and/or welfare of certain
 passengers such as customers with disabilities, unaccompanied children, the elderly or others to whom such amenities
 will be furnished consistent with special needs and/or circumstances.




 Essential needs during extraordinary delays
In the case of extraordinary events that result in very lengthy onboard delays, American will make every reasonable
effort to ensure that essential needs of food (snack bar such as Nutri-Grain®), water, restroom facilities, and basic
medical assistance are met.

 We are not responsible for any special, incidental or consequential damages if we do not meet this commitment.




Authority to change contract
No agent, employee or representative of American has authority to alter, modify or waive any provision of the Conditions
of Carriage unless authorized in writing by a corporate officer of American.




 Frequent flyer award disclosure
An annual report of award redemption will be published, both at the aa.com website and in the AAdvantage Newsletter.




 Choice of law
https://www.aa.com/i18n/customer-service/supporUconditions-of-carriage.jsp?anchorEvent=false&from=footer?#farechanges     20/21
   Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 105 of
8/11/2017
                                               140
                               Conditions of Carriage - Support - American Airlines

These Conditions of Carriage are governed by and are to be interpreted in accordance with the laws of the State of
Texas.




 Service with domestic codeshare partners
American will make our Customer Service Plan readily available to all of our domestic codeshare partners and, to the
extent possible, make every reasonable effort to ensure our partners offer comparable levels of service.



0 Back to top




 Help                                   About American                          Extras

 Contact American                       About us                                Business programs
                                                                                                                        Limited,time offer, Earn 75,000 bonus miles
 Receipts and refunds                   Careers   o                             Gift cards                                       after qualifying purchases
FAQs                                    Investor relations                      American Airlines credit card
                                                                                                                                     BuyMiles
Agency reference                        Newsroom                                Trip insurance                                Get up to 85900 bonus miles
                                                                                                                                   through August 31
 Cargo                                  Legal, privacy, copyright               CoBrowse
                                                                                                                                AVIS Prii Budget`
Baggage and optional service            Browser compatibility
                                                                                                                                   Up to 35% savings
fees
                                        Web accessibility                                                                        plus Akdvantageo miles
 Customer service and
 contingency plans

Conditions of carriage and tariffs




    Link opens in new window. Site may not meet accessibility guidelines.




https://www.aa.com/i18n/customer-se rvice/su pport/conditions-of-card ag elsp?anchorEvent=false&from=footer?#fa recha ng es                                  21/21
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 106 of
                                     140




                          Exhibit
                            12
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 107 of
                                     140

                                                                                           CO
                                                                       C               -c
                                                                       o
                                                                      4.7.          a)  a)
                                                                                        cL
                                                                                         • C
                                                                                           oa
                                                                       CO          -0
                                                                       E           :=
                                                                                        o_
                                                                                        co 0
                                                                                           0
                                                                      8            §
                                                                      C            "0 • 2
                                                                      —
                                                                      -a            C a)   • o.
      a)                                                              --           12      CD CO
      00                                                               7                   CD c
      co                                                               o-          ..E- z 0
      4-,
      C                                                               =               ca • o
                                                                       ca             0a   c -0
      (o
      >                                                               "5             Id c      as
                                                                                          1-7 cn
      <                                                               'Fi             Cts
                                                                                      C.)
                                                                                            o
      <                                                                0                  . -§
                                                                       2           :.a
                                                                                    ..- o p..
                                                                       C              2
                                                                       o
Ts)                                                                    •
                                                                       7            CO
                                                                                        • -8
                                                                                   _c C13
                                                                                       ...Y              g
                                                                                            •            CO
                                                                       0
                                                                      Tu                    >, a) E
      C                                                               .o
                                                                      .5
                                                                        o
                                                                       (i)
                                                                       Cl)
                                                                        a)          •      12
                                                                       E            §S - 2
                                                                        2          -a
                                                                                    •      > ..--•
                                                                        a)          2 2) o "6
                                                                       E           .c c.)
                                                                      ...=.
                                                                        a)          = .c
                                                                       .c           o_ F-. a)
                                                                                           i... 0
                                                                                                a)
                                                                       .C           U)
                                                                        —           a) g '1:5
                                                                                            >. 0
                                                                                                yt
                                                                        U,
                                                                        C
                                                                        2           •
                                                                                    c .c o 0 €n
                                                                        a)          (t)        EL'
        CL)                                                            :Ei          0 v -2 c'c' .
        >                                                                           t; s u
                                                                                         m
      1.a3
        1. . :                                                         'II .-a"      7
                                                                                    "0                   -0
                                                                                                              0,
                                                                                                              a)
                                                                        cn cu                                 cV..
                                                                        cn ID
                                                                        a) g  2 -o
                                                                                 2 'a
                                                                                    o (NJ
                                                                                        0. m
        C                                                               0     a.
        (0                                                              2 2 2 . 5-
                                                                                 2 cg• :C
                                                                                        c I
      ca.                             vl                                o_    0 0- o •     •Ei-
                        C
                                      4-,
                                      c                                 o tj.-a 2 >. _
                                      >a,cu                             . 0 a, t 7: 9.      '7'
                 C




                        ro                                             .c
                                                                        -1
                                                                         ( ) 0 al 95 09—
                                                                                     o=
                        O.-           c                                                                       ,La)
                                      0                                 . § 15
                 ht                                                     a) --=.•                              E
                 ig     G.)           'cr)                                          .,,r.
                                                                                      • : 2 _c —              Co
                  r     U             >
                  opy   • -           :10
                                                                        LU
                                                                         •    .°
                                                                                       o                       0
                                                                         c
                                                                         ca a) 2 (->,,
                                                                                    4 >, 0                    R.
                        >             73
                  &c                   c                                 c.) u) t) co 0 il)
                        5--                                             .c
                                4-,                                      a) •
                                                                            c T) CI) ...c.r cz 8
                  cy    Q.)    :.=    Li)                                E co 23 CD a) .c •E
                 iva    ln     Ii3
                                      C                                 < cf)
                  r             a3    0                                 '0 ti  9 ..0
                                                                               1
                                                                                  Cl)
                                                                                      Ea) > 45
                                      47-
                                        -J                               C =                  7    •-•
                 l,p                   (13                               co "0          ‘a-i _c,    03   -0    E
                  a             (d
                                >
                                      —
                                                                         co 2 °-
                                                                         CD CL
                                                                              ,3             ,0i
                 Leg    (1)     (13   —a5
                                      u
                                      .                                . c E.       6.,3.
                                                                                  ' ;
                                                                              a .r;
                                                                                ...
                        E
                                2     „3u                             :Et- 0      _
                                                                                  — 0 ,_. cs,--. ,.
                                                                                    ..,
                               4--
                               4-,     vi
                                                                 v,
                                                                 C
                                                                1:3   c =  0. e z „,G, .a g
                         0      v,                                  S         0
                                                                             Q) %._ .,
                  a)            a)     >)                                = :0 C.) 6 ni
                                                                n -a a) co
                        -I—)           rts
                                     75                         4- a) E
                  0     L/1    0                                G)  Eo o t 2 5: c
                                                                                c° ."..
                                                                                     a) i
                               —J . CD                                                                        i-•-:•
                        =
                                                                                                              0.
                                                                                                              `1)
                        U      0      0                         0                                             E
           Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 108 of
                                                140
                                                                                                                                 a)
                                               o        iti                                                                      co
        CB                                     cn 8 _c
     c _c
     7 .6                                      >,                                                                                _c
                                               cp co
                                               -0   .c- 45 To
     E -                                       a E cn a)    a                   0
     o ZC                                      a) a) 1) C/)                   "Zii                                               2
     (
     q (,..)
     CO 0                                       '- _CO  -                       c.)
     co 0                                         ,      _c 2                 ...7.,                                             CD
                                               13 ..q_ 3 .5                    V)                                                CI)
     715 O                                                                                                                       >,
                                               "cru 0 0 cr                      o                                                a)
         115                                         > 0) .
                                                           2                    ai                                                E.D.
                                                 =             a)               cn
                                                                               -o
                                                                                                                                 a
                                                                                                                                 -
      = c)                                       E 73 D -0 w ..c                C                                                  CI)
      0 1-                                       cn 0 cn cu                     =
      C o                                        a) ..,
                                                      co 0                                                                         CI)
      o cucn                                               r :0-ci
                                                                 -i             i.D.                                             •E
      C 0                                      .•-7-,0_0= 2 0                    a)
       o
      .-  •-                                                                    E
      r,) o                                      17) 1 -35 a _                   o
                                                  o .,.. cn z-6                  cn                                                CD
           a)
      -0 u                                                                       O                                                 0
      C I.=                                                                     1:3
      a -c
      H                                         13 0                             a)                                                0


..                  •
                                                                ic ;            --t-.                                              co

.c _c  0).                                      di  1.0 3
                                                a co 'r (-%                     2
.:i o) D                                        E-0 2 _C"      ..,
                                                                                  (t)                                  c
 c 2 5                                          CDr                             cn
                                                                                o
                                                a) ,... cp (D                   E'                                     T.)         a)
•cw " 45                                                                        CD                                     C            CD
E          0        >.,                         8   0) .- c_)' 5..,
                                                LE. E
                                                                               _c
                                                                                0
                                                                                                                                   -o
-rs -E c                                            o ..... 1.... :,-_-,-                                              C            C
I a, CD                                           •                                                                    o            o
V                                                -
                                                 0 VS
                                                 >  = z, cm.), ,: L'  a)           a)
                                                                                   c.)                                 CO             C0
                                                                                                                                       D
cL t                                             0 0            70      6 L
..,,,3 -0                                        _0
                                                 „, co .D 5 0                      a)                                              'a
cno_ a)                                                    -c 2 v                ( /)
      a)                                                                                                               4E             a
 c1 Ts Eci                                        a) - 13 0. cll
                                                 v.) CL c s- a)
                                                                                  .--;
                                                                                   c
 co u) _a                                                                          =                                   -o
 o. c o                                           u) E 0 ° -5                    o
      o                                                        2 0                 0                                    co            a)
                                                                                   0                                                  _o
'E    75 -0                                       ° a)          °                  co                                   o
  a)   L c                                       i73 ,_ o -.F.
  0
       a) co                                       cn 0 = >. 2                    2                                     co
  'cr) 00                                          CD ----• a) .r) co                  0
                                                                                       ci
  E a) c)                                                                                                               co            -o
  o fY c)
  Vi                                               f2 c E o00                     'Es
   = ,_ c)                                       4-00  a)      ' co               2
  c..) O
       o c6
          ep,.                                     a) E 0 c 1-
       0)
       0 co                                       -,-.- .           g             a)
                                                                                  0                                                   .0
                   CD 1:3
                       -s ch
                           ci) +-
                                CI) .C7 d- •C
                                                                                                                        -a             cn
                       C,3 CI3 0 CD 0                                                                                    2            -E.
           CKS co  c .0 0 >.                                                                                                          •ii-)
           E. U)
           '                                >,                                                                           er           0
           0      '                    0 .-e-
           00                   7.--,-
                                                  a) 0 Ca        cn >,                                                                           CI)
           >. 0
           _o •E                                   co a)     co 0                 a)
                                                                                 -0                                                              c.)
           -02                                    -C/
                                                   0 -V
                                                      0 CO
                                                         L..13
                                                             0 C2               co                                                       o      :4=
            a)
            c 1:5                                  E I:: a) u) "                  E                                                                        D
                                                                                                                        .,o
           .- a)                                   E        ,. _•,. 8
                                                      • -S cn B                   a)                                       D              0
                                                                                                                                                                .0
                                                                                                                                                                                    documents or gethelp



                                                   0 1:3                               _O                                                        CD
           42 TD-
           _o                                                                                                                            -o                a)   a)
            o -0                                   0u
                                                    (D) a) 0 Ca
                                                           ...., 1-   ,..._            :',"'_                            rn               c                     cn
                                                   0
                                                   ca ...,
                                                      _.- _c      ct._c                                                                          13
            a) cco                                                                      U)
                                                                                                                                          co                    _c
           .c)                                                                           a)                                                      cn
                                                                                                                                                 a              2
                                                  .o -co•-15.ra
                                                                                                Helpful suggestions:




               COO                                                      D                                                                 0
                                                                   0
               co a                          C)                    m    2                                                    o
               C.) Cd -.E.          U)       LO   ''.
                                                   0 23 > -5
                                             N. C C a) C 0
                                                                                        _c                                                                     o
               ..... ......... CD   -0             C 7 > C .....   2                                                     -cci             e
                                                                                                                                          a.
                                     C       Cii CO 0 > t13 CO 7                                                                                           CD -a
                                     =       CO Q 4- -.= 0 D       a                                                                                           a)
                            0
                           .0                0)                                                                                           To               ui
           -.T.-.                    cD 16         (0 -5. _"d   E P_
                        0 13        Ce >     C9    in c                                                                                    g
                                                              o a) CD
                                                                   0                                                                      r.--
                                                                                                                                          --
                             icr> ,.._           co  = ,.... .,- •t                                                        -a '           -o               -0 a)
                                                                                                                                                                     View add itional




            c c o            a) o 'cr -zr  f's•-     0- co 5 o a)                                                                                          -c)
            2o .c  (,) cn c -2 c...)                 a.) >, cr a (0 -a                                                     E    0 a)                        co E
           +c5 m , cu
            a) -0      c u) a)      Cif
                                        CD
                                        LO
                                           .:I-
                                           c?    03      a)          = .2
                                                                        0
                                                                                                                            2
                                                                                                                            o. .,-
                                                                                                                                           'a
                                                                                                                                           u)
                                                                                                                                           =
                                                                                                                                           c
                                                                                                                                                             .>,
                                                                                                                                                            ai ca
           ii) S a) .i... co >t N o) 'Fa   (NI         ,  —         0
                                                            ,e c a) 6                                                       CD _Ne
                                                                                                                                 el)       m                E a
                                                     D                                                                                                      co
            8      cr C •c• u)             c° -.;_-:
                                                  E
                                                  )
                                                     2 ro _o o0
                                                         _c co c
                                                                    -   4-                                                           -ag To c               c
            cn     2                  .
                              o u j .E a as .c (2 ° a) c v                                                                  Fn :0 ((in' '5)                 5 E
           -ID 0 -o • -S
                       ,L- '4E7 a a) co E            iB DO D -o         =c                                                                 'c               o 15
           ac --
               ._
                - c
                -, m E a) cu a o                  a) -= U) co --5 C "6-
                                                                                                                            a) > 45 0                       >- Li-
                                                                                                                                                            U is
                                    CDC      m *E. 0  0 o c o c.) c
                                                                  ._ca
                                                                     .c Ce                                                 1-
                                                                                                                            o     .         III        •
     g,
     c      cD To f.12 < < ct 0- LI-
           CC
     CNI
     N-
                 co
                                                                                                         Customer service plan -Support-American Airlines




      (NI
            sc -
Z
                                                      _


                                           o
                                         ._
                                           >
                                                      tn


                                           _c
                                                      co




                                 4—,



            LL
              :-=
                                          4-,



                            -C
                                   Li)
                                                      L..




                      b.0
                                                      l




0
                                                                                          0:1J
                                                                                                 co




                                                                                  ra
                                                                             (CS
                                                                                   oal
                                                                                         4—,




                                                ._
                                                  CV
                                                                  (0
                                                                             _0




                                                          c
                                                                  C




                                  _Y
                                                                                         RI




                                  '7
                                                                       -CI
                                                                                         U
                                                                                         ki




                       CD
                                                 m

                                         c

            -C
                                                          E


                                         2
                                                            4-,




                            U


            U
                                                                                          CL




                                                      a cu
                                                                                   OD

                                                                             b.0
                                                                             04




                                                 0-




0
                                                                         I
                                                                                 n:3




                                                            r%
                                                                                         IV




                                            (13

                                       ,....
                                                                                       C
                                                                                       +-,


                                                                                 >
                                                                                         0)




                                                                             "0




                                        aJ
                                                        2
                                                                             <




            VI
                                       E

            D
                                            0


            0
                                                                             <




            4-1

            U
                                                      Ct
                                                                                         OD




                                                            ao

                                                      >,

                                            >,




0
             Other travel po licies
                                                                                                                                                                                                                                         140




                                                                             About American




            ca.
Contact American                                                                                                           Business programs
                                                                                                                                                                    ea
                                                                                                                                                                   LLI
                                                                                                                                                                                           ,fi




                                                                                                                                                                            0.
                                                                                                                                                                            °
                                                                                                                                                                            o.




                                                                                                                           O
                                                                                                                                                                     4fre




Receipts and refunds
                                                                                                                                                                   E t;
                                                                                                                                                                            =z 0.




                                                                                                                           American Airlines credit card




LL.
                                                                                                                                                                               = 7=
                                                                                                                                                                                     ,,;=.5




                                                                                                                                                            i..9
                                                                                                                                                                   44
                                                                                                                                                                     Z
                                                                                                                                                                                  a) X.




Agency reference                                                                                                           Trip insurance
                                                                                                                                                                                  in §' A




                                                                             Legal, privacy, copyright
                                                                                                                                                                                            :i...
                                                                                                                                                                                             4:1)
                                                                                                                                                                                       °E. D




                                                                                                                                                                   'CC




               fees
Bag and optional                                                             Browser compatibility
                                                                                                                                                                   CL
                                                                                                                                                                                    8,




Customer service and contingency plans                                       Web accessibility

Conditions of carriage




       Link opens in new window. Site may not meet accessibility guidelines.
                                                                                                                                                                                                    Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 109 of
                                                   Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 110 of
Customer service plan —Support—American Airlines
                                                                                        140
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 111 of
                                     140




                           Exhibit
                             13
   Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 112 of
10/29/2017
                                               140
                                Optional service fees - Support - American Airlines

                                                                                         Englis         Search aa.com

American Airlines                                                      Plan Travel Travel Information
                                                                                  AAdvantage
       Home > Optional service fees




 Optional service fees
AAdvantage »                                         Food and drink )>                            Region definitions >>

AV and sports equipment >>                           Inflight products and services >>            Ticketing and other fees))

Baggage >>                                           Other airlines >>                            Wi-Fl and entertainment >>

Children and animals »




 Baggage fees
 Carry-on baggage
You're allowed 1 carry-on bag and 1 personal item in all cabins. If you bought a Basic Economy ticket you're only
allowed 1 personal item.

Carry-on baggage >>

Basic Economy >>


 Checked baggage
See which countries are included in each region »

Are my bags free? >>


First bag

                                                             Premium          Business
  Regions                             Main Cabin                                             First Class       Notes
                                                             Economy           Class


  Within and between
  U.S., Puerto Rico and                    $25*                   $0             $0                $0
  U.S. Virgin Islands


  Between Canada and
  U.S., Puerto Rico and                    $25*                    —             $0                $0
  U.S. Virgin Islands


https://www.aa.com/i18n/customer-service/support/optional-service-fees.jsp                                                     1/19
   Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 113 of
10/29/2017                                      140
                                Optional service fees - Support - American Airlines


                                                             Premium         Business
   Regions                            Main Cabin                                        First Class   Notes
                                                             Economy          Class

   Between Mexico,
   Caribbean (excluding
   Cuba and Haiti), Central
                                                                                                      $25 seasonal fee for
   America and U.S.,
                                                                                                      SAL flights June 20 -
   Puerto Rico, U.S. Virgin                $25*                                $0           $0
                                                                                                      August 9, 2017 and
   Islands, Canada
                                                                                                      December 8 - 24, 2017
   Or between Mexico,
   Caribbean and Central
   America

                                                                                                      One-way into Cuba $25
                                                                                                      fee. Round-trips
   From U.S. (including                                                                               originating in the U.S.
   Puerto Rico, U.S. Virgin                                                                           (including Puerto Rico,
   Islands, Canada,                         $25                                $0           $0        U.S. Virgin Islands,
   Mexico and the                                                                                     Canada, Mexico and
   Caribbean) to Cuba                                                                                 the Caribbean) pay $0
                                                                                                      for 1st bag on the
                                                                                                      return.

   From Cuba to U.S.
   (including Puerto Rico,
   U.S. Virgin Islands,                     $0                                 $0           $0
   Canada, Mexico and
   the Caribbean)

   To or from Haiti                         $0                    $0           $0           $0

                                                                                                      $25 1st bag fee applies
  To or from South
                                                                                                      for CLO flights June 20
  America (excluding                        $0*                   $0           $0           $0
                                                                                                      - August 9,2017 and
  Brazil)
                                                                                                      December 8 -24, 2017

   To or from Brazil                        $0                    $0           $0           $0




https://www.aa.com/i18n/customer-service/support/optional-service-fees.jsp                                                  2/19
   Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 114 of
10/29/2017
                                               140
                                Optional service fees - Support - American Airlines

                                                            Premium         Business
  Regions                             Main Cabin                                       First Class   Notes
                                                            Economy          Class


  Between Europe and
  U.S., Puerto Rico, U.S.
  Virgin Islands, Canada,
  Mexico, Caribbean,
  Central America and
                                            $0                   $0           $0           $0
  South America
  (excluding Brazil)
  Or connecting via
  Europe to another
  destination


  To or from China,
  Japan, South Korea,
                                            $0                   $0           $0           $0
  Hong Kong, Australia
  and New Zealand


*Charge applies unless you qualify for other exceptions.

View exceptions and checked baggage limitations >>


Second bag

                                                            Premium         Business
  Regions                             Main Cabin                                       First Class   Notes
                                                            Economy          Class


  Within and between
  U.S., Puerto Rico and                   $35*                  $35*          $0           $0
  U.S. Virgin Islands


  Between Canada and
  U.S., Puerto Rico and                   $35*                                $0           $0
  U.S. Virgin Islands

                                                                                                     $40 2nd bag fee applies
  Between Mexico,
                                                                                                     year round for PTY $55
  Caribbean (excluding
                                                                                                     2nd bag fee applies for
  Cuba) or Central
                                          $40*                                $0           $0        SAP, TGU and PAP
  America and U.S.,
                                                                                                     flights June 20 - August
  Puerto Rico, U.S. Virgin
                                                                                                     9, 2017 and December
  Islands or Canada
                                                                                                     8 - 24, 2017.




https://www.aa.com/i18n/customer-service/supporVoptional-service-fees.jsp                                                  3/19
   Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 115 of
10/29/2017                                      140
                                Optional service fees — Support — American Airlines


                                                             Premium        Business
   Regions                            Main Cabin                                       First Class   Notes
                                                             Economy         Class


                                                                                                     Round-trips originating
   From U.S. (including                                                                              in the U.S. (including
   Puerto Rico, U.S. Virgin                                                                          Puerto Rico, U.S. Virgin
   Islands, Canada,                        $40                                $0           $0        Islands, Canada,
   Mexico and the                                                                                    Mexico and the
   Caribbean) to Cuba                                                                                Caribbean) pay $0 for
                                                                                                     2nd bag on the return.


   From Cuba to U.S.
   (including Puerto Rico,                                                                           Round-trips originating
   U.S. Virgin Islands,                     $0                                $0           $0        in Cuba pay $40 for 2nd
   Canada, Mexico and                                                                                bag on the return.
   the Caribbean)


  Between South America
  (excluding Brazil) and
  the U.S., Puerto Rico,                    $0                   $0           $0           $0
  U.S. Virgin Islands,
  Canada and Europe

                                                                                                     $40 2nd bag fee applies
                                                                                                     year round for GYE and
                                                                                                     U10.
                                                                                                     $55 2nd bag fee applies
                                                                                                     year round for BAQ,
  To or from South                                                                                   BOG, MDE and CLO
  America (excluding                       $0*                   $0           $0           $0        (for trips booked on or
  Brazil)                                                                                            after April 12, 2017).
                                                                                                     $55 2nd bag fee applies
                                                                                                     year round for CCS and
                                                                                                     MAR (for trips booked
                                                                                                     on or after April 12,
                                                                                                     2017).


  To or from Brazil                         $0                   $0           $0           $0


  Between Europe and
  U.S., Puerto Rico, U.S.
  Virgin Islands, Canada,
  Mexico, Caribbean,                      $100*                $100*          $0           $0
  Central America and
  South America
  (excluding Brazil)



https://www.aa.com/i18n/customer-service/supporUoptional-service-fees.jsp                                                  4/19
   Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 116 of
10/29/2017
                                                140
                                Optional service fees - Support - American Airlines

                                                             Premium         Business
  Regions                             Main Cabin                                        First Class   Notes
                                                             Economy          Class


  To or from China,
  Japan, South Korea,
                                            $0                    $0           $0           $0
  Hong Kong, Australia
  and New Zealand


*Charge applies unless you qualify for other exceptions.

View exceptions and checked baggage limitations »


Third bag

                                                             Premium         Business
  Regions                             Main Cabin                                        First Class   Notes
                                                             Economy          Class


                                                                                                      *3rd checked bag will
                                                                                                      be $150 for First Class
  Within and between                                                                                  on two-cabin aircraft.
  U.S., Puerto Rico and                    $150                 $150          $150        $150*       No charge for 3rd
  U.S. Virgin Islands                                                                                 checked bag in First
                                                                                                      Class cabin on three-
                                                                                                      cabin aircraft.

                                                                                                      *3rd checked bag will
                                                                                                      be $150 for First Class
  Between Canada and                                                                                  on two-cabin aircraft.
  U.S., Puerto Rico and                    $150                               $150        $150*       No charge for 3rd
  U.S. Virgin Islands                                                                                 checked bag in First
                                                                                                      Class cabin on three-
                                                                                                      cabin aircraft.


  Between Mexico,
  Caribbean or Central                                                                                Year-round limitations
  America, South America                                                                              apply on baggage and
  (excluding Brazil) and                                                                              the number of boxes
  U.S., Puerto Rico, U.S.                                                                             allowed for travel to
                                           $150                 $150          $150         $0*
  Virgin Islands or                                                                                   Bolivia. *3rd checked
  Canada                                                                                              bag will be $150 for
  Or between the                                                                                      First Class on two-cabin
  Caribbean and Central                                                                               aircraft.
  America




https://www.aa.com/i18n/customer-service/support/optional-service-fees.jsp                                                      5/19
   Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 117 of
10/29/2017                      Optional service140
                                                 fees - Support - American Airlines


                                                             Premium        Business
   Regions                            Main Cabin                                       First Class   Notes
                                                             Economy         Class


                                                                                                     Year-round limitations
                                                                                                     apply on baggage and
                                                                                                     the number of boxes
                                                                                                     allowed for travel to
  To or from Brazil                        $85                  $85           $85         $0*
                                                                                                     select cities in Brazil.
                                                                                                     *3rd checked bag will
                                                                                                     be $85 for First Class
                                                                                                     on two-cabin aircraft.


  Between Europe and
  U.S., Puerto Rico, U.S.
  Virgin Islands, Canada,                                                                            *3rd checked bag will
  Mexico, Caribbean,                      $200                 $200          $200         $0*        be $200 for First Class
  Central America and                                                                                on two-cabin aircraft.
  South America
  (excluding Brazil)


                                                                                                     *3rd checked bag will
  To or from China,
                                                                                                     be $200 for First Class
  Japan, South Korea,
                                          $200                 $200          $200         $0*        on two-cabin aircraft.
  Hong Kong, Australia
                                                                                                     20,000JPY for travel
  and New Zealand
                                                                                                     originating in Japan.


 Fourth bag +

                                                            Premium         Business
  Regions                             Main Cabin                                       First Class   Notes
                                                            Economy          Class


  Within and between
  U.S., Puerto Rico and                   $200                 $200          $200        $200
  U.S. Virgin Islands


  Between Canada and
  U.S., Puerto Rico and                   $200                    —          $200        $200
  U.S. Virgin Islands




https://www.aa.com/i18n/customer-service/support/optional-service-feesjsp                                                       6/19
   Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 118 of
10/29/2017                      Optional service 140
                                                 fees — Support — American Airlines


                                                             Premium         Business
  Regions                             Main Cabin                                        First Class   Notes
                                                             Economy          Class


  Between Mexico,
  Caribbean or Central
  America, South America
                                                                                                      Year-round limitations
  (excluding Brazil) and
                                                                                                      apply on baggage and
  U.S., Puerto Rico, U.S.
                                           $200                 $200          $200        $200        the number of boxes
  Virgin Islands or
                                                                                                      allowed for travel to
  Canada
                                                                                                      Bolivia
  Or between the
  Caribbean and Central
  America

                                                                                                      Year-round limitations
                                                                                                      apply on baggage and
  To or from Brazil                         $85                  $85           $85         $85        the number of boxes
                                                                                                      allowed for travel to
                                                                                                      select cities in Brazil


  Between Europe and
  U.S., Puerto Rico, U.S.
  Virgin Islands, Canada,
  Mexico, Caribbean,                       $200                 $200          $200        $200
  Central America and
  South America
  (excluding Brazil)


  To or from China,
  Japan, South Korea,                                                                                 20,000JPY for travel
                                           $200                 $200          $200        $200
  Hong Kong, Australia                                                                                originating in Japan
  and New Zealand


If you have additional questions, we can help:

Reservations and ticket changes »

Learn more about checked baggage >>


 Overweight baggage

 Over 51 lbs/23 kgs to 70 lbs/32 kgs*

                                                             Premium         Business
  Regions                             Main Cabin                                        First Class   Notes
                                                             Economy          Class




https://www.aa.com/i18n/customer-service/support/optional-service-fees.jsp                                                      7/19
   Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 119 of
10/29/2017
                                               140
                                Optional service fees - Support - American Airlines


                                                             Premium         Business
   Regions                            Main Cabin                                        First Class   Notes
                                                             Economy          Class


  Within and between
  U.S., Puerto Rico and                    $100                 $100           $0           $0
  U.S. Virgin Islands


  Between Canada and
  U.S., Puerto Rico and                    $100                    —           $0           $0
  U.S. Virgin Islands


  Between Mexico,
  Caribbean or Central
  America, South America
  (excluding Brazil) and
  U.S., Puerto Rico, U.S.
                                           $100                 $100           $0           $0
  Virgin Islands or
  Canada
  Or between the
  Caribbean and Central
  America

                                                                                                      Year-round limitations
                                                                                                      apply on baggage and
  To or from Brazil                         $0                    $0           $0           $0        the number of boxes
                                                                                                      allowed for travel to
                                                                                                      select cities in Brazil


  Between Europe and
  U.S., Puerto Rico, U.S.
  Virgin Islands, Canada,
  Mexico, Caribbean,                       $100                 $100           $0           $0
  Central America and
  South America
  (excluding Brazil)

  To or from China,
  Japan, South Korea,                                                                                 10,000JPY for travel
                                           $100                 $100           $0           $0
  Hong Kong, Australia                                                                                originating in Japan
  and New Zealand


 Over 711 bs/32kgs to 100 lbs/45 kgs*

                                                             Premium         Business
  Regions                             Main Cabin                                        First Class   Notes
                                                             Economy          Class




https://www.aa.com/i18n/customer-service/support/optional-service-fees.jsp                                                      8/19
   Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 120 of
10/29/2017                      Optional service140
                                                 fees - Support - American Airlines


                                                             Premium         Business
   Regions                            Main Cabin                                         First Class     Notes
                                                             Economy          Class


   Within and between
   U.S., Puerto Rico and                   $200                 $200          $200          $200
   U.S. Virgin Islands


   Between Canada and
   U.S., Puerto Rico and                   $200                    —          $200          $200
   U.S. Virgin Islands


  Between Mexico,
  Caribbean or Central
  America, South America
  (excluding Brazil) and
  U.S., Puerto Rico, U.S.
                                           $200                 $200          $200          $200
  Virgin Islands or
  Canada
  Or between the
  Caribbean and Central
  America

                                                                                                         Year-round limitations
                                                                                                         apply on baggage and
   To or from Brazil                       $200                 $200          $200          $200         the number of boxes
                                                                                                         allowed for travel to
                                                                                                         select cities in Brazil


  Between Europe and
  U.S., Puerto Rico, U.S.
  Virgin Islands, Canada,
                                          Not                                  Not          Not
  Mexico, Caribbean,                                       Not accepted
                                        accepted                             accepted     accepted
  Central America and
  South America
  (excluding Brazil)


  To or from Australia and                Not                                  Not          Not
                                                           Not accepted
  New Zealand                           accepted                             accepted     accepted


  To or from China,
  Japan, South Korea and                   $450                 $450          $450          $450
  Hong Kong


*More than one fee may apply per bag, for example the checked bag fee + oversize fee + overweight fee.

Learn more about overweight baggage >)

Learn more about baggage limitations »

https://www.aa.com/i18n/customer-service/support/optional-service-fees.jsp                                                         9/19
   Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 121 of
10/29/2017
                                               140
                                Optional service fees - Support - American Airlines

 Oversize baggage

 Larger than 62 in/157 cm*

                                                             Premium         Business
   Regions                            Main Cabin                                         First Class     Notes
                                                             Economy          Class


   Within and between
   U.S., Puerto Rico and                   $200                 $200          $200          $200
   U.S. Virgin Islands


   Between Canada and
   U.S., Puerto Rico and                   $200                               $200          $200
   U.S. Virgin Islands


   Between Mexico,
   Caribbean or Central
   America, South America
                                                                                                         Year-round limitations
   (excluding Brazil) and
                                                                                                         apply on baggage and
   U.S., Puerto Rico, U.S.
                                           $200                 $200          $200          $200         the number of boxes
   Virgin Islands or
                                                                                                         allowed for travel to
   Canada
                                                                                                         Bolivia
   Or between the
   Caribbean and Central
   America

                                                                                                         Year-round limitations
                                                                                                         apply on baggage and
   To or from Brazil                       $150                 $150          $150          $150         the number of boxes
                                                                                                         allowed for travel to
                                                                                                         select cities in Brazil


   Between Europe and
   U.S., Puerto Rico, U.S.
                                                                                                         Baggage more than
   Virgin Islands, Canada,
                                                                                                         126 in/320 cm will not
   Mexico, Caribbean,                      $150                 $150          $150          $150
                                                                                                         be accepted for the
   Central America and
                                                                                                         U.K.
   South America
   (excluding Brazil)


  To or from China,
  Japan, South Korea,                                                                                    20,000JPY for travel
                                           $200                 $200          $200          $200
  Hong Kong, Australia                                                                                   originating in Japan
  and New Zealand


*More than one fee may apply per bag, for example the checked bag fee + oversize fee + overweight fee.



https://www.aa.com/i18n/customer-service/support/optional-service-fees.jsp                                                        10/19
   Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 122 of
10/29/2017
                                               140
                                Optional service fees - Support - American Airlines

 Learn more about baggage limitations »

 If you have questions about baggage fees, please contact Reservations.

 Reservations and ticket changes >>




 AV and sports equipment
 Audiovisual equipment
 If you are checking audiovisual equipment, standard baggage fees apply unless you're an eligible member of a media
 or entertainment company for which special rates apply.

 Learn more about traveling with audiovisual equipment »


 Sports equipment

 For all classes of service, standard first, second, additional, overweight or oversize bag fees
 apply for:

 • Archery equipment                    • Fishing gear                       • Scuba gear (without   • Snowboards4
                                                                               tanks)                • Tennis rackets
 • Backpack or knapsack                 • Golf clubst
                                                                             • Shooting equipment3
 • Boogie, skim or speed                • Hockey or lacrosse2                                        • Tent or sleeping bag
   boards                                                                    • Skateboard            • Water skis4
                                        • Oars
 • Bowling balls                                                             • Snow skis4
 • Camping equipment



 1 Golf equipment for Brazil only - $42.50

 2 One hockey stick and one hockey bag count as one piece

 3To, through or from London Heathrow (LHR) - $80 per case

40ne ski bag and one ski boot bag count as one piece
 Ski equipment for Brazil only - $28.05




 For all classes of service, $150 charge applies for:

• Antlers                               • Kiteboards6                        • Surfboards6           • Wave ski6
• Bicycles5                             • Kitesurf                           • Wakeboards6           • Windsurf

• Hang Gliders                          • Scuba Gear (with tanks)


https://www.aa.com/i18n/customer-service/support/optional-service-fees.jsp                                                    11/19
   Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 123 of
10/29/2017                      Optional service140
                                                 fees - Support - American Airlines

 5I1 bicycle and container are less than 62 dimensional inches and under 50 lbs, you'll pay the applicable charge for the first checked bag.

6If kiteboard/wakeboard/wave skis are less than 62 dimensional inches and 50 lbs, you'll pay the applicable charge for the first checked
 bag.
For Brazil only: Maximum surfboard length of 108 in., not included in checked bag allowances. First surfboard charge is $42.50; additional
 surfboards are $85.00.
 Lightweight surfboards packaged in a single bag that weighs less than 70 lbs will be accepted/charged as a single surfboard.


Learn more about traveling with specialty and sports equipment >>




Inflight products and services
                                                  Main          Premium
   Product or service*                                                       Business      First                      Notes
                                                  Cabin         Economy


   Preferred seats                              $4-$139                                                 Per flight; price varies by flight


  Main Cabin Extra                             $20-$280                                                 Per flight; price varies by flight


                                                                                                           Each way; price varies by
  Priority                                       $9-$74
                                                                                                                  itinerary


                                                                                                       Per passenger, per booking on
                                                                                                       eligible itineraries. Price varies
   Extended hold                                $10-$16                      $20-$30     $20430        on number of days held (3, 5 or
                                                                                                       7 days). Extended hold options
                                                                                                          not available on all flights.


                                                                                                           Per passenger on eligible
                                                                $40-$90      $40-$90     $40-$90           itineraries. Price on some
                                                                  per          per         per          international itineraries may be
   Paid upgrade
                                                                500 mile     500 mile    500 mile          outside the adjacent price
                                                                segment      segment     segment              range due to currency
                                                                                                              fluctuations and taxes


   Five Star Servicesm                                                                                   $2504300 at select airports


*Advantage elite members receive complimentary access to some options.

AAdvantage elite benefits >)




https://www.aa.com/i18n/customer-service/support/optional-service-fees.jsp                                                                12/19
    Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 124 of
 10/29/2017                      Optional service140
                                                  fees - Support - American Airlines




  Children and animals
                                                   Main         Premium
    Service                                                                   Business   First               Notes
                                                   Cabin        Economy


                                                  $150+           $150+       $150+      $150+
    Unaccompanied minor                                                                             Pricing applies each way
                                                   tax             tax         tax        tax


                                                                                                 Certain restrictions apply based
    Service animals providing                                                                     on your itinerary; not allowed
                                                     $0              $0         $0        $0
    assistance for traveler                                                                       for transporting an animal for
                                                                                                              training


    Carry-on pet
    Within/between U.S. and
    Canada, Mexico, Central
                                                   $125            $125        $125      $125              Per kennel
    America, Colombia and
    Caribbean (if the country allows
    entry); not allowed to Hawaii


    Checked pet
    Within/between U.S. and
                                                   $200            $200        $200      $200              Per kennel
    Canada, Mexico, Central and
    South America, Caribbean


    Checked pet
                                                   $150            $150        $150      $150              Per kennel
    Between the U.S. and Brazil


  Learn more about unaccompanied minor fees

  Learn about traveling with service animals))

  Can my pet travel? >>




  AAdvantage
  AAdvantage 500 mile upgrades
• $40 (including taxes) per upgrade

  Learn more about 500 mile upgrades))


  AAdvantage mileage award upgrades
 https://www.aa.com/i18n/customer-service/support/optional-service-fees.jsp                                                    13/19
    Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 125 of
10/29/2017
                                                 140
                                 Optional service fees - Support - American Airlines

Depending on your purchased fare and geographic region, a non-refundable cash co-payment from $75 to $550 for
each one-way trip (inclusive of federal excise taxes) for your AAdvantage upgrade awards may be needed. Additional
taxes and fees may also apply.

Learn more about mileage upgrades >>


AAdvantage Mileage Multiplier
Approximately $0.03/mile (plus 7.5% federal excise tax)

Learn more about Mileage Multiplier >>


Buy miles
• $0.0295 per mile (plus 7.5% federal excise tax)
• $20 - $40 transaction processing charge


Gift miles
• $0.0295 per mile (plus 7.5% federal excise tax)
• $20 - $40 transaction processing charge


Share miles
• $0.0125 mileage transfer cost per mile
• $15 - $40 transaction processing charge

Buy, Gift or Share AAdvantage miles >>


Reactivate miles
• $200 for 1 - 50,000 expired miles

• $400 for 50,001 - 75,000 expired miles
• $600 for more than 75,000 expired miles

Reactivate AAdvantage miles >>


AAdvantage award processing
• $75 for award tickets booked or mileage upgrades requested less than 21 days prior to departure

• AAdvantage Executive Platinum, Platinum Pro, Platinum or Gold members using miles from your account are exempt
  from the fee


Changing flight award tickets
• $150 per ticket
• A charge may apply if you make changes to award tickets
• AAdvantage Executive Platinum members using miles from your account are exempt from the fee



https://www.aa.com/i18n/customer-service/support/optional-service-fees.jsp                                      14/19
   Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 126 of
10/29/2017                      Optional service140
                                                 fees - Support - American Airlines

 Reinstating award tickets

• $150 per account for the first award ticket. Additional award tickets reinstated to the same account at the same time
  will be $25 per ticket

• Miles may be reinstated to your account for an unused AAdvantage flight award if your ticket has not expired
• AAdvantage Executive Platinum members using miles from your account are exempt from the fee

Learn more about award travel




 Food and drink
                                                                       Business
  Service                                      Main Cabin*                          First Class      Notes
                                                                        Class


  Food for sale                                    $2-$10                   $0          $0           Food selections vary by month


                                                                                                     Complimentary beer varies by
                                                                                                     flight and is available in the
  Beer                                                $7                    $0          $0
                                                                                                     Main Cabin of select
                                                                                                     international flights


                                                                                                     Complimentary spirits and
                                                                                                     wine vary by flight and are
  Spirits and wine                                    $8                    $0          $0
                                                                                                     available in the Main Cabin of
                                                                                                     select international flights

                                                                                                     Offered on transcontinental
  Sparkling wine                                      $9                    $o          $o           and Hawaii flights and $0 on
                                                                                                     select international flights


                                                                                                     Offered on transcontinental,
  Premium wine                                     $15.99                   $0          $0           Hawaii and select international
                                                                                                     flights


*ConciergeKeySM and Executive Platinum members traveling in the Main Cabin get a complimentary drink and snack.




Wi-Fi and entertainment
  Service                             Main Cabin                   Business Class            First Class       Notes


https://www.aa.com/i18n/customer-service/support/optional-service-feesjsp                                                           15/19
   Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 127 of
10/29/2017
                                               140
                                Optional service fees - Support - American Airlines


   Service                            Main Cabin                  Business Class               First Class       Notes


                                                                                                                 Monthly and annual
   Domestic inflight Wi-                                                                                         subscriptions also
                                      $2.50 - $50                   $2.50 - $50                $2.50 - $50
   Fi                                                                                                            available at a flat
                                                                                                                 rate


  International inflight
                                       $12 - $19                     $12 - $19                  $12-$19
  Wi-Fl


  In-seat
                                            $0                             $0                      $0
  entertainment


  Wireless
                                            $0                             $0                      $0
  entertainment

                                                                                                                 *Complimentary in
  Earbuds                               _   $5*                            $0                      $0            the Main Cabin on
                                                                                                                 international flights


Learn about inflight Wi-Fl and connectivity >>

Learn about inflight entertainment >>




Ticketing and other fees
                                                           Premium
  Service*                            Main Cabin                                Business         First                Notes
                                                           Economy


                                        $75-$150
                                                                                                                 $75 for domestic,
                                       unless you
                                                                                                              Canada and Caribbean;
  Same-day flight change               qualify for                                  $0            $0
                                                                                                               $150 for transatlantic
                                          other
                                                                                                             travel between JFK-LHR
                                       exceptions


                                       2 tickets at       2 tickets at          2 tickets at   2 tickets at
                                       the same            the same              the same       the same
                                         rate if             rate if               rate if        rate if    Higher rate may apply
  Customers requiring                  arranged            arranged              arranged       arranged     for additional space if
  extra space                          when you           when you              when you       when you ' advanced arrangements
                                        buy the             buy the               buy the        buy the          are not made
                                        original            original              original       original
                                         ticket              ticket                ticket         ticket


https://www.aa.com/i18n/customer-service/supporUoptional-service-feesjsp                                                             16/19
   Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 128 of
10/29/2017                      Optional service140
                                                 fees - Support - American Airlines

                                                             Premium
  Service*                             Main Cabin                             Business           First                Notes
                                                             Economy


                                            $25 -              $25 -             $25 -           $25 -
                                         domestic            domestic          domestic        domestic
  Tickets issued by                       travel               travel            travel          travel
                                                                                                              Fees vary by country
  Reservations                             $35 -               $35 -             $35 -           $35 -
                                       international       international     international   international
                                           travel              travel            travel          travel


                                           $30 -                                 $30 -          $30 -
                                         domestic                              domestic       domestic
  Award tickets issued by                  travel                                travel        travel
                                                                                                              Fees vary by country
  Reservations                             $40 -                                 $40 -           $40 -
                                       international                         international   international
                                           travel                                travel          travel

                                                                                                             Applies for voluntary trip
                                                                                                               changes not initially
  Assistance by
                                            $50                  $50             $50             $50          created by American
  Reservations
                                                                                                             Airlines Reservations or
                                                                                                                    on aa.com


                                                                                                                Due to government
  Tickets issued by
                                                                                                              requirements, a higher
  American Airlines travel                  $35                  $35             $35             $35
                                                                                                               charge may apply in
  centers
                                                                                                                Colombia and Chile


                                          $200 -                               $200 -          $200 -
                                         domestic                             domestic        domestic
                                                            Up to $750
  Voluntary change to                     travel                               travel          travel        Charge varies depending
  ticket before day of                  Up to $750                           Up to $750      Up to $750          on type of ticket
                                                           international
  travel                                                                                                           purchased
                                                               travel
                                       international                         international   international
                                           travel                                travel          travel


                                         $25 / bag
                                        checked at
                                        the gate on
  Gate service fee
                                           Basic
                                         Economy
                                            fare


*AAdvantage elite status members are exempt from some fees.

AAdvantage elite benefits )>

Customers eligible for complimentary standby >>

https://www.aa.com/i18n/customer-service/support/optional-service-fees.jsp                                                           17/19
   Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 129 of
10/29/2017
                                               140
                                Optional service fees - Support - American Airlines

Same-day flight changes

Customers requiring extra space »

Reservations & tickets FAQs »




 Region definitions
See which countries are included in each region »




 Other airlines
Optional service fees may be different and products may vary on flights operated by our airline partners. For details,
please visit the operating carrier's website.


oneworld airline partners
British Airways L                       Iberia d                             Qantas ig                  SriLankan Airlines

Cathay Pacific 0,
               1                        Japan Airlines 0                     Qatar Airways              LATAM Airlines cr§

Finnair                                 Malaysia Airlines di                 Royal Jordanian

                                                                             S7 Airlines ig



 Other airline partners

Aer Lingus dJ                           EL AL0
                                             1                               JAL Express cP             Philippine Airlines

AeroMexico                              Emirates Airlines 0.                 Japan Transocean Air       Singapore Airlines 01

Air France c§                           Etihad Airways L                     Jet Airways 0,             SWISS t5

Air Tahiti Nui di                       EVA Air J                            Jetstar ë                  Vueling Airlines (,§

Alaska Airlines                         Fiji Airways                         KLM Royal Dutch Airlines   WestJet

Cape Air tP                             Great Lakes Airlines
                                                                             Lufthansa
Copa Airlines EP                        Gulf Air dJ
                                                                             Meridiana
Czech Airlines 0,                       Hainan Airlines
                                                                             NIKI
Cathay Dragon                           Hawaiian Airlines EA
                                                                             OpenSkies
EgyptAirc                               Icelandair


https://www.aa.com/i18n/customer-service/support/optional-service-fees.jsp                                                      18/19
   Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 130 of
10/29/2017                      Optional service140
                                                 fees - Support - American Airlines

                                                                           Pakistan International
                                                                           Airlines




e Back to top


Help                                   About American                      Extras

Contact American                       About us                            Business programs
                                                                                                           Limked-time Earn 60,000 bonus miles
Receipts and refunds                   Careers iJ                          Gift cards
                                                                                                                after qualifying purchases
FAQs                                   Investor relations                  American Airlines credit card
                                                                                                                     BuyMiles
Agency reference                       Newsroom (P'                        Trip insurance                         Buy miles + earn up to
                                                                                                                   35,000 bonus miles
Cargo                                  Legal, privacy, copyright           CoBrowse
                                                                                                                 AVIS PrA Budget'
Baggage and optional service           Browser compatibility
                                                                                                                   Up to 35% savings
fees
                                       Web accessibility                                                         plus RAdvantage* miles
Customer service and
contingency plans

Conditions of carriage and tariffs




1§ Link opens in new window. Site may not meet accessibility guidelines.




https://www.aa.com/i18n/customer-service/supporUoptional-service-feesjsp                                                                   19/19
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 131 of
                                     140




                             Exhibit
                               14
   Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 132 of
8/11/2017
                                              140
                                    Detailed Fare Rules - American Airlines

               .                                                                                                                      Print
  American Airlmes
  Detailed Fare Rules
  The most restrictive set of fare rules applies to the entire itinerary. In addition other fare rules may apply.

   City Pull'                         Fafo EINsis C(.3<p.!                                                          FiicArti•

   MIA to DEN                        S7ALZNN1 (Displayed Below)                                                     2424 MIA to DEN

   DEN to MIA                        LOALZNN1 View rules                                                            1912 DEN to MIA



   PAL2NN1
   Seasonality Not Applicable

   Day Time         Not Applicable
   Application

   Advance       RESERVATIONS FOR ALL SECTORS ARE REQUIRED AT LEAST 7 DAYS BEFORE DEPARTURE OF EACH TRIP. WAITLIST
   Reservation NOT PERMITTED. TICKETING FOR DEPARTURE OF EACH TRIP MUST BE COMPLETED BY MIDNIGHT 1 DAY AFTER
   Ticketing     RESERVATIONS ARE MADE OR AT LEAST 7 DAYS BEFORE DEPARTURE WHICHEVER IS EARLIER.
   Restrictions

   Surcharges IF INFANT 0-1 WITHOUT A SEAT. THERE IS NO CHARGE FOR TRAVEL PER FARE COMPONENT. OTHERWISE A
                  SURCHARGE OF USD 18.60 PER FARE COMPONENT WILL BE ADDED TO THE APPLICABLE FARE FOR TRAVEL ON
                  22NOV 17. NOTE - THIS PEAK TRAVEL SURCHARGE IS ASSESSED ON A FARE COMPONENT BASIS. AND - A
                  SURCHARGE OF USD 27.91 PER FARE COMPONENT WILL BE ADDED TO THE APPLICABLE FARE FOR TRAVEL ON
                  25NOV 17. NOTE - THIS PEAK TRAVEL SURCHARGE IS ASSESSFD ON A FARE COMPONENT BASIS. AND - A
                  SURCHARGE OF USD 46.51 PER FARE COMPONENT WILL BE ADDED TO THE APPLICABLE FARE FOR TRAVEL ON
                  26N0V 17. NOTE - THIS PEAK TRAVEL SURCHARGE IS ASSESSED ON A FARE COMPONENT BASIS. AND - A
                  SURCHARGE OF USD 27.91 PER FARE COMPONENT WILL BE ADDED TO THE APPLICABLE FARE FOR TRAVEL ON
                  27NOV 17. NOTE - THIS PEAK TRAVEL SURCHARGE IS ASSESSED ON A FARE COMPONENT BASIS. AND - A
                  SURCHARGE OF USD 18.60 PER FARE COMPONENT WILL BE ADDED TO THE APPLICABLE FARE FOR TRAVEL ON
                  21DEC 17. NOTE - THIS PEAK TRAVEL SURCHARGE IS ASSESSED ON A FARE COMPONENT BASIS. AND - A
                  SURCHARGE OF USD 27.91 PER FARE COMPONENT WILL BE ADDED TO THE APPLICABLE FARE FOR TRAVEL ON
                  22DEC 17. NOTE - THIS PEAK TRAVEL SURCHARGE IS ASSESSED ON A FARE COMPONENT BASIS. AND - A
                  SURCHARGE OF USD 27.91 PER FARE COMPONENT WILL BE ADDED TO THE APPLICABLE FARE FOR TRAVEL ON
                  23DEC 17. NOTE - THIS PEAK TRAVEL SURCHARGE IS ASSESSED ON A FARE COMPONENT BASIS. AND - A
                  SURCHARGE OF USD 27.91 PER FARE COMPONENT WILL BE ADDED TO THE APPLICABLE FARE FOR TRAVEL ON
                  26DEC 17. NOTE - THIS PEAK TRAVEL SURCHARGE IS ASSESSED ON A FARE COMPONENT BASIS. AND - A
                  SURCHARGE OF USD 18.60 PER FARE COMPONENT WILL BE ADDED TO THE APPLICABLE FARE FOR TRAVEL ON
                  27DEC 17. NOTE - THIS PEAK TRAVEL SURCHARGE IS ASSESSED ON A FARE COMPONENT BASIS. AND - A
                  SURCHARGE OF USD 9.30 PER FARE COMPONENT WILL BE ADDED TO THE APPLICABLE FARE FOR TRAVEL ON 280EC
                  17. NOTE - THIS PEAK TRAVEL SURCHARGE IS ASSESSED ON A FARE COMPONENT BASIS. AND - A SURCHARGE OF
                  USD 9.30 PER FARE COMPONENT WILL BE ADDED TO THE APPLICABLE FARE FOR TRAVEL ON 29DEC 17. NOTE - THIS
                  PEAK TRAVEL SURCHARGE IS ASSESSED ON A FARE COMPONENT BASIS. AND - A SURCHARGE OF USD 9.30 PER
                  FARE COMPONENT WILL BE ADDED TO THE APPLICABLE FARE FOR TRAVEL ON 30DEC 17. NOTE - THIS PEAK TRAVEL
                  SURCHARGE IS ASSESSED ON A FARE COMPONENT BASIS. AND - A SURCHARGE OF USD 46.51 PER FARE
                  COMPONENT WILL BE ADDED TO THE APPLICABLE FARE FOR TRAVEL ON 01JAN 18. NOTE - THIS PEAK TRAVEL
                  SURCHARGE IS ASSESSED ON A FARE COMPONENT BASIS. AND - A SURCHARGE OF USD 27.91 PER FARE
                  COMPONENT WILL BE ADDED TO THE APPLICABLE FARE FOR TRAVEL ON 02JAN 18. NOTE - THIS PEAK TRAVEL
                  SURCHARGE IS ASSESSED ON A FARE COMPONENT BASIS.

   Maximum         Not Applicable
   Stay

  ' Eligibility    Not Applicable

   Sales          TICKETS MAY NOT BE SOLD IN NEPAL/FIJI/CROATIA/ MOLDOVA,REPUBLIC OF/GUAM/AMERICAN
   Restrictions SAMOA/SLOVAKIA/UKRAINE/ CAMBODIA/IRAN,ISLAMIC REPUBLIC OF/LATVIA/TANZANIA,UNITED REPUBLIC
                  OF/NIGERIA/BULGARIA/LUXEMBOURG/MOROCCO/ KAZAKHSTAN/SAINT
                  VINCENT/GRENADINES/SURINAME/IRAQ/LIBERIA/
                  ICELAND/LITHUANIA/MYANMAR/GUYANA/ESTONIA/SLOVENIA/OCCUPIED PALESTINIAN
                  TERRITORY/SUDAN/AZERBAIJAN. AND - TICKETS MAY NOT BE SOLD IN UGANDA/FRENCH GUIANA/
                  BELARUS/MOZAMBIQUE/CAMEROON/REUNION/SYRIAN ARAB REPUBLIC/FRENCH POLYNESIA/CONGO
                  (KINSHASA)/ETHIOPIA/ ALBANIA/MACEDONIA,THE FORMER YUGOSLAV REPUBLIC OF/ DOMINICA/LAOS,PEOPLE'S
                  DEMOCRATIC REPUBLIC OF/ ALGERIA/PAPUA NEW GUINEA/NAMIBIA/SOMALIA/YEMEN, REPUBLIC
                  OF/SENEGAL/TONGA/BONAIRE, SAINT EUSTATIUS, SABA/MALAWI/BOTSWANA/SERBIA/MONGOLIA/EQUATORIAL
                  GUINEA/RWANDA/ANGOLA/UZBEKISTAN. AND - TICKETS MAY NOT BE SOLD IN ERITREA/AFGHANISTAN/ ZAMBIA/SAN
                  MARINO/BURKINA FASO/GEORGIA/BRUNEI DARUSSALAWGIBRALTAR/SIERRA LEONE/DJIBOUTI/KIRIBATI/
                  MAURITIUS/ANGUILLA/CONGO (BRAZZ.AVILLE)/MALTA/BENIN/ TUNISIA/MADAGASCAR/MALI/KYRGYZSTAN/ARMENIA/
                  SWAZILAND/NIGER/GABON/LIBYAN ARAB JAMAHIRIYA/ MONTSERRAT/GUINEA/CHAD/NEW CALEDONIA/SOUTH SUDAN.

https://www.aa.com/reservation/viewFareRuleDetailsAccess.do?ARType=ar&bookingPathStateld=1502467400071-579                               1/3
   Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 133 of
8/11/2017                                     140
                                    Detailed Fare Rules - American Airlines
                    AND - TICKETS MAY NOT BE SOLD IN ANDORRA/SAMOANVALLIS/ FUTUNA ISLANDS/SAO TOME/PRINCIPE/GUINEA-
                    BISSAU/ SEYCHELLES/GAMBIA/MALDIVES/GREENLAND/MAURITANIA/ MICRONESIA/CAROLINE
                    ISLANDS/TURKMENISTAN/MONACO/ SOLOMON ISLANDS/CENTRAL AFRICAN REPUBLIC/FAROE
                    ISLANDS/MONTENEGROTTAJIKISTAWTOGO/BURUNDUCAPE VERDE/LESOTHO/PALAU/MARSHALL ISLANDS/BOSNIA AND
                  . HERZEGOVINA/VANUATU/COOK ISLANDS/MAYOTTE/NORFOLK ISLAND/BHUTAN. AND - TICKETS MAY NOT BE SOLD IN
                    MARIANA ISLANDS/PARAGUAY/ HUNGARY/LEBANON/ROMANIA/QATARTTUVALU/GHANA/KENYA/
                    PAKISTAN/JORDAN/KUWAIT/ZIMBABWE/OMAN/BAHRAIN/ INDONESIA/SOUTH AFRICA/THAILAND/MARTINIQUE/
                    BANGLADESH/POLAND/COTE D'IVOIRE/AUSTRIA/CZECH REPUBLIC/SRI LANKNCYPRUS/PORTUGAUTURKEY/MALAYSIA/
                    RUSSIA. AND - TICKETS MAY NOT BE SOLD IN EGYPT/SAUDI ARABIA/ SINGAPORENIET NAM/PHILIPPINES/UNITED ARAB
                    EMIRATES/ TAIWAN, PROVINCE OF/ISRAEL/SWEDEN/BELGIUM/INDIA. AND - TICKETS MAY BE ISSUED BY MAIL/PTA.
                    TICKETS MUST BE ISSUED BY ELECTRONIC TICKETING. PTA CONSTITUTES TICKETING. TICKETS MAY NOT BE SOLD IN
                    VENEZUELA/CUBA. TICKETS MAY ONLY BE SOLD IN AREA 1/AREA 2/AREA 3.
   '         ••••     •
    Flight          THE FARE COMPONENT MUST NOT BE ON ONE OR MORE OF THE FOLLOWING ANY M FLIGHT OPERATED BY AS. AND
    Applications THE FARE COMPONENT MUST BE ON ONE OR MORE OF THE FOLLOWING ANY AA FLIGHT.

   Minimum       Not Applicable
   Stay

   Embargo       Not Applicable
   Dates

   Penalties       CANCELLATIONS TICKET IS NON-REFUNDABLE. NOTE - TICKET HAS NO VALUE UNLESS PASSENGER CANCELS
                  TICKETED FLIGHT RESERVATIONS PRIOR TO TICKETED DEPARTURE TIME. CHANGES CHARGE USD 200.00 FOR
                  REISSUE. NOTE - IF PASSENGER CANCELS TICKETED FLIGHT RESERVATION PRIOR TO TICKETED DEPARTURE TIME/
                  TRAVEL THAT IS REBOOKED IS VALID AS FOLLOWS. 1/WHOLLY UNUSED TICKETS ARE VALID PROVIDED TRAVEL
                  COMMENCES WITHIN ONE YEAR FROM THE ORIGINAL TICKET ISSUE DATE OR 2/ PARTIALLY USED TICKETS ARE VALID
                  PROVIDED TRAVEL IS COMPLETED WITHIN ONE YEAR FROM THE OUTBOUND TRAVEL DATE ON THE ORIGINAL TICKET.
                  SERVICE CHARGE APPLIES. IF TICKETED FLIGHT RESERVATION IS NOT CANCELLED PRIOR TO TICKETED DEPARTURE
                  TIME/ REBOOKING IS NOT PERMITTED AND THE TICKET HAS NO VALUE. -- FARE DIFFERENCE AND SERVICE CHARGE
                  MUST BE PAID AND TICKET MUST BE REISSUED WHEN ITINERARY IS REBOOKED.- IF MULTIPLE CHANGES ARE MADE
                  AT THE SAME TIME/ ONLY ONE SERVICE CHARGE WILL APPLY PER TICKET. IF FARES WITH DIFFERENT SERVICE
                  CHARGES ARE COMBINED ON THE SAME TICKET/ THE HIGHEST CHARGE OF ALL CHANGED FARE COMPONENTS WILL
                  APPLY. --WHENEVER A NONREFUNDABLE FARE TICKET IS REISSUED TO A REFUNDABLE FARE/ A NONREFUNDABLE
                  NOTATION MUST BE MADE IN THE ENDORSEMENT BOX OF THE NEW TICKET. THE ORIGINAL NONREFUNDABLE VALUE
                  REMAINS NONREFUNDABLE FOR ANY SUBSEQUENT REISSUES. -- CERTAIN DOMESTIC REISSUE PROVISIONS MAY BE
                  OVERRIDDEN BY THOSE OF AA INTERNATIONAL FARES. --- GUARANTEED AIRFARE RULE- TRANSPORTATION IS
                  SUBJECT TO THE RULES/ FARES AND CHARGES IN EFFECT ON THE DATE/ TIME OF TICKET ISSUANCE OR PREPAID
                  TICKET ADVICE PURCHASE. SHOULD FARES INCREASE AFTER TICKET PURCHASE/ NO INCREASE IN FARE WILL BE
                  COLLECTED PROVIDED THE ORIGINATING FLIGHT COUPON OF THE TICKET REFLECTING A CONFIRMED RESERVATION
                  HAS NOT BEEN VOLUNTARILY CHANGED/ AND PROVIDED THAT VOLUNTARY CHANGES FOR FLIGHT COUPONS OTHER
                  THAN THE ORGINATING FLIGHT DO NOT REFLECT A CHANGE IN CARRIER/ FARE BASIS/ ORIGIN/ DESTINATION OR
                  STOPOVER POINTS FROM THOSE FOUND ON THE TICKET. IF AFTER TICKET HAS BEEN ISSUED AND BEFORE ANY
                  PORTION HAS BEEN USED EITHER A DECREASE IN THE FARES OR CHARGES APPLICABLE TO THE TRANSPORTATION
                  SHOWN ON THE TICKET BECOMES EFFECTIVE/ OR A NEW FARE FOR WHICH THE PASSENGER QUALIFIES IS ADDED
                  BETWEEN THE POINTS SHOWN ON THE TICKET/ THE DIFFERENCE IN FARES WILL BE REFUNDED AS STATED BELOW/
                  IN THE FORM OF A NONREFUNDABLE TRANSPORTATION VOUCHER/ PROVIDED A. THERE IS NO CHANGE IN TICKETED,
                  ORIGIN/ DESTINATION/ STOPOVER POINTS/ FLIGHTS/ DATES B. ALL CONDITIONS OF THE DECREASED FARES OR •
                  CHARGES OF THE NEW FARE ARE MET/ INCLUDING BOOKING CODE AND ADVANCE RESERVATIONS AND TICKETING
                  REQUIREMENTS C. ADVANCE RESERVATION REQUIREMENTS ARE MEASURED FROM THE ORIGINAL TICKET DATE TO
                  THE DEPARTURE OF THE PRICING UNIT. D. THE PASSENGER WILL RECEIVE THE DIFFERENCE IN FARES LESS THE
                  APPLICABLE SERVICE CHARGE IN THE FORM OF A NONREFUNDABLE AA TRAVEL VOUCHER VALID FOR ONE YEAR
                  FROM THE DATE OF ISSUE. -- I. PRIOR TO DEPARTURE OF THE JOURNEY - CHANGES TO THE ORIGINATING FLIGHT ON
                  THE TICKET - CANCEL AND START OVER. 1. THE ENTIRE TICKET MUST BE REPRICED WITH FARES IN EFFECT ON THE
                  DATE OF NEW TICKET ISSUANCE. 2. USE ANY M FARE ALLOWED BY COMBINATION AND REISSUE RULES. 3. ALL
                  PROVISIONS OF THE NEW FARE I.E. ADV RSVN/MIN/MAX STAY/INVENTORY ETC MUST BE MET 4. ADVANCE
                 •RESERVATION REQUIREMENTS ARE MEASURED FROM THE REISSUE DATE TO THE DEPARTURE OF THE PRICING
                  UNIT. 5. ANY DIFFERENCE IN FARES PLUS THE SERVICE CHARGE MUST BE COLLECTED. IF THE REPRICE RESULTS IN
                  A LOWER FARE/ THE DIFFERENCE IN FARES LESS THE SERVICE CHARGE MAY BE RETURNED IN THE FORM OF A
                  NONREFUNDABLE TRAVEL VOUCHER VALID FOR TRAVEL VIA M ONLY II. PRIOR TO DEPARTURE OF THE JOURNEY -
                  CHANGES TO CONTINUING/RETURN FLIGHTS WHEN THERE IS NO CHANGE TO ORIGIN/DESTINATION OR STOPOVERS.
                  THE FOLLOWING OPTIONS ARE AVAILABLE AND THE LOWEST SOLUTION WILL APPLY. --A. ATTEMPT TO KEEP THE
                  SAME FARES AS TICKETED. REPRICE THE ITINERARY USING THE SAME FARE BASIS CODE/ SAME FARE LEVEL/ SAME
                  RULES AS TICKETED/ THAT IS/ THOSE IN EFFECT AT THE TIME THE ORIGINAL TICKET WAS SOLD. 1.NO CHANGE IS
                  PERMITTED TO STOPOVER/ THE FIRST FARE COMPONENT OR FARE BREAKS. 2.THE TICKETED FARE BASIS CODE/
                  SAME RULE MUST BE USED AS THE REPLACEMENT FARE FOR THE REVISED FARE COMPONENT ON THE NEW TICKET.
                  3.FULLY FLOWN ONE-WAY FARE MUST NOT BE REPRICED AS A HALF ROUND-TRIP FARE. 4.NEW FARE MUST BE EQUAL
                  TO THE PREVIOUS FARE. COMPARE BASE FARE VALUES FOR THE REVISED FARE COMPONENT TO THAT OF THE
                  TICKETED FARE COMPONENT. 5.ALL RULE/BOOKING CODE PROVISIONS MUST BE MET. 6.FLIGHT SPECIFIC FARES
                  MUST REMAIN WITHIN THE TIMES SPECIFIED FOR THAT FARE. 7.ADVANCE RESERVATION REQUIREMENTS ARE
                  MEASURED FROM THE REISSUE DATE TO DEPARTURE OF PRICING UNIT. 8.SERVICE CHARGE APPLIES. -- B. CANCEL
                  AND START OVER. REPRICE THE ITINEARY USING FARES IN EFFECT ON THE DATE OF NEW TICKET ISSUANCE. 1.USE
                  ANY AA FARE ALLOWED BY COMBINATION AND REISSUE RULES. 2.ALL RULE/BOOKING CODE PROVISIONS OF THE
                  NEW FARE MUST BE MET. 3.ADVANCE RESERVATION REQUIREMENTS ARE MEASURED FROM REISSUE DATE TO
                  DEPARTURE OF THE PRICING UNIT. 4.ANY DIFFERENCE IN FARES PLUS THE SERVICE CHARGE MUST BE COLLECTED.
                  IF THE REPRICE RESULTS IN A LOWER FARE/ THE DIFFERENCE IN FARES LESS THE SERVICE CHARGE MAY BE
                  RETURNED IN THE FORM OF A NONREFUNDABLE TRAVEL VOUCHER VALID FOR TRAVEL VIA M ONLY -- C. REPRICE
                  THE ITINERARY USING THE SAME FARE BASIS CODES AND RULES AS THOSE IN EFFECT ON THE DATE OF ORIGINAL
                  TICKET ISSUANCE FOR UNCHANGED FARE COMPONENTS AND USING FARES IN EFFECT ON THE DATE OF NEW
                  TICKET ISSUANCE FOR ALL CHANGED FARE COMPONENTS. 1.NO CHANGE IS PERMITTED TO STOPOVER/ THE FIRST

https://www.aa.com/reservation/viewFareRuleDetailsAccess.dO?ARType=ar&bookingPathStateld=1502467400071-579               2/3
   Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 134 of
8/11/2017                                    140
                                   Detailed Fare Rules - American Airlines
                 FARE COMPONENT OR FARE BREAKS. 2.THE TICKETED SAME FARE MUST BE USED ON THE FIRST FARE COMPONENT.
                 3.USE ANY M FARES ALLOWED BY COMBINATION AND REISSUE RULES. 4.ALL RULE AND BOOKING CODE
                 PROVISIONS MUST BE MET. 5.ADVANCE RESERVATION REQUIREMENTS ARE MEASURED FROM ORIGINAL TICKET
                 DATE TO DEPARTURE OF PRICING UNIT. 6.ANY DIFFERENCE IN FARES PLUS THE SERVICE CHARGE MUST BE
                 COLLECTED. IF THE REPRICE RESULTS IN A LOWER FARE/ THE DIFFERENCE IN FARES LESS THE SERVICE CHARGE
                 MAY BE RETURNED IN THE FORM OF A NONREFUNDABLE TRAVEL VOUCHER VALID FOR TRAVEL VIA M ONLY. -- III.
                 PRIOR TO DEPARTURE OF THE JOURNEY- CHANGES TO THE CONTINUING/RETURN FLIGHTS WHEN THERE IS A
                 CHANGE TO ORIGIN/DESTINATION OR STOPOVERS. -- A. CANCEL AND START OVER. REPRICE THE ITINEARY USING
                 FARES IN EFFECT ON THE DATE OF NEW TICKET ISSUANCE. 1.USE ANY M FARE ALLOWED BY COMBINATION AND
                 REISSUE RULES. 2.ALL RULE/BOOKING CODE PROVISIONS OF THE NEW FARE MUST BE MET. 3.ADVANCE
                 RESERVATION REQUIREMENTS ARE MEASURED FROM REISSUE DATE TO DEPARTURE OF THE PRICING UNIT. 4.ANY
                 DIFFERENCE IN FARES PLUS THE SERVICE CHARGE MUST BE COLLECTED. IF THE REPRICE RESULTS IN A LOWER
                 FARE/ THE DIFFERENCE IN FARES LESS THE SERVICE CHARGE MAY BE RETURNED IN THE FORM OF A
                 NONREFUNDABLE TRAVEL VOUCHER VALID FOR TRAVEL VIA AA ONLY -- IV. AFTER DEPARTURE OF THE JOURNEY -
                 WHEN THERE IS NO CHANGE TO ORIGIN/DESTINATION OR STOPOVERS. THE FOLLOWING OPTIONS ARE AVAILABLE
                 AND THE LOWEST SOLUTION WILL APPLY. --A. ATTEMPT TO KEEP THE SAME FARES AS TICKETED. REPRICE THE
                 ITINERARY USING THE SAME FARE BASIS CODE/ SAME FARE LEVELJ SAME RULES AS TICKETED/ THAT IS/ THOSE IN
                 EFFECT AT THE TIME THE ORIGINAL TICKET WAS SOLD. 1.NO CHANGE IS PERMITTED TO STOPOVER/THE FIRST FARE
                 COMPONENT OR FARE BREAKS. 2.THE TICKETED FARE BASIS CODE/ SAME RULE MUST BE USED AS THE
                 REPLACEMENT FARE FOR THE REVISED FARE COMPONENT ON THE NEW TICKET. 3.FULLY FLOWN ONE-WAY FARE
                 MUST NOT BE PRICED AS A HALF ROUND-TRIP FARE. 4.NEW FARE MUST BE EQUAL TO THE PREVIOUS FARE.
                 COMPARE BASE FARE VALUES FOR THE REVISED FARE COMPONENT TO THAT OF THE TICKETED FARE COMPONENT.
                 4.ALL RULE/BOOKING CODE PROVISIONS MUST BE MET. 5.FLIGHT SPECIFIC FARES MUST REMAIN WITHIN THE TIMES
                 SPECIFIED FOR THAT FARE. 6.ADVANCE RESERVATION REQUIREMENTS ARE MEASURED FROM THE REISSUE DATE
                 TO DEPARTURE OF PRICING UNIT. 7.SERVICE CHARGE APPLIES. -- B. REPRICE THE ITINERARY USING THE SAME
                 FARE BASIS CODES AND RULES AS THOSE IN EFFECT ON THE DATE OF ORIGINAL TICKET ISSUANCE FOR
                 UNCHANGED FARE COMPONENTS AND USING FARES IN EFFECT ON THE DATE OF NEW TICKET ISSUANCE FOR ALL
                 CHANGED FARE COMPONENTS. 1.NO CHANGE IS PERMITTED TO STOPOVER/ THE FIRST FARE COMPONENT OR FARE
                 BREAKS. 2.THE TICKETED SAME FARE MUST BE USED ON THE FIRST FARE COMPONENT. 3.USE ANY AA ONE-WAY
                 FARE ALLOWED BY COMBINATION AND REISSUE RULES. 4.ALL RULE AND BOOKING CODE PROVISIONS MUST BE MET.
                 5.AUVANCE RESERVATION REQUIREMENTS ARE MEASURED FROM REISSUE DATE TO DEPARTURE OF THE PRICING
                 UNIT. 6.ANY DIFFERENCE IN FARES PLUS THE SERVICE CHARGE MUST BE COLLECTED. IF THE REPRICE RESULTS IN A
                 LOWER FARE/ THE DIFFERENCE IN FARES LESS THE SERVICE CHARGE MAY BE RETURNED IN THE FORM OF A
                 NONREFUNDABLE TRAVEL VOUCHER VALID FOR TRAVEL VIA AA ONLY-- C. REPRICE THE ITINERARY USING
                 HISTORICAL ONE WAY FARES FROM THE PREVIOUS TICKET ISSUE DATE FOR FLOWN FARE COMPONENTS/ IN AN
                 EQUAL OR HIGHER BOOKING CLASS. USE FARES IN EFFECT ON THE DATE OF NEW TICKET ISSUANCE FOR ALL
                 UNFLOWN COMPONENTS. 1.FARE BREAKS FOR THE FLOWN FARE COMPONENTS MAY NOT BE CHANGED. 2.USE
                 BOOKING CLASS HIERARCHY WHEN REPLACING FARES FOR FLOWN FARE COMPONENTS. THE HIERARCHY IS
                 ECONOMY CLASS -YHKMLVGSNQOB FIRST/BUSINESS CLASS -FAJDI 3.USE ANY AA ONE WAY FARES
                 ALLOWED BY COMBINATION AND REISSUE RULES. 4.ALL RULE AND BOOKING CODE PROVISIONS OF THE NEW FARES
                 MUST BE MET. 5.ADVANCE RESERVATION REQUIREMENTS ARE MEASURED FROM THE REISSUE DATE TO DEPARTURE
                 DATE OF THE PRICING UNIT. 6.COMPARE THE TOTAL FROM THE ORIGINAL TICKET TO THE NEW TOTAL OF THE FLOWN
                 AND UNFLOWN FARE COMPONENTS. 7.ANY DIFFERENCE IN FARES PLUS THE SERVICE CHARGE MUST BE
                 COLLECTED. IF THE REPRICE RESULTS IN A LOWER FARE/ THE DIFFERENCE IN FARES LESS THE SERVICE CHARGE
                 MAY BE RETURNED IN THE FORM OF A NONREFUNDABLE TRAVEL VOUCHER VALID FOR TRAVEL VIA AA ONLY. --V.
                 AFTER DEPARTURE OF THE JOURNEY - CHANGES TO CONTINUING/RETURN FLIGHTS WHEN THERE IS A CHANGE TO
                 ORIGIN/DESTINATION OR STOPOVERS. -- A. REPRICE THE ITINERARY USING HISTORICAL ONE WAY FARES FROM THE
                 PREVIOUS TICKET ISSUE DATE FOR FLOWN FARE COMPONENTS/ IN AN EQUAL OR HIGHER BOOKING CLASS. USE
                 FARES IN EFFECT ON THE DATE OF NEW TICKET ISSUANCE FOR ALL UNFLOWN COMPONENTS. 1.FARE BREAKS FOR
                 THE FLOWN FARE COMPONENTS MAY NOT BE CHANGED. 2.USE BOOKING CLASS HIERARCHY WHEN REPLACING
                 FARES FOR FLOWN FARE COMPONENTS. THE HIERARCHY IS ECONOMY CLASS -YHKMLVGSNQOB
                 FIRST/BUSINESS CLASS -FAJDIC 3.USE ANY M ONE WAY FARE ALLOWED BY COMBINATION AND REISSUE RULES.
                 4.ALL RULE AND BOOKING CODE PROVISIONS OF THE NEW FARES MUST BE MET. 5.ADVANCE RESERVATION
                 REQUIREMENTS ARE MEASURED FROM THE REISSUE DATE TO DEPARTURE DATE OF THE PRICING UNIT. 6.COMPARE
                 THE TOTAL FROM THE ORIGNAL TICKET TO THE NEW TOTAL OF THE FLOWN AND UNFLOWN FARE COMPONENTS.
                 7.ANY DIFFERENCE IN FARES PLUS THE SERVICE CHARGE MUST BE COLLECTED. IF THE REPRICE RESULTS IN A
                 LOWER FARE/ THE DIFFERENCE IN FARES LESS THE SERVICE CHARGE MAY BE RETURNED IN THE FORM OF A
                 NONREFUNDABLE TRAVEL VOUCHER VALID FOR TRAVEL VIA AA ONLY. -- VI. AFTER EACH TICKETED DEPARTURE
                 TIME 1. NO CHANGES PERMITTED IF PASSENGER HAS NOT CANCELLED THE TICKETED FLIGHT RESERVATION. 2.
                 TICKET HAS NO VALUE IF PASSENGER HAS NOT CANCELLED THE TICKETED FLIGHT RESERVATION. -- VII. IN THE
                 CASE OF THE DEATH OF THE PASSENGER/ TRAVELING COMPANION/ THE SERVICE CHARGE MAY BE WAIVED OR THE
                 TICKET REFUNDED. VISIT AA.COM FOR DETAILS.

   Child         INFANT UNDER 2 WITHOUT A SEAT - NO CHARGE MUST BE ACCOMPANIED ON ALL FLIGHTS IN SAME COMPARTMENT
   Discount      BY ADULT 16 OR OLDER OR- INFANT UNDER 2 WITH A SEAT - CHARGE 100 PERCENT OF THE FARE. MUST BE
                 ACCOMPANIED ON ALL FLIGHTS IN SAME COMPARTMENT BY ADULT 16 OR OLDER.

   Rule          NORMAL/EXCURSION FARES APPLICATION CLASS OF SERVICE THESE FARES APPLY FOR FIRST/BUSINESS/PREMIUM
   Application ECONOMY/ ECONOMY CLASS SERVICE. CAPACITY LIMITATIONS SEATS ARE LIMITED
   and Other
   Conditions




                                                                                                                  Print




https://www.aa.com/reservation/viewFareRuleDetailsAccess.do?ARType=ar&bookingPathStateld=1502467400071-579                3/3
   Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 135 of
8/11/2017                                     140
                                    Detailed Fare Rules - American Airlines



  American AirlinesNk_                                                                                                                Print



  Detailed Fare Rules
  The most restrictive set of fare rules applies to the entire itinerary. In addition other fare rules may apply.

   City Pair                          Fra Basis CiaciN                                                               ltjlT

   MIA to DEN                        S7ALZNN1 View rules                                                            2424 MIA to DEN

   DEN to MIA                        LOALZNN1 (Displayed Below)                                                     1912 DEN to MIA



    LOALZN Ni
   Seasonality Not Applicable

   Day Time        Not Applicable
   Application

   Advance       RESERVATIONS ARE REQUIRED FOR ALL SECTORS. WAITLIST NOT PERMITTED. TICKETING MUST BE COMPLETED BY
   Reservation MIDNIGHT 1 DAY AFTER RESERVATIONS ARE MADE.
   Ticketing
   Restrictions

   Surcharges IF INFANT 0-1 WITHOUT A SEAT. THERE IS NO CHARGE FOR TRAVEL PER FARE COMPONENT. OTHERWISE A
                  SURCHARGE OF USD 18.60 PER FARE COMPONENT WILL BE ADDED TO THE APPLICABLE FARE FOR TRAVEL ON
                  22NOV 17. NOTE - THIS PEAK TRAVEL SURCHARGE IS ASSESSED ON A FARE COMPONENT BASIS. AND - A
                  SURCHARGE OF USD 27.91 PER FARE COMPONENT WILL BE ADDED TO THE APPLICABLE FARE FOR TRAVEL ON
                  25NOV 17. NOTE - THIS PEAK TRAVEL SURCHARGE IS ASSESSED ON A FARE COMPONENT BASIS. AND- A
                  SURCHARGE OF USD 46.51 PER FARE COMPONENT WILL BE ADDED TO THE APPLICABLE FARE FOR TRAVEL ON
                  26NOV 17. NOTE - THIS PEAK TRAVEL SURCHARGE IS ASSESSED ON A FARE COMPONENT BASIS. AND - A
                  SURCHARGE OF USD 27.91 PER FARE COMPONENT WILL BE ADDED TO THE APPLICABLE FARE FOR TRAVEL ON
                  27NOV 17. NOTE - THIS PEAK TRAVEL SURCHARGE IS ASSESSED ON A FARE COMPONENT BASIS. AND - A
                  SURCHARGE OF USD 18.60 PER FARE COMPONENT WILL BE ADDED TO THE APPLICABLE FARE FOR TRAVEL ON
                  21DEC 17. NOTE - THIS PEAK TRAVEL SURCHARGE IS ASSESSED ON A FARE COMPONENT BASIS. AND - A
                  SURCHARGE OF USD 27.91 PER FARE COMPONENT WILL BE ADDED TO THE APPLICABLE FARE FOR TRAVEL ON
                  22DEC 17. NOTE - THIS PEAK TRAVEL SURCHARGE IS ASSESSED ON A FARE COMPONENT BASIS. AND - A
                  SURCHARGE OF USD 27.91 PER FARE COMPONENT WILL BE ADDED TO THE APPLICABLE FARE FOR TRAVEL ON
                  23DEC 17. NOTE - THIS PEAK TRAVEL SURCHARGE IS ASSESSED ON A FARE COMPONENT BASIS. AND - A
                  SURCHARGE OF USD 27.91 PER FARE COMPONENT WILL BE ADDED TO THE APPLICABLE FARE FOR TRAVEL ON
                  26DEC 17. NOTE - THIS PEAK TRAVEL SURCHARGE IS ASSESSED ON A FARE COMPONENT BASIS. AND - A
                  SURCHARGE OF USD 18.60 PER FARE COMPONENT WILL BE ADDED TO THE APPLICABLE FARE FOR TRAVEL ON
                  27DEC 17. NOTE - THIS PEAK TRAVEL SURCHARGE IS ASSESSED ON A FARE COMPONENT BASIS. AND - A
                  SURCHARGE OF USD 9.30 PER FARE COMPONENT WILL BE ADDED TO THE APPLICABLE FARE FOR TRAVEL ON 28DEC
                  17. NOTE - THIS PEAK TRAVEL SURCHARGE IS ASSESSED ON A FARE COMPONENT BASIS. AND - A SURCHARGE OF
                  USD 9.30 PER FARE COMPONENT WILL BE ADDED TO THE APPLICABLE FARE FOR TRAVEL ON 29DEC 17. NOTE - THIS
                 PEAK TRAVEL SURCHARGE IS ASSESSED ON A FARE COMPONENT BASIS. AND - A SURCHARGE OF USD 9.30 PER
                 FARE COMPONENT WILL BE ADDED TO THE APPLICABLE FARE FOR TRAVEL ON 30DEC 17. NOTE - THIS PEAK TRAVEL
                  SURCHARGE IS ASSESSED ON A FARE COMPONENT BASIS. AND - A SURCHARGE OF USD 46.51 PER FARE
                  COMPONENT WILL BE ADDED TO THE APPLICABLE FARE FOR TRAVEL ON 01JAN 18. NOTE - THIS PEAK TRAVEL
                  SURCHARGE IS ASSESSED ON A FARE COMPONENT BASIS. AND - A SURCHARGE OF USD 27.91 PER FARE
                  COMPONENT WILL BE ADDED TO THE APPLICABLE FARE FOR TRAVEL ON 02JAN 18. NOTE - THIS PEAK TRAVEL
                  SURCHARGE IS ASSESSED ON A FARE COMPONENT BASIS.

   Maximum         Not Applicable
   Stay

   Eligibility     Not Applicable

   Sales          TICKETS MAY NOT BE SOLD IN NEPAL/FIJI/CROATIA/ MOLDOVA,REPUBLIC OF/GUAM/AMERICAN
   Restrictions SAMOA/SLOVAKIA/UKRAINE/ CAMBODIA/IRAN,ISLAMIC REPUBLIC OF/LATVIATTANZANIA,UNITED REPUBLIC
                  OF/NIGERIA/BULGARIA/LUXEMBOURG/MOROCCO/ KAZAKHSTAN/SAINT
                  VINCENT/GRENADINES/SURINAME/IRAQ/LIBERIA/
                  ICELAND/LITHUANIA/MYANMAR/GUYANA/ESTONIA/SLOVENIA/OCCUPIED PALESTINIAN
                  TERRITORY/SUDAN/AZERBAIJAN. AND - TICKETS MAY NOT BE SOLD IN UGANDA/FRENCH GUIANA/
                  BELARUS/MOZAMBIQUE/CAMEROON/REUNION/SYRIAN ARAB REPUBLIC/FRENCH POLYNESIA/CONGO
                  (KINSHASA)/ETHIOPIA/ ALBANIA/MACEDONIA,THE FORMER YUGOSLAV REPUBLIC OF/ DOMINICA/LAOS,PEOPLE'S
                  DEMOCRATIC REPUBLIC OF/ ALGERIA/PAPUA NEW GUINEA/NAMIBIA/SOMALIANEMEN, REPUBLIC
                  OF/SENEGAL/TONGA/BONAIRE, SAINT EUSTATIUS, SABA/MALAWI/BOTSWANA/SERBIA/MONGOLIA/EQUATORIAL
                  GUINEA/RWANDA/ANGOLA/UZBEKISTAN. AND - TICKETS MAY NOT BE SOLD IN ERITREA/AFGHANISTAN/ ZAMBIA/SAN
                  MARINO/BURKINA FASO/GEORGIA/BRUNEI DARUSSALAM/GIBRALTAR/SIERRA LEONE/DJIBOUTI/KIRIBATI/
                  MAURITIUS/ANGUILLA/CONGO (BRAZZAVILLE)/MALTA/BENIN/ TUNISIA/MADAGASCAR/MALI/KYRGYZSTAN/ARMENIA/
                  SWAZILAND/NIGER/GABON/LIBYAN ARAB JAMAHIRIYA/ MONTSERRAT/GUINEA/CHAD/NEW CALEDONIA/SOUTH SUDAN.

https://www.aa.com/reservation/viewFareRuleDetailsAccess.do?ARType=ar&selectedIndex=l&numStops=&isRefundable=&hasChangeFees=&curren... 1/3
   Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 136 of
8/11/2017                                    140
                                   Detailed Fare Rules - American Airlines
                  AND - TICKETS MAY NOT BE SOLD IN ANDORRA/SAMOA/WALLIS/ FUTUNA ISLANDS/SAO TOME/PRINCIPE/GUINEA-
                  BISSAU/ SEYCHELLES/GAMBIA/MALDIVES/GREENLAND/MAURITANIA/ MICRONESIA/CAROLINE
                  ISLANDS/TURKMENISTAN/MONACO/ SOLOMON ISLANDS/CENTRAL AFRICAN REPUBLIC/FAROE
                  ISLANDS/MONTENEGROTTAJIKISTAN/TOGO/BURUNDUCAPE VERDE/LESOTHO/PALAU/MARSHALL ISLANDS/BOSNIA AND
                  HERZEGOVINANANUATU/COOK ISLANDS/MAYOTTE/NORFOLK ISLAND/BHUTAN. AND - TICKETS MAY NOT BE SOLD IN
                  MARIANA ISLANDS/PARAGUAY/ HUNGARY/LEBANON/ROMANIA/QATARTTUVALU/GHANA/KENYA/
                  PAKISTAN/JORDAN/KUWAIT/ZIMBABWE/OMAN/BAHRAIN/ INDONESIA/SOUTH AFRICA/THAILAND/MARTINIQUE/
                  BANGLADESH/POLAND/COTE D'IVOIRE/AUSTRIA/CZECH REPUBLIC/SRI LANKA/CYPRUS/PORTUGAUTURKEY/MALAYSIA/
                  RUSSIA. AND - TICKETS MAY NOT BE SOLD IN EGYPT/SAUDI ARABIA/ SINGAPORENIET NAM/PHILIPPINES/UNITED ARAB
                  EMIRATES/ TAIWAN, PROVINCE OF/ISRAEL/SWEDEN/BELGIUM/INDIA. AND - TICKETS MAY BE ISSUED BY MAIL/PTA.
                  TICKETS MUST BE ISSUED BY ELECTRONIC TICKETING. PTA CONSTITUTES TICKETING. TICKETS MAY NOT BE SOLD IN
                  VENEZUELA/CUBA. TICKETS MAY ONLY BE SOLD IN AREA 1/AREA 2/AREA 3.
                                                                                                                      • •
   Flight         THE FARE COMPONENT MUST NOT BE ON ONE OR MORE OF THE FOLLOWING ANY M FLIGHT OPERATED BY AS. AND
   Applications THE FARE COMPONENT MUST BE ON ONE OR MORE OF THE FOLLOWING ANY AA FLIGHT.

   Minimum       Not Applicable
   Stay

   Embargo       Not Applicable
   Dates

   Penalties     CANCELLATIONS TICKET IS NON-REFUNDABLE. NOTE - TICKET HAS NO VALUE UNLESS PASSENGER CANCELS
                 TICKETED FLIGHT RESERVATIONS PRIOR TO TICKETED DEPARTURE TIME. CHANGES CHARGE USD 200.00 FOR
                 REISSUE. NOTE - IF PASSENGER CANCELS TICKETED FLIGHT RESERVATION PRIOR TO TICKETED DEPARTURE TIME/
                 TRAVEL THAT IS REBOOKED IS VALID AS FOLLOWS. 1/WHOLLY UNUSED TICKETS ARE VALID PROVIDED TRAVEL
                 COMMENCES WITHIN ONE YEAR FROM THE ORIGINAL TICKET ISSUE DATE OR 2/ PARTIALLY USED TICKETS ARE VALID
                 PROVIDED TRAVEL IS COMPLETED WITHIN ONE YEAR FROM THE OUTBOUND TRAVEL DATE ON THE ORIGINAL TICKET.
                 SERVICE CHARGE APPLIES. IF TICKETED FLIGHT RESERVATION IS NOT CANCELLED PRIOR TO TICKETED DEPARTURE
                 TIME/ REBOOKING IS NOT PERMITTED AND THE TICKET HAS NO VALUE.--- FARE DIFFERENCE AND SERVICE CHARGE
                 MUST-BE PAID AND TICKET MUST BE REISSUED WHEN ITINERARY IS REBOOKED. -- IF MULTIPLE CHANGES ARE MADE
                 AT THE SAME TIME/ ONLY ONE SERVICE CHARGE WILL APPLY PER TICKET. IF FARES WITH DIFFERENT SERVICE
                 CHARGES ARE COMBINED ON THE SAME TICKET/ THE HIGHEST CHARGE OF ALL CHANGED FARE COMPONENTS WILL
                 APPLY. -- WHENEVER A NONREFUNDABLE FARE TICKET IS REISSUED TO A REFUNDABLE FARE/ A NONREFUNDABLE
                 NOTATION MUST BE MADE IN THE ENDORSEMENT BOX OF THE NEW TICKET. THE ORIGINAL NONREFUNDABLE VALUE
                 REMAINS NONREFUNDABLE FOR ANY SUBSEQUENT REISSUES. -- CERTAIN DOMESTIC REISSUE PROVISIONS MAY BE
                 OVERRIDDEN BY THOSE OF AA INTERNATIONAL FARES. --- GUARANTEED AIRFARE RULE- TRANSPORTATION IS
                 SUBJECT TO THE RULES/ FARES AND CHARGES IN EFFECT ON THE DATE/ TIME OF TICKET ISSUANCE OR PREPAID
                 TICKET ADVICE PURCHASE. SHOULD FARES INCREASE AFTER TICKET PURCHASE/ NO INCREASE IN FARE WILL BE
                 COLLECTED PROVIDED THE ORIGINATING FLIGHT COUPON OF THE TICKET REFLECTING A CONFIRMED RESERVATION
                 HAS NOT BEEN VOLUNTARILY CHANGED/ AND PROVIDED THAT VOLUNTARY CHANGES FOR FLIGHT COUPONS OTHER
                 THAN THE ORGINATING FLIGHT DO NOT REFLECT A CHANGE IN CARRIER/ FARE BASIS/ ORIGIN/ DESTINATION OR
                 STOPOVER POINTS FROM THOSE FOUND ON THE TICKET. IF AFTER TICKET HAS BEEN ISSUED AND BEFORE ANY
                 PORTION HAS BEEN USED EITHER A DECREASE IN THE FARES OR CHARGES APPLICABLE TO THE TRANSPORTATION
                 SHOWN ON THE TICKET BECOMES EFFECTIVE/ OR A NEW FARE FOR WHICH THE PASSENGER QUALIFIES IS ADDED
                 BETWEEN THE POINTS SHOWN ON THE TICKET/ THE DIFFERENCE IN FARES WILL BE REFUNDED AS STATED BELOW/
                 IN THE FORM OF A NONREFUNDABLE TRANSPORTATION VOUCHER/ PROVIDED A. THERE IS NO CHANGE IN TICKETED
                 ORIGIN/ DESTINATION/ STOPOVER POINTS/ FLIGHTS/ DATES B. ALL CONDITIONS OF THE DECREASED FARES OR
                 CHARGES OF THE NEW FARE ARE MET/ INCLUDING BOOKING CODE AND ADVANCE RESERVATIONS AND TICKETING
                 REQUIREMENTS C. ADVANCE RESERVATION REQUIREMENTS ARE MEASURED FROM THE ORIGINAL TICKET DATE TO
                 THE DEPARTURE OF THE PRICING UNIT. D. THE PASSENGER WILL RECEIVE THE DIFFERENCE IN FARES LESS THE
                 APPLICABLE SERVICE CHARGE IN THE FORM OF A NONREFUNDABLE M TRAVEL VOUCHER VALID FOR ONE YEAR
                 FROM THE DATE OF ISSUE. -- I. PRIOR TO DEPARTURE OF THE JOURNEY - CHANGES TO THE ORIGINATING FLIGHT ON
                 THE TICKET - CANCEL AND START OVER. 1. THE ENTIRE TICKET MUST BE REPRICED WITH FARES IN EFFECT ON THE
                 DATE OF NEW TICKET ISSUANCE. 2. USE ANY AA FARE ALLOWED BY COMBINATION AND REISSUE RULES. 3. ALL
                 PROVISIONS OF THE NEW FARE I.E. ADV RSVN/MIN/MAX STAY/INVENTORY ETC MUST BE MET 4. ADVANCE
                 RESERVATION REQUIREMENTS ARE MEASURED FROM THE REISSUE DATE TO THE DEPARTURE OF THE PRICING
                 UNIT. 5. ANY DIFFERENCE IN FARES PLUS THE SERVICE CHARGE MUST BE COLLECTED. IF THE REPRICE RESULTS IN
                 A LOWER FARE/ THE DIFFERENCE IN FARES LESS THE SERVICE CHARGE MAY BE RETURNED IN THE FORM OF A
                 NONREFUNDABLE TRAVEL VOUCHER VALID FOR TRAVEL VIA AA ONLY-- II. PRIOR TO DEPARTURE OF THE JOURNEY -
                 CHANGES TO CONTINUING/RETURN FLIGHTS WHEN THERE IS NO CHANGE TO ORIGIN/DESTINATION OR STOPOVERS.
                 THE FOLLOWING OPTIONS ARE AVAILABLE AND THE LOWEST SOLUTION WILL APPLY. A. ATTEMPT TO KEEP THE
                 SAME FARES AS TICKETED. REPRICE THE ITINERARY USING THE SAME FARE BASIS CODE/ SAME FARE LEVEL/ SAME
                 RULES AS TICKETED/ THAT IS/ THOSE IN EFFECT AT THE TIME THE ORIGINAL TICKET WAS SOLD. 1.NO CHANGE IS
                 PERMITTED TO STOPOVER/ THE FIRST FARE COMPONENT OR FARE BREAKS. 2.THE TICKETED FARE BASIS CODE/
                 SAME RULE MUST BE USED AS THE REPLACEMENT FARE FOR THE REVISED FARE COMPONENT ON THE NEW TICKET.
                 3.FULLY FLOWN ONE-WAY FARE MUST NOT BE REPRICED AS A HALF ROUND-TRIP FARE. 4.NEW FARE MUST BE EQUAL
                 TO THE PREVIOUS FARE. COMPARE BASE FARE VALUES FOR THE REVISED FARE COMPONENT TO THAT OF THE
                 TICKETED FARE COMPONENT. 5.ALL RULE/BOOKING CODE PROVISIONS MUST BE MET. 6.FLIGHT SPECIFIC FARES
                 MUST REMAIN WITHIN THE TIMES SPECIFIED FOR THAT FARE. 7.ADVANCE RESERVATION REQUIREMENTS ARE
                 MEASURED FROM THE REISSUE DATE TO DEPARTURE OF PRICING UNIT. 8.SERVICE CHARGE APPLIES. -- B. CANCEL
                 AND START OVER. REPRICE THE ITINEARY USING FARES IN EFFECT ON THE DATE OF NEW TICKET ISSUANCE. 1.USE
                 ANY AA FARE ALLOWED BY COMBINATION AND REISSUE RULES. 2.ALL RULE/BOOKING CODE PROVISIONS OF THE
                 NEW FARE MUST BE MET. 3.ADVANCE RESERVATION REQUIREMENTS ARE MEASURED FROM REISSUE DATE TO
                 DEPARTURE OF THE PRICING UNIT. 4.ANY DIFFERENCE IN FARES PLUS THE SERVICE CHARGE MUST BE COLLECTED.
                 IF THE REPRICE RESULTS IN A LOWER FARE/ THE DIFFERENCE IN FARES LESS THE SERVICE CHARGE MAY BE
                 RETURNED IN THE FORM OF A NONREFUNDABLE TRAVEL VOUCHER VALID FOR TRAVEL VIA M ONLY-- C. REPRICE
                 THE ITINERARY USING THE SAME FARE BASIS CODES AND RULES AS THOSE IN EFFECT ON THE DATE OF ORIGINAL
                 TICKET ISSUANCE FOR UNCHANGED FARE COMPONENTS AND USING FARES IN EFFECT ON THE DATE OF NEW
                 TICKET ISSUANCE FOR ALL CHANGED FARE COMPONENTS. 1.NO CHANGE IS PERMITTED TO STOPOVER/ THE FIRST

https://www.aa.com/reservation/yiewFareRuleDetailsAccess.do?ARType=ar&selectedIndex=1&nurnStops=&isRefundable=&hasChangeFees=&curren.. . 2/3
   Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 137 of
8/11/2017                                    140
                                   Detailed Fare Rules - American Airlines
                 FARE COMPONENT OR FARE BREAKS. 2.THE TICKETED SAME FARE MUST BE USED ON THE FIRST FARE COMPONENT.
                 3.USE ANY AA FARES ALLOWED BY COMBINATION AND REISSUE RULES. 4.ALL RULE AND BOOKING CODE
                 PROVISIONS MUST BE MET. 5.ADVANCE RESERVATION REQUIREMENTS ARE MEASURED FROM ORIGINAL TICKET
                 DATE TO DEPARTURE OF PRICING UNIT. 6.ANY DIFFERENCE IN FARES PLUS THE SERVICE CHARGE MUST BE
                 COLLECTED. IF THE REPRICE RESULTS IN A LOWER FARE/ THE DIFFERENCE IN FARES LESS THE SERVICE CHARGE
                 MAY BE RETURNED IN THE FORM OF A NONREFUNDABLE TRAVEL VOUCHER VALID FOR TRAVEL VIA M ONLY. -- III.
                 PRIOR TO DEPARTURE OF THE JOURNEY- CHANGES TO THE CONTINUING/RETURN FLIGHTS WHEN THERE IS A
                 CHANGE TO ORIGIN/DESTINATION OR STOPOVERS. --A. CANCEL AND START OVER. REPRICE THE ITINEARY USING
                 FARES IN EFFECT ON THE DATE OF NEW TICKET ISSUANCE. 1.USE ANY AA FARE ALLOWED BY COMBINATION AND
                 REISSUE RULES. 2.ALL RULE/BOOKING CODE PROVISIONS OF THE NEW FARE MUST BE MET. 3.ADVANCE
                 RESERVATION REQUIREMENTS ARE MEASURED FROM REISSUE DATE TO DEPARTURE OF THE PRICING UNIT. 4.ANY
                 DIFFERENCE IN FARES PLUS THE SERVICE CHARGE MUST BE COLLECTED. IF THE REPRICE RESULTS IN A LOWER
                 FARE/ THE DIFFERENCE IN FARES LESS THE SERVICE CHARGE MAY BE RETURNED IN THE FORM OF A
                 NONREFUNDABLE TRAVEL VOUCHER VALID FOR TRAVEL VIA AA ONLY -- IV. AFTER DEPARTURE OF .THE JOURNEY -
                 WHEN THERE IS NO CHANGE TO ORIGIN/DESTINATION OR STOPOVERS. THE FOLLOWING OPTIONS ARE AVAILABLE
                 AND THE LOWEST SOLUTION WILL APPLY. --A. ATTEMPT TO KEEP THE SAME FARES AS TICKETED. REPRICE THE
                 ITINERARY USING THE SAME FARE BASIS CODE/ SAME FARE LEVEL/ SAME RULES AS TICKETED/ THAT IS/ THOSE IN
                 EFFECT AT THE TIME THE ORIGINAL TICKET WAS SOLD. 1.NO CHANGE IS PERMITTED TO STOPOVER/THE FIRST FARE
                 COMPONENT OR FARE BREAKS. 2.THE TICKETED FARE BASIS CODE/ SAME RULE MUST BE USED AS THE
                 REPLACEMENT FARE FOR THE REVISED FARE COMPONENT ON THE NEW TICKET. 3.FULLY FLOWN ONE-WAY FARE
                 MUST NOT BE PRICED AS A HALF ROUND-TRIP FARE. 4.NEW FARE MUST BE EQUAL TO THE PREVIOUS FARE.
                 COMPARE BASE FARE VALUES FOR THE REVISED FARE COMPONENT TO THAT OF THE TICKETED FARE COMPONENT.
                 4.ALL RULE/BOOKING CODE PROVISIONS MUST BE MET. 5.FLIGHT SPECIFIC FARES MUST REMAIN WITHIN THE TIMES
                 SPECIFIED FOR THAT FARE. 6.ADVANCE RESERVATION REQUIREMENTS ARE MEASURED FROM THE REISSUE DATE
                 TO DEPARTURE OF PRICING UNIT. 7.SERVICE CHARGE APPLIES. -- B. REPRICE THE ITINERARY USING THE SAME
                 FARE BASIS CODES AND RULES AS THOSE IN EFFECT ON THE DATE OF ORIGINAL TICKET ISSUANCE FOR
                 UNCHANGED FARE COMPONENTS AND USING FARES IN EFFECT ON THE DATE OF NEW TICKET ISSUANCE FOR ALL
                 CHANGED FARE COMPONENTS. 1.NO CHANGE IS PERMIT' ED TO STOPOVER/ THE FIRST FARE COMPONENT OR FARE
                 BREAKS. 2.THE TICKETED SAME FARE MUST BE USED ON THE FIRST FARE COMPONENT. 3.USE ANY AA ONE-WAY
                 FARE ALLOWED BY COMBINATION AND REISSUE RULES. 4.ALL RULE AND BOOKING CODE PROVISIONS MUST BE MET.
                ,5.ADVANCE RESERVATION REQUIREMENTS ARE MEASURED FROM REISSUE DATE TO DEPARTURE OF THE PRICING
                 UNIT. 6.ANY DIFFERENCE IN FARES PLUS THE SERVICE CHARGE MUST BE COLLECTED. IF THE REPRICE RESULTS IN A
                 LOWER FARE/ THE DIFFERENCE IN FARES LESS THE SERVICE CHARGE MAY BE RETURNED IN THE FORM OF A
                 NONREFUNDABLE TRAVEL VOUCHER VALID FOR TRAVEL VIA AA ONLY-- C. REPRICE THE ITINERARY USING
                 HISTORICAL ONE WAY FARES FROM THE PREVIOUS TICKET ISSUE DATE FOR FLOWN FARE COMPONENTS/ IN AN
                 EQUAL OR HIGHER BOOKING CLASS. USE FARES IN EFFECT ON THE DATE OF NEW TICKET ISSUANCE FOR ALL
                 UNFLOWN COMPONENTS. 1.FARE BREAKS FOR THE FLOWN FARE COMPONENTS MAY NOT BE CHANGED. 2.USE
                 BOOKING CLASS HIERARCHY WHEN REPLACING FARES FOR FLOWN FARE COMPONENTS. THE HIERARCHY IS
                 ECONOMY CLASS -YHKMLVGSNQOB FIRST/BUSINESS CLASS -FAJDI 3.USE ANY AA ONE WAY FARES
                 ALLOWED BY COMBINATION AND REISSUE RULES. 4.ALL RULE AND BOOKING CODE PROVISIONS OF THE NEW FARES
                 MUST BE MET. 5.ADVANCE RESERVATION REQUIREMENTS ARE MEASURED FROM THE REISSUE DATE TO DEPARTURE
                 DATE OF THE PRICING UNIT. 6.COMPARE THE TOTAL FROM THE ORIGINAL TICKET TO THE NEW TOTAL OF THE FLOWN
                 AND UNFLOWN FARE COMPONENTS. 7.ANY DIFFERENCE IN FARES PLUS THE SERVICE CHARGE MUST BE
                 COLLECTED. IF THE REPRICE RESULTS IN A LOWER FARE/ THE DIFFERENCE IN FARES LESS THE SERVICE CHARGE
                 MAY BE RETURNED IN THE FORM OF A NONREFUNDABLE TRAVEL VOUCHER VALID FOR TRAVEL VIA AA ONLY. --V.
                 AFTER DEPARTURE OF THE JOURNEY - CHANGES TO CONTINUING/RETURN FLIGHTS WHEN THERE IS A CHANGE TO
                 ORIGIN/DESTINATION OR STOPOVERS. --A. REPRICE THE ITINERARY USING HISTORICAL ONE WAY FARES FROM THE
                 PREVIOUS TICKET ISSUE DATE FOR FLOWN FARE COMPONENTS/ IN AN EQUAL OR HIGHER BOOKING CLASS. USE
                 FARES IN EFFECT ON THE DATE OF NEW TICKET ISSUANCE FOR ALL UNFLOWN COMPONENTS. 1.FARE BREAKS FOR
                 THE FLOWN FARE COMPONENTS MAY NOT BE CHANGED. 2.USE BOOKING CLASS HIERARCHY WHEN REPLACING
                 FARES FOR FLOWN FARE COMPONENTS. THE HIERARCHY IS ECONOMY CLASS -YHKMLVGSNQOB
                 FIRST/BUSINESS CLASS -FAJDIC 3.USE ANY AA ONE WAY FARE ALLOWED BY COMBINATION AND REISSUE RULES.
                 4.ALL RULE AND BOOKING CODE PROVISIONS OF THE NEW FARES MUST BE MET. 5.ADVANCE RESERVATION
                 REQUIREMENTS ARE MEASURED FROM THE REISSUE DATE TO DEPARTURE DATE OF THE PRICING UNIT. 6.COMPARE
                 THE TOTAL FROM THE ORIGNAL TICKET TO THE NEW TOTAL OF THE FLOWN AND UNFLOWN FARE COMPONENTS.
                 7.ANY DIFFERENCE IN FARES PLUS THE SERVICE CHARGE MUST BE COLLECTED. IF THE REPRICE RESULTS IN A
                 LOWER FARE/ THE DIFFERENCE IN FARES LESS THE SERVICE CHARGE MAY BE RETURNED IN THE FORM OF A
                 NONREFUNDABLE TRAVEL VOUCHER VALID FOR TRAVEL VIA AA ONLY. --VI. AFTER EACH TICKETED DEPARTURE
                 TIME 1. NO CHANGES PERMITTED IF PASSENGER HAS NOT CANCELLED THE TICKETED FLIGHT RESERVATION. 2.
                 TICKET HAS NO VALUE IF PASSENGER HAS NOT CANCELLED THE TICKETED FLIGHT RESERVATION. -- VII. IN THE
                 CASE OF THE DEATH OF THE PASSENGER/ TRAVELING COMPANION/ THE SERVICE CHARGE MAY BE WAIVED OR THE
                 TICKET REFUNDED. VISIT AA.COM FOR DETAILS.

   Child         INFANT UNDER 2 WITHOUT A SEAT - NO CHARGE MUST BE ACCOMPANIED ON ALL FLIGHTS IN SAME COMPARTMENT
   Discount      BY ADULT 16 OR OLDER OR - INFANT UNDER 2 WITH A SEAT - CHARGE 100 PERCENT OF THE FARE. MUST BE
                 ACCOMPANIED ON ALL FLIGHTS IN SAME COMPARTMENT BY ADULT 16 OR OLDER.

   Rule          NORMALJEXCURSION FARES APPLICATION CLASS OF SERVICE THESE FARES APPLY FOR FIRST/BUSINESS/PREMIUM
   Application ECONOMY/ ECONOMY CLASS SERVICE. CAPACITY LIMITATIONS SEATS ARE LIMITED
   and Other
   Conditions




                                                                                                                                   Print




https://www.aa.com/reservation/viewFareRuleDetailsAccess.do?ARType=ar&selectedIndex=18mumStops=&isRefundable=&hasChangeFees=8,curren... 3/3
Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 138 of
                                     140




                               Exhibit
                                 15
   Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 139 of
8/11/2017                                      140
                                  Privacy policy - Support - American Airlines


                                                                                       _earch aa.com
                                                                                   I
American Airlines‘.                                      Plan Travel Travel Informa tion AAdvantage

       Home > Legal, privacy & copyright >                            Privacy policy




 Privacy policy
 Updated October 21, 2016


O Protecting your privacy


O Information we collect and how we collect it


0 Minors


0 Automatically collected information (including cookies and geolocation)


0 Information collected by third parties on our Services


0 How your information will be used


O Security


0 With whom your information will be shared


0 Obtaining and handling your consent


0 Application of local laws


O      Links to other sites


0 Opt out of marketing communications and sharing your information with third parties for
direct marketing purposes

https://www.aa.com/i18n/customer-service/support/privacy-policy.jsp                                    1/2
   Case 9:18-cv-80633-RKA Document 1-1 Entered on FLSD Docket 05/14/2018 Page 140 of
8/11/2017                        Privacy policy140
                                                - Support - American Airlines




Contact us
If you have other questions, comments or concerns about our privacy practices, or if you wish to issue a request to
exercise your rights where applicable by law, please contact our Privacy Office at privacy@aa.com. Please provide
your name and contact information along with the request. Alternatively, inquiries may be mailed to the following
address:

American Airlines
c/o Privacy Office
4333 Amon Carter Blvd, MD 5675
Fort Worth, TX 76155 USA

Email privacy@aa.com »




® Back to top



Help                                    About American                Extras

Contact American                        About us                      Business programs
                                                                                                      Limited-time offet Earn 75,000 bonus miles
Receipts and refunds                    Careers                       Gift cards                               after qualifying purchases

FAQs                                    Investor relations 05         American Airlines credit card
                                                                                                                   BuyMiles
Agency reference                        Newsroom                      Trip insurance                        Get up to 85,000 bonus miles
                                                                                                                 through August 31
Cargo                                   Legal, privacy, copyright     CoBrowse
                                                                                                              AV's on Budget'
Baggage and optional service            Browser compatibility
                                                                                                                 Up to 36% savings
fees
                                        Web accessibility                                                      plus AAdvantaget miles
Customer service and
contingency plans

Conditions of carriage and tariffs




0, Link opens in new window. Site may not meet accessibility guidelines.                                                  In Yea to
                                                                                                                                   Tube




https://www.aa.com/i18n/customer-service/support/privacy-policy.jsp                                                                           2/2
